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                            EXHIBIT "A"

                                                                          014
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                                          NO. ________

    IN THE MATTER OF                                   §      IN THE DISTRICT COURT
    THE MARRIAGE OF                                    §
                                                       §
    CHARLES RICHARD WILLINGHAM                         §          th JUDICIAL DISTRICT
    AND                                                §
    DEEPA BISWAS WILLINGHAM                            §      HARRIS COUNTY, TEXAS


    ORIGINAL PETITION FOR DIVORCE AND MOTION FOR TEMPORARY ORDERS
             AND REQUEST FOR TEMPORARY RESTRAINING ORDER

   1.     Discovery Level
          Discovery in this case is intended to be conducted under level 2 of rule 190 of the Texas
   Rules of Civil Procedure.
   2.     Objection to Assignment of Case to Associate Judge

           Petitioner objects to the assignment of this matter to an associate judge for a trial on the
   merits or presiding at a jury trial.
   3.     Parties
          This suit is brought by CHARLES RICHARD WILLINGHAM, Petitioner. The last three
   numbers of Petitioner's driver's license number are 013. The last three numbers of Petitioner's
   Social Security number are 303.

          DEEPA BISWAS WILLINGHAM is Respondent.
   4.     Domicile
           Petitioner has been a domiciliary of Texas for the preceding six-month period and a
   resident of this county for the preceding ninety-day period.
   5.     Service

         Process should be served on Respondent at 725 Croft Lane, Solvang, CA 93463 or
   wherever she may be found.
   6.     Protective Order Statement
           No protective order under title 4 of the Texas Family Code is in effect, and no application
   for a protective order is pending with regard to the parties to this suit.



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   7.     Dates of Marriage and Separation

          The parties were married on or about April 23, 1983 and ceased to live together as husband
   and wife on or about August 13, 2018.

   8.     Grounds for Divorce

          The marriage has become insupportable because of discord or conflict of personalities
   between Petitioner and Respondent that destroys the legitimate ends of the marriage relationship
   and prevents any reasonable expectation of reconciliation.

   9.     Child of the Marriage

          There is no child born or adopted of this marriage, and none is expected.

   10.    Division of Community Property

            Petitioner believes Petitioner and Respondent will enter into an agreement for the division
   of their estate. If such an agreement is made, Petitioner requests the Court to approve the agreement
   and divide their estate in a manner consistent with the agreement. If such an agreement is not made,
   Petitioner requests the Court to divide their estate in a manner that the Court deems just and right,
   as provided by law.
   11.    Separate Property

           Petitioner owns certain separate property that is not part of the community estate of the
   parties, and Petitioner requests the Court to confirm that separate property as Petitioner's separate
   property and estate.
   12.    Request for Mutual Temporary Restraining Order

           Petitioner requests the Court to dispense with the issuance of a bond, and Petitioner
   requests that Petitioner and Respondent be temporarily restrained immediately, without hearing,
   and after notice and hearing be temporarily enjoined, pending the further order of this Court, from:
          1.     Communicating with the other party in person, by telephone, or in writing in vulgar,
   profane, obscene, or indecent language or in a coarse or offensive manner.
           2.      Threatening the other party in person, by telephone, or in writing to take unlawful
   action against any person.

           3.     Placing one or more telephone calls, anonymously, at any unreasonable hour, in an
   offensive and repetitious manner, or without a legitimate purpose of communication.
          4.      Causing bodily injury to the other party.
          5.      Threatening the other party with imminent bodily injury.



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        6.      Destroying, removing, concealing, encumbering, transferring, or otherwise
  harming or reducing the value of the property of one or both of the parties.
          7.      Falsifying any writing or record relating to the property of either party.
         8.       Misrepresenting or refusing to disclose to the other party or to the Court, on proper
  request, the existence, amount, or location of any property of one or both of the parties.

          9.     Damaging or destroying the tangible property of one or both of the parties,
  including any document that represents or embodies anything of value.
         10.    Tampering with the tangible property of one or both of the parties, including any
  document that represents or embodies anything of value, and causing pecuniary loss to the other
  party.

           11.    Selling, transferring, assigning, mortgaging, encumbering, or in any other manner
   alienating any of the property of Petitioner or Respondent, whether personalty or realty, and
   whether separate or community, except as specifically authorized by order of this order.

          12.     Incurring any indebtedness, other than legal expenses in connection with this suit,
   except as specifically authorized by order of this order.
           13.     Making withdrawals from any checking or savings account in any financial
  institution for any purpose, except as specifically authorized by order of this order.
           14.    Spending any sum of cash in each party's possession or subject to each party's
   control for any purpose, except as specifically authorized by order of this order.
           15.     Withdrawing or borrowing in any manner for any purpose from any retirement,
   profit-sharing, pension, death, or other employee benefit plan or employee savings plan or from
   any individual retirement account or Keogh account, except as specifically authorized by order of
   this order.

          16.    Entering any safe-deposit box in the name of or subject to the control of Petitioner
   or Respondent, whether individually or jointly with others.

            17.    Withdrawing or borrowing in any manner all or any part of the cash surrender value
   of life insurance policies on the life of Petitioner or Respondent, except as specifically authorized
   by order of this order.
          18.     Changing or in any manner altering the beneficiary designation on any life
   insurance on the life of Petitioner or Respondent.
           19.     Canceling, altering, failing to renew or pay premiums, or in any manner affecting
   the present level of coverage of any life, casualty, automobile, or health insurance policies insuring
   the parties' property or persons.
          20.     Opening or diverting mail addressed to the other party.


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           21.     Signing or endorsing the other party's name on any negotiable instrument, check,
   or draft, such as tax refunds, insurance payments, and dividends, or attempting to negotiate any
   negotiable instrument payable to the other party without the personal signature of the other party.
          22.     Taking any action to terminate or limit credit or charge cards in the name of the
   other party.
          23.     Discontinuing or reducing the withholding for federal income taxes on each party's
   wages or salary while this case is pending.
           24.     Destroying, disposing of, or altering any financial records of the parties, including
   but not limited to records from financial institutions (including canceled checks and deposit slips),
   all records of credit purchases or cash advances, tax returns, and financial statements.
           25.     Destroying, disposing of, or altering any e-mail or other electronic data relevant to
   the subject matters of this case, whether stored on a hard drive or on a diskette or other electronic
   storage device.

          26.     Terminating or in any manner affecting the service of water, electricity, gas,
   telephone, cable television, or other contractual services, such as security, pest control,
   landscaping, or yard maintenance or in any manner attempting to withdraw any deposits for service
   in connection with those services at the following residence: 1422 Nantucket Dr. Apt #A, Houston,
   Texas 77057.

         27.     Excluding Petitioner from the use and enjoyment of the residence located at 1422
   Nantucket Dr. Apt #A, Houston, Texas 77057.

          28.    Excluding Respondent from the use and enjoyment of the residence located at 725
   Croft Lane, Solvang, CA 93463.

           29.     Entering, operating, or exercising control over the motor vehicle in the possession
   of the other party.
           30.    Disturbing the peace the other party.
           31.    Making disparaging remarks regarding the other party or the other party's family.

           Petitioner requests that Petitioner and Respondent be authorized only as follows:
           To make expenditures and incur indebtedness for reasonable and necessary living expenses
   for food, clothing, shelter, transportation, and medical care.

          To make expenditures and incur indebtedness for reasonable attorney's fees and expenses
   in connection with this suit.

          To make withdrawals from accounts in financial institutions only for the purposes
   authorized by the Court's order.



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          To engage in acts reasonable and necessary to conduct each party's usual business and
   occupation.

   13.    Request for Temporary Orders and Injunction
           Petitioner requests the Court, after notice and hearing, to dispense with the issuance of a
   bond, to make temporary orders and issue any appropriate temporary injunctions for the
   preservation of the property and protection of the parties as deemed necessary and equitable.
   Petitioner requests that the Court enjoin Petitioner and Respondent from the following:
          1.     Communicating with the other party in person, by telephone, or in writing in vulgar,
   profane, obscene, or indecent language or in a coarse or offensive manner.
           2.     Threatening the other party in person, by telephone, or in writing to take unlawful
   action against any person.

           3.     Placing one or more telephone calls, anonymously, at any unreasonable hour, in an
   offensive and repetitious manner, or without a legitimate purpose of communication.
          4.      Causing bodily injury to the other party.

          5.      Threatening the other party with imminent bodily injury.
         6.      Destroying, removing, concealing, encumbering, transferring, or otherwise
   harming or reducing the value of the property of one or both of the parties.
          7.      Falsifying any writing or record relating to the property of either party.

           8.      Misrepresenting or refusing to disclose to the other party or to the Court, on proper
   request, the existence, amount, or location of any property of one or both of the parties.
          9.      Damaging or destroying the tangible property of one or both of the parties,
   including any document that represents or embodies anything of value.
          10.    Tampering with the tangible property of one or both of the parties, including any
   document that represents or embodies anything of value, and causing pecuniary loss to the other
   party.

           11.   Selling, transferring, assigning, mortgaging, encumbering, or in any other manner
   alienating any of the property of Petitioner or Respondent, whether personalty or realty, and
   whether separate or community, except as specifically authorized by order of this order.
          12.     Incurring any indebtedness, other than legal expenses in connection with this suit,
   except as specifically authorized by order of this order.
            13.     Making withdrawals from any checking or savings account in any financial
   institution for any purpose, except as specifically authorized by order of this order.



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           14.    Spending any sum of cash in each party's possession or subject to each party's
   control for any purpose, except as specifically authorized by order of this order.
           15.     Withdrawing or borrowing in any manner for any purpose from any retirement,
   profit-sharing, pension, death, or other employee benefit plan or employee savings plan or from
   any individual retirement account or Keogh account, except as specifically authorized by order of
   this order.

          16.    Entering any safe-deposit box in the name of or subject to the control of Petitioner
   or Respondent, whether individually or jointly with others.
            17.    Withdrawing or borrowing in any manner all or any part of the cash surrender value
   of life insurance policies on the life of Petitioner or Respondent, except as specifically authorized
   by order of this order.

          18.     Changing or in any manner altering the beneficiary designation on any life
   insurance on the life of Petitioner or Respondent.
           19.     Canceling, altering, failing to renew or pay premiums, or in any manner affecting
   the present level of coverage of any life, casualty, automobile, or health insurance policies insuring
   the parties' property or persons.
          20.     Opening or diverting mail addressed to the other party.
           21.     Signing or endorsing the other party's name on any negotiable instrument, check,
   or draft, such as tax refunds, insurance payments, and dividends, or attempting to negotiate any
   negotiable instrument payable to the other party without the personal signature of the other party.
          22.     Taking any action to terminate or limit credit or charge cards in the name of the
   other party.

          23.     Discontinuing or reducing the withholding for federal income taxes on each party's
   wages or salary while this case is pending.
           24.     Destroying, disposing of, or altering any financial records of the parties, including
   but not limited to records from financial institutions (including canceled checks and deposit slips),
   all records of credit purchases or cash advances, tax returns, and financial statements.
           25.     Destroying, disposing of, or altering any e-mail or other electronic data relevant to
   the subject matters of this case, whether stored on a hard drive or on a diskette or other electronic
   storage device.
          26.     Terminating or in any manner affecting the service of water, electricity, gas,
   telephone, cable television, or other contractual services, such as security, pest control,
   landscaping, or yard maintenance or in any manner attempting to withdraw any deposits for service
   in connection with those services at the following residence: 1422 Nantucket Dr. Apt #A, Houston,
   Texas 77057.


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         27.     Excluding Petitioner from the use and enjoyment of the residence located at 1422
   Nantucket Dr. Apt #A, Houston, Texas 77057.
          28.    Excluding Respondent from the use and enjoyment of the residence located at 725
   Croft Lane, Solvang, CA 93463.
           29.     Entering, operating, or exercising control over the motor vehicle in the possession
   of the other party.
          30.     Disturbing the peace the other party.

          31.     Making disparaging remarks regarding the other party or the other party's family.

          Petitioner requests that Petitioner and Respondent be authorized only as follows:
          To make expenditures and incur indebtedness for reasonable and necessary living expenses
   for food, clothing, shelter, transportation, and medical care.

          To make expenditures and incur indebtedness for reasonable attorney's fees and expenses
   in connection with this suit.
          To make withdrawals from accounts m financial institutions only for the purposes
   authorized by the Court's order.
          To engage in acts reasonable and necessary to conduct each party's usual business and
   occupation.

   14.    Request for Temporary Orders Concerning Use of Property

           Petitioner requests the Court, after notice and hearing, for the preservation of the property
   and protection of the parties, to make temporary orders and issue any appropriate temporary
   injunctions respecting the temporary use of the parties' property as deemed necessary and
   equitable, including but not limited to the following:

           Awarding Petitioner the residence located at 1422 Nantucket Dr. Apt #A, Houston, Texas
   77057, as well as the :furniture, furnishings, and other personal property at that residence, while
   this case is pending, and enjoining Respondent from entering or remaining on the premises of the
   residence and exercising possession or control of any of this personal property, except as
   authorized by order of this Court.
           Awarding Respondent the residence located 725 Croft Lane, Solvang, CA 93463, as well
   as the :furniture, furnishings, and other personal property at that residence, while this case is
   pending, and enjoining Respondent from entering or remaining on the premises of the residence
   and exercising possession or control of any of this personal property, except as authorized by order
   of this Court.




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          Awarding Petitioner exclusive use and control of the motor vehicle in his possession and
   enjoining Respondent from entering, operating, or exercising control over it.

          Awarding Respondent exclusive use and control of the motor vehicle in her possession and
   enjoining Petitioner from entering, operating, or exercising control over it.
          Awarding Petitioner temporary use and access of all financial accounts in his name during
   the pendency of this case.
          Awarding Petitioner temporary use and access of all financial accounts in her name during
   the pendency of this case.

         Awarding Petitioner temporary use and control of all income of the parties during the
   pendency of this case.

          Awarding Petitioner the temporary use and access of the business known as Pace Universal
   located at 1 N Calle Cesar Chavez, Suite 102, Santa Barbara, CA 93103.

          Awarding Petitioner the temporary exclusive control and management of the business
   known as CR Willingham & Associates located at 1422 Nantucket Dr., Apt# A, Houston, Texas
   77057.

         Awarding Petitioner the temporary exclusive control and management of the business
   known as Sabinal Energy, LLC. Located at 1780 Hughes Landing Blvd., Suite 1200, The
   Woodlands, Texas 77380.
   15.    Attorney's Fees, Expenses, Costs, and Interest

           It was necessary for Petitioner to secure the services of SARA RAZAVI ZAND, a licensed
   attorney, to prepare and prosecute this suit. To effect an equitable division of the estate of the
   parties and as a part of the division, judgment for attorney's fees, expenses, and costs through trial
   and appeal should be granted against Respondent and in favor of Petitioner for the use and benefit
   of Petitioner's attorney; or, in the alternative, Petitioner requests that reasonable attorney's fees,
   expenses, and costs through trial and appeal be taxed as costs and be ordered paid directly to
   Petitioner's attorney, who may enforce the order in the attorney's own name. Petitioner requests
   postjudgment interest as allowed by law.
   16.    Prayer

          Petitioner prays that citation and notice issue as required by law and that the Court grant a
   divorce and all other relief requested in this petition.
           Petitioner prays that the Court immediately grant a temporary restraining order restraining
   Petitioner and Respondent, in conformity with the allegations of this petition, from the acts set
   forth above, and Petitioner prays that, after notice and hearing, this temporary restraining order be
   made a temporary injunction.



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          Petitioner prays that the Court, in addition to the temporary restraining order and temporary
   mutual injunction prayed for above, after notice and hearing, grant temporary orders in conformity
   with the allegations of this petition.

          Petitioner prays for attorney's fees, expenses, costs, and interest as requested above.

          Petitioner prays for general relief




                                                 Respectfully submitted,

                                                 RAZAVI ZAND & ASSOCIATES, PLLC


                                                         �
                                                 By:_________________
                                                    SARA RAZAVI ZAND, SBOT# 24051233
                                                    3100 Richmond A venue, Suite 250
                                                    Houston, Texas 77098
                                                    Telephone: (713) 396-0227
                                                    Telecopier: (713) 391-8258
                                                    Email: sara@zandlegal.com
                                                    ATTORNEY FOR PETITIONER




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                            EXHIBIT "B"

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                                                                               Marilyn Burgess - District Clerk Harris Cc
                                                                                                    Envelope No. 4148
                                                                                                          By: Sandra Mc
                                                                                                    Filed: 3/9/2020 9:5,

                                          CAUSE NO. 2018-64132

   IN THE MATTER OF                                     §            IN THE DISTRICT COURT
   THE MARRIAGE OF                                      §
                                                        §
                                                        §            HARRIS COUNTY,TEXAS
   CHARLES RICHARD WILLINGHAM                           §

                                                                                ·D�--
   AND                                                  §                    �
   DEEPA BISWAS WILLINGHAM                              §          245TH JUD� DISTRICT
                                                          �
                  SECOND AMENDED COUNTER-PETITION FOR�RCE
                                                    o_@8i

   1.     Discovery Level                                            IQ)��
                                                                   �
          Discovery in this case is intended to be conducted UJ1,__�evel 2 of rule 190 of the Texas
   Rules of Civil Procedure.
                                                            ��
   2.     Obiection to Assil{nment o[Case to Associateffi/f:e

          Counter-Petitioner/Respondent objects         �assignment of this matter to an associate
   judge for a trial on the merits or presiding at a j,
                                                      ' nal.
                                                  ��Q.
   3.     Parties
                                             �� -
           This suit is brought b� �EEPA BISWAS WILLINGHAM, Counter­
   Petitioner/Respondent. The last three :fl�bers of Counter-Petitioner/Respondent's driver's license
   number are 949. The last thre��ers of Counter-Petitioner/Respondent's Social Security
   number are 358.
                                     ·Q-1)
                                     �-

           CHARLES RIC� WILLINGHAM is Counter-Respondent.
   4.     Domicile
                            (»(Qi
           Counter-Pe�r has been a domiciliary of Texas for the preceding six-month period and
   a resident of thi �ty for the preceding ninety-day period.
                    �
   5.      Servt�

           N�ice on Counter-Respondent is necessary. Counter-Respondent has made a general
   appearance herein. A copy of this First Amended Counter- Petition should be served on Counter­
   Respondent in accordance with Rule 21 of the Texas Rules of Civil Procedure by forwarding to
   his attorney of record.




   Willingham - Second Amended Counter-Petition for Divorce
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   6.     Protective Order Statement

          No protective order under title 4 of the Texas Family Code, protective order under chapter
   7A of the Texas Code of Criminal Procedure, or order for emergency protection under article
   17.292 of the Texas Code of Criminal Procedure is in effect in regard to a party to this suit or a
   child of a party to this suit, and no application for any such order is pending.
                                                                   -·
   7.     Dates o(Marriage and Separation
                                                                                    �
           The parties were married on or about April 23, 1983, and ceased to liv�ther as spouses
                                                                                   frl�(f/j)



   on or about September 7, 2018.                                                �
                                                                               ◊

   8.     Grounds for Divorce                                                  �
                                                                                   �


                                                                              ◊�

          The marriage has become insupportable because of disc�r conflict of personalities
   between Counter-Petitioner and Counter-Respondent that dest�s the legitimate ends of the
   marriage relationship and prevents any reasonable expectatio�econciliation.
   9.     Child ofthe Marriage
                                                                 ,;!fp(J/ii
          There is no child born or adopted of this marri� and none is expected.
                                                             �
   JO.    Division ofCommunitpPropertv                 ?�
                                                      �
           Counter-Petitioner believes Counter-��oner
                                                    -v      and Counter-Respondent will enter into an
   agreement for the division of their est�� ��ch an agreement is made, Counter-Petitioner
   requests the Court to approve the agreem�nd divide their estate in a manner consistent with the
   agreement. If such an agreement is no�cie, Counter-Petitioner requests the Court to divide their
   estate in a manner that the Court        Just and right, as provided by Jaw.
                                     �
           Counter-Petitioner shou� awarded a disproportionate share of the parties' estate for the
   following reasons, including      not limited to:
                                �
                  a.      f £e breakup of the marriage;
                            �
                  b.  ({�ne�ts the innocent spouse may have derived from the continuation of the
                     ( Kiarnage;
                      j/
                       ◊

                   �

            <0�          disparity of earning power of the spouses and their ability to support
                 _ �� themselves;

                  d.       health of the spouses;
                  e.       education and future employability of the spouses;
                  f.       community indebtedness and liabilities;
                  g.       tax consequences of the division of property;


   Willingliam -Second Amended Counter-Petition/or Divorce
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                  h.       ages of the spouses;
                  1.       earning power, business opportunities, capacities, and abilities of the
                           spouses;

                  J.       need for future support;
                  k.       nature of the property involved in the division;
                                                                                     �
                  1.       wasting of community assets by the spouses;
                  m.       credit for temporary support paid by a spouse;     �
                  n.       community funds used to purchase out-of-stat�erty;

                  0.       gifts to or by a spouse during the marriage�

                  p.       increase in value of separate property,lugh community efforts by time,
                           talent, labor, and effort;
                                                               ��
                                                             �
                  q.       excessive community-property� to the parties' child[ren];

                  r.       reimbursement;
                                                      �
                  s.       expected inheritance       ouse;
                                                �
                  t.       attorney's fees to b�:aid;
                                              <QT'.
                  u.       creation of co�nity property through the use of a spouse's separate
                                         1

                           estate;
                                    /�
                  V.       the size �ature of the separate estates of the spouses;
                  w.       crea�� community property by the efforts or lack thereof of the spouses;
                            rF�
                  x.   �M'al fraud committed by a spouse;
                      <r(p?
                         Constructive fraud committed by a spouse.
                       ◊

                  �� �
   11.    Breacli§fFiduciary Duty and Fraud Against the Community

            P��er, as Respondent's spouse, had a fiduciary relationship with and a fiduciary duty
   to Respondent. As a result of their fiduciary relationship, Respondent reposed a special confidence
   in Petitioner, and Petitioner had a duty in equity and good conscience to act in good faith and with
   due regard for Respondent's interests.

           Petitioner, in violation of his duty to Respondent, has breached his duty to Respondent by
   unfairly conveying community property for the primary purpose of defrauding her, by committing
   fraud on the community, by wasting community assets by depriving the community of community

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   opportunities and by making capricious, excessive or arbitrary gifts of community property.
   Specifically, Respondent complains of the following acts by Respondent:

          a.      Constructive Fraud

           Petitioner has defrauded Respondent by breaching a legal and/or equitable duty owed
   Respondent as a result of their fiduciary relationship. That breach is frauclui\ent because,
   irrespective of Petitioner's moral guilt, the breach had a tendency to deceive e�dent and to
   violate Respondent's confidence or to injure the public interest. Petitionet;;� ions damaged
   Respondent as follows:                                                            'Y
                  i.      Fraud on the Community                              .jfj:,G
                                                                                  �


                                                                           ◊-�
            During Petitioner's marriage to Respondent, Petitio��as entrusted with the
   management, control, and disposition of substantially all co             µiitjf estate funds. Respondent
   trusted and believed that Petitioner would faithfully exec       �     '2 e duties as trustee in the
   management of such entrusted funds of the estates of the p �s. In violation of this fiduciary
   relationship between Petitioner and Respondent, Pe itio �as intentionally and in flagrant
   disregard of the duties as manager and trustee of the ci!          ity funds failed to disclose the full
   extent of the existence and value of the community es         all in fraud of Respondent's interest in
   the community. As a result, Respondent will inc�ignificant costs and expenses, including
   attorney and accounting fees, to determine the �ce'          and extent of these assets, all of which
   should be borne by Petitioner. Respondent re           the Court to order that Petitioner provide an
   accounting of community funds received b           tioner and expended by him in violation of his
   fiduciary duty to her in accordance with         ue v. Mazique, S.W.2d 805 (Tex. App.-Houston
   [1st Dist.] 1987). Respondent further re� ts that the value of all assets or funds that Petitioner
   fails to accoun� for, be a�arded to �e�i��er as part �f a just and right division of the mari�l estate.
   In the alternative and without w Yl�the foregomg, Respondent requests a money Judgment
   against Petitioner for the value of� ssets or funds for which Petitioner fails to account.

                   ii.     Exces
                                    f"'Gifts
                                      j
                                   �
           Petitioner has s�� community assets by making gifts of community assets that were
   capricious, excessive. b�bitrary to persons outside the community. Petitioner has spent
   community funds            se persons at a time when Petitioner knew or should have known that
                        �
   Respondent would,          objected to these expenditures. These expenditures and gifts of property
   are in direct vi�� of Petitioner's duty as co-manager of the community estate. These gifts and
   disposition of�unity funds by Petitioner were also unfair to the rights of Respondent.
   Responde��ests an accounting of community funds received by Petitioner and expended by
   him in vi�on of his fiduciary duty to Respondent in the holding of these assets in accordance
   with Mazique v. Mazique, S.W.2d 805 (Tex. App.-Houston [1st Dist.] 1987). Respondent further
   requests that the value of all gifts of community assets that were capricious, excessive or arbitrary
   as well as all assets or funds that Petitioner fails to account for, be awarded to Petitioner as part of
   a just and right division of the marital estate. In the alternative and without waiving the foregoing,
   Respondent requests a money judgment against Petitioner for the value of all gifts of community
   assets that were capricious, excessive or arbitrary, as well as all assets or funds for which Petitioner


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   fails to account.

                   m.         Wasting of Community Assets and Depriving the Community of
                              Community Opportunities.

            In further violation of his duty as co-manager of the community estate, Petitioner has
   unfairly disposed of Respondent's interest in the community estate by his flag� wasting of
   community assets. Such actions include but are not limited to transfers of m ne�'1mreasonable
   and unnecessary spending, and the escalation of attorney's fees, all of which/, �           esulted in the
   dissipation of the community estate to the detriment of Respondent. Res·
   accounting of community funds received by Petitioner and expended by            &        ent requests an
                                                                                         in violation of his
   fiduciary duty to her in the hold of these assets in accordance with Ma�e v. Mazique, S.W.2d
   805 (Tex. App.-Houston [1st Dist.] 1987). Respondent further requ�saat the value of all assets
   wasted by Petitioner as well as all assets or funds that Petitioner fA� account for, be awarded
   to Petitioner as part of a just and right division of the marital estate� the alternative and without
   waiving the foregoing, Respondent requests a money judgment        � �· nst Petitioner for the value of
   all assets wasted by him, as well as all assets or funds for              Petitioner fails to account. In
   addition to Petitioner's waste of community assets, P titio           as acted with willful disregard of
   the community and has deprived the community of co �                 opportunities, which have resulted
   in damage to the Respondent.                               �Q
                                                              �
   12.     Separate Property
                                                      .�
           Counter-Petitioner owns certain sepa.ta..�roperty that is not part of the community estate
   of the parties, and Counter-Petitioner reg,� the Court to confirm that separate property as
   Petitioner's separate property and estate.�
   13.   Postdivorce Maintenance !JP
                                   �<f_{,
          Counter-Petitioner requ��e Court to order that Counter-Petitioner be paid postdivorce
   maintenance for a reasonable :>eriod in accordance with chapter 8 of the Texas Family Code.
   Counter-Petitioner request D      Court to issue an order for withholding from Counter­


   14.     Re uest or
                                   u
   Respondent's wages for � aintenance.

                                   orar Orders Concernin Use o Pro er.
                        <>   r.)
          Coun er� ��ner requests the Court, after notice and hearing, for the preservation of the
   property and�    ction of the parties, to make temporary orders and issue any appropriate
   temporary i · tions respecting the temporary use of the parties' property as deemed necessary
   and equit� · ncluding but not limited to the following:
           Awarding Counter-Petitioner the exclusive use and possession of the residence located at
           725 Croft Lane, Solvang, California 93463, as well as the furniture, furnishings, and other
           personal property at that residence, while this case is pending, and enjoining Counter­
           Respondent from entering or remaining on the premises of the residence and exercising
           possession or control of any of this personal property, except as authorized by order of this
           Court.


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           Awarding Counter-Petitioner exclusive use and control of any motor vehicle in the
           possession of Counter-Petitioner and enjoining Counter-Respondent from entering,
           operating, or exercising control over it.
   15.    Request for Interim Attorney's Fees and Temporary Support
          Counter-Petitioner requests the Court, after notice and hearing, for the pre�tion of the
   property and protection of the parties, to make temporary orders and issue �appropriate
   temporary injunctions regarding attorney's fees and support as deemed neces�and equitable,
   including but not limited to the following:                                   Q
           Counter-Petitioner requests that Counter-Respondent be ordered        y reasonable interim
           attorney's fees and expenses, including but not limited to fees     ppraisals, accountants,
           actuaries, and so forth. Counter-Petitioner is not in control <9- 1cient community assets
           to pay attorney's fees and anticipated expenses.

           Counter-Petitioner has insufficient income for support� Counter-Petitioner requests the
           Court to order Counter-Respondent to make paymen� the support of Counter-Petitioner
           until a final decree is signed.
                                                                §
   16.     Attorney's Fees, Expenses, Costs, and Inte         �
                                                            ��
           It was necessary for Counter-Petitioner t�e the services of SHERRI A. EVANS and
   TAYLOR T. IMEL, licensed attorneys wit                   Fuller, P.C., to prepare and prosecute this suit.
   To effect an equitable division of the estat�        · e parties and as a part of the division, judgment
   for attorney's fees, expenses, and costs thr� trial and appeal should be granted against Counter­
   Respondent and in favor of Counter-Pe�oner for the use and benefit of Counter-Petitioner's
   attorney; or, in the alternative, C9         r-Petitioner requests that reasonable attorney's fees,
   expenses, and costs through trial          ppeal be taxed as costs and be ordered paid directly to
   Counter-Petitioner's attorney, .        ay enforce the order in the attorney's own name. Counter-
   Petitioner requests postjudg       · terest as allowed by law.
                                �
   17.     Prayer           . �

           Counter-Peti�Yprays that citation and notice issue as required by law and that the Court
   grant a divorce ancb��ther
                      �1�     relief requested in this petition.
          Counte�tioner prays for attorney's fees, expenses, costs, and interest as requested
   above.    �
           C�er-Petitioner prays for general relief.




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                                                   Respectfully submitted,

                                                   KOONSFULLER HOUSTON
                                                   109 North Post Oak Lane, Suite 425
                                                   Houston, Texas 77024
                                                   Telephone: (713) 789-5112          �L
                                                   Facsimile: (713) 789-5123          �
                                                   houstonservice@koonsfuller.co� service only)


                                                   By:       T�l.or T. I�
                                                             SHERRI A. E\l'
                                                             State Bar No.d5853
                                                             sevans koo 1�ler.com
                                                             TAYLOR� MEL
                                                             ta lor      sfuller.com
                                                             State� o. 24073302
                                                             Att�ys for Respondent,
                                                             nffl'A BISWAS WILLINGHAM

                                      CERTIFICAT�         F SERVICE
                                                    �
          This is to certify that a true and co�opy of the forgoing document has been delivered
   or forwarded to all counsel and unrepres&d �ersons listed below, [ ) by personal delivery or
   receipted delivery service, or [ ] b��ri1fied or registered mail, return receipt requested, by
   depositing the same, postpaid, in       @ial deposit under the care and custody of the United States
   Postal Service, or [ ] by facsillJ,.
                                      ·     the recipient's facsimile number identified below, or [ X ]
   by e-service to the recipient's� 1 address identified below and the electronic transmission was
   reported as complete, on thisJJh. day of March 2020, in accordance with the Rule 21a of the Texas
   Rules of Civil Procedure:��·
                           �(j       Via E-Service: sara@r.andlegal.com

                    ��e;-
                                          SARA RAZAVI ZAND
                   ��
                       0   (f�
                                     RAZA VI ZAND & ASSOCIATES, PLLC
                   1
                                       4900 Foumace Place, Suite 550
                 .©                        Bellaire, Texas 77401
                                         Telephone: (713) 396-0227
            _ ��
            �                            Facsimile: (713) 391-8258
                                           Attorneyfor Petitioner



                                                             TAYLOR T. IMEL



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                            EXHIBIT "C"

                                                                          032
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                                                                                                  3/10/2020 4:0•
                                                                       Marilyn Burgess - Distrid Clerk Harris Cc
                                                                                            Envelope No. 4155
                                                                                                    By: Ebonie f
                                                                                           Filed: 3/10/2020 4:01
                                 NO. 2018-64132

     IN THE MATIEROF             §                  IN THE DISTRICT COURT
     THEMARRIAGEOF               §
                                 §                  245th JUDICIAL DISTRICT
     CHARLES RICHARD WILLINGHAM, §
     AND                         §
     DEEPABISWASWILLINGHAM       §                  HARRIS COUNTY, TEXAS


                           Mediated Settlement Agreement

             The undersigned parties to this settlement agreement for agree to
       compromise and settle the claims and controversies between them. The
       parties wish to avoid potentially protracted and costly litigation.

             1. Terms of the settlement for are set out on Exhibit A, B and C which
       are attached to this agreement.

             2. If any dispute arises with regard to the interpretation or performance
       of this agreement or any of its provisions, including the necessity and form. of
       closing documents, the parties agree to try to resolve the dispute by phone
       conference with the mediator who facilitated this settlement. Any disputes
       regarding drafting shall be resolved whenever possible by reference to the
       Texas Family Law Practice Manual (3rd ed.).

             3. This agreement is made and performable in Harris County, Texas, and
       must be construed in accordance with Texas law.
                                                                  -
             4. Each signatory to this settlement has entered into the settlement freely
       and without duress after having consulted with professionals of his or her choice.
       Each party has b�en advised by the mediator that the mediator is not the attorney
       for any party and that each party should have this agreement approved by that
       party's attorney before executing it.

             5. This stipulation is signed voluntarily and with the advice and consent of
       counsel on the dates set out below and subject to the court's approval, and its
       provisions are intended to be incorporated into an order.

             6. The parties agree to appear in court at the first available date to present
       evidence and secure rendition of judgment in accordance with this Mediated
       Settlement Agreement.



                                                                 EXHIBIT
                                                                                      033
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              7. All signatories herein by their signatures below agree to authorize JUDGE
       SHERI Y. DEAN to serve as binding Arbitrator for any disputes that arise in the
       drafting and execution of this agreement. The Arbitrator may decide what constitutes
       substantial compliance with all terms and any omitted terms, of this agreement that
       were discussed and agreed upon in the mediation. Judge Sheri Y. Dean may make
       disposing decisions concerning the language of this Order and submit the draft
       approved by him to the Court for signature and entiy.

              8. Parties and counsel hereby agree to notify Judge Sheri Y. Dean, via email,
       of their request for her services at least 10 days prior to a court entcy date and each
       party shall deposit $300 toward the cost of said services before any arbitration services
       are rendered. Parties and counsel agree to meet with Judge Dean at a mutually agreed
       upon place, upon request of Judge Dean, and to furnish Judge Dean with one hard
       copy of each draft of language in dispute. Parties agree to pay any additional
       arbitration fees directly to Judge Dean on or at the time of said meeting.




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     c;?/4d                                                                               \
              9.   THIS AGREEl\ffiNT IS NOT SUBJECT TO REVOCATION.
                                                                                     f)_�vJ
                                                                                     1\)
     Charles Richard Willingham
                                                    Signed on: /J1t1rMt      /tJ,r ;&;JU

     Sara Razavi Zand - Attorney for Charles Richard Willingham




      �----__...
     DeepaBiswas Willingham

                                                    Signed on:    Jr/ltrtf, //jI,J.aJ,i)

                           ey for Deepa Biswas Willingham

                                                     Signedon: /htr/C/2       /tJ, ,;;#c}O
                                                                                 j




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                                       Exhibit A
      • Parties agree to be divorced based irreconcilable differences
      • Property to be divided per Exhibit B {TBS =To be sold), save and accept
        Wife is also awarded as her separate property the antique clock located at the
        Houston property.
      • California Property to sold terms and conditions per Exhibit C
      • Sales proceeds on Exhibit B regarding Vineyard and Wine includes proceeds
        from the following:
      • a. 50% net proceeds from bottles of wine made from today until sale of the
        property,
      • b. 50% of net proceeds from 2020 harvest of the grapes in the vineyard, and
      • c. 50% of net proceeds from wine in barrels
      • Parties shall submit 3 names of persons/company to the other by and thru
        their attorneys of record by March 20, 2020. Parties may mutually agree to
        a person's/ company's name on the list to use for the sale of the Vineyard
        and Wine products indicated above. Failing such agreement such names
        shall be submitted to Sheri Y. Dean for arbitration and a decision as to the
        person/company that shall sell the above products for the parties less any
        reasonable commission for such sales.
      • The tractor and two lawnmowers listed on exhibit B shall be sold when the
        property is sold by the above same method failing mutual agreement.
      • Property listed as Husband's property currently in the possession of Wife in
        the California home shall be returned to Husband within 14 days written
        notice of Husband to wife. Husband shall pay the expense of shipping and
        transport for these items.
      • Property listed as Wife's property currently in the possession of Husband in
        the Houston home shall be returned to Wife within 14 days written notice of
        Wife to Husband. Wife shall pay the expense of shipping and transport for
        these items.
      • Wife shall receive Rental property income from property located on
        California property until the house is sold to pay for the expenses listed on
        Exhibit C




                                                                             036
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                                                                                                                                                Award          Award
                                                                                  Current/Face                                                 Husband          Wiie
Item#                                  Asset Description                             Value           Current Debt       Net Equity            Community       Community
 1                                      Real Property
         1422 Nantucket Drive, Apt. A, Houston, TX 77057 (mortgage as of
     1.1 3/3/2020)                                                                   547,393.00          275,512.00          271,881.00        271,881.00
     1.2 725 Croft Lane, Solvang, CA, 93463 (mortgage as of 3/3/2020)                            X                  X                     X               X
 2                                    Financial Accounts
      Wells Fargo Checking x-0741 INO Petitioner and Respondent (as of
  2.1 1/31/2020)                                                                         3,058.73
                                                                                                                                3,058.73         3,058.73
      Wells Fargo Checking x-9056 INO Petitioner and Respondent (as of
  2.2 1/31/2020)                                                                           288.68
                                                                                                                                     288.68        288.68
      Wells Fargo Checking x-8937 INO Petitioner and Respondent (as of
  2.3 1/31/2020)                                                                           691.85
                                                                                                                                     691.85               I       691.8
      Wells Fargo Savings x-6521 INO Petitioner and Respondent (as of                                                                                     I

  2.4 1/31/2020)                                                                        1,243.47
                                                                                                                                1,243.47                        1,243.4
      Wells Fargo Checking x-5545 INO CRW Capital Enterprises, LLC (as of
  2.5 2/18/2020)                                                                          895.96
                                                                                                                                     895.96       895.96
  2.6 Wells Fargo Checking x-2034 INO Petitioner (as of 2/18/2020)                      1,427.08                                     427.00       427.0d
  2.7 Amerant Checking x-4606 INO Petitioner (as of 2/17/2020)                            861.67                                     861.67       861.67
      Amerant Checking x-5506 INO CR Willingham & Associates LLC (as of
  2.8 2/29/20)                                                                          5,719.56
                                                                                                                                     719.00       719.00
      Amerant Checking x-5606 INO CR Willingham & Associates LLC (as of
2.9 2/29/20)                                                                              227.71
                                                                                                                                     227.71       227.71
      Amerant Line of Credit x-8255 INO Petitioner and Respondent (as of
2.10 2/18/2020)                                                                                                     X                    X                X
2.11 Wells Fargo Line of Credit x-8715 INO Petitioner (as of 1/31/2020)                                             X                    X                X
3a                     Retirement Accounts - Defined Contribution Plan
      Fidelity Investment Account x-1519 (INO Petitioner and Respondent) (as of
  3.1 9/19/2019)                                                                        847.85                                   847.85           847.85
  3.2 Fidelity Investment Account x-1651 (INO Petitioner) (as 3/9/2020)             111,000.00                               111,000.00        55,500.00.      5-5,500.0.
      Merrill IRA x-11X65 (INO Explorametrics, Inc. FBO Petitioner) (as of
  3.3 12/31/2019)                                                                      5,257.20                                 5,257.20        5,257.20
  3.4 Fidelity Investment Account x-???? (INO Respondent) (as of 3/1/2020)             6,400.00                                 6,400.00                        6,400.01
  3.5
3b                                      Other Debts
  3.6 Loan Care                                                                     127,000.00                               127,000.00       (127,000.00)
 4                                     Motor Vehicles
  4.1 Husband - 2011 Mercedes Benz E-350 (w/ $8k loan outstanding)                     8,660.00                                 8,660.00        8,660.001
  4.2 Wife - 2006 Mercedes Benz E-320 CDI                                              5,000.00                                 5,000.00                        5,000.01
  4.3 1985 Mercedes Benz 300D                                                          7,500.00                                 7,500.00         7,500.00



                                                                                                                                                   037
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                                                                     Current/Face
Item#                       Asset Description                           Value          Current Debt         Net Equity
  4.4 2003 Ford F-250                                                      3,900.00                                 3,900.00




                                                                                                                               038
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                                                                                      Current/Face                                                                Husband                 Wlfo
Item#                                Asset Description                                   Value                 Current Debt            Net Equity                Community              Community
  4.5   1993 Mercedes Benz E-300                                                            1,500.00                                           1,500.00                                   1,500.0
  4.6   John Deere 1400 Tractor                                                                        X                                                 X                    X

  4.7   John Deere Riding Lawn Mower                                                                   X                                                 X                    X

  4.8   Club Cadet Riding Lawn Mower                                                                   X                                                 X                    X
  4.9
 5                                     Credit Cards
                                                                                1.j, 1 loO. qy.
                                                                                                             ',n
  5.1   BoA AAA x-2784 INO Petitioner (as of 2/4/2020)                                                     X ( _/.                                           X                X
  5.2   Chase Southwest Airlines x-3218 INO Petitioner (as of 2/28/2020)            2-'2-°I 11. �1         X       \                                         X                X
  5.3   Chase Southwest Airlines x-4799 INO Petitioner (as of 2/2/2020)             1L\ 5'2.J."2.."1       X   lh v--                                        X                X
  5.4   Citi Advantage x-3860 INO Petitioner (as of 1/1/2020)                        \1'2.\\.\°\           X r-0. \                                          X                X
  5.5   Wells Fargo x-8894 INO Petitioner and Respondent (as of 2/12/2020)           ,z..� 051.o 5"'       X     \ 17'/w)                                    X
                                                                                                                   V                                              /1.., I /
 6                                    Miscellaneous                                                                                                                 y             '-
  6.1 Wine Inventory                                                                       X                                              X                      XJ d v:111
  6.2 Wine Inventory Still In Barrel (approx. 256 cases)                                   X                       X                      X                      X�i
  --\
(73 Naviant Student Loan INO Petitioner (on behalf of Reena) (as of 3/3/2020)                                      X                      X
                                                                                                                                                                          'e�>
'--"" Shefield Finance Lawn Tractor Loan INO Petitioner and Respondent (as of

 6.4 3/3/2020)                                                                                                            466.00                 (466.00)                                  (466.01
 6.5 Ally Bank Car Loan INO Petitioner (as of 3/3/2020)                                                                 8,000.00               (8,000.00)         (8,000.00)
 7                                   Business Entities
  7.1   CR Willingham & Associates, LLC                                                                                                                                       X

  7.2   CRW Capital Enterprises, LLC                                                                                                                                          X
  7.3   Millennium Operating Company (16.66% each)                                                                                                                            X
  7.4   BBW Partners (16.66% each)                                                                                                                                            X

  7.5   Lanita Oil and Gas - Failed                                                                                                                                           X
 8                              Outstanding Tax Liabilities
  8.1 2019 Joint Tax Return (due 4/15/2020)                                                                        X                      X                           C       X
  8.2 2019 Property Tax on 725 Croft Lane, Solvang, CA (due 4/10/2020)                                             X                      X                                   X

 9                                  Attorney's Fees                                                                                                                                           -A
  9.1 Husband - Attorney's Fees                                                                                     X                     X                                   X              W_,,
  9.2 Wife - Attorney's Fees                                                    X                                                  X                                                    ---n-1
 10                   Household Items and Items of Signifcant Value                                                                                                                       '_' ,,.,< \
 10.1 Husband - Household Furnishings                                                            1.00                                                 1.00            1.00               (;71'/L'-'
 10.2 Wife - Household Furnishings                                                               1.00                                                 1.00            �                \ . 00 (�
 10.3 Waterford Wine Decanter                                                                  150.00                                               150.00          150.00
 10.4 Reena Painting (located in Houston, TX)                                                          X                                                 X                    X




                                                                                                                                                                       039
                                                                                                                                                                                     �,:>_                                                                                                                  -��,:

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                                                         Main Document           Page 40 of 191
                                                                                Current/Face                                                                                                                                                                         1
Item#                                   Asset Description                          Value            Current Debt           Net Equity
   10.5 Indian Cows Painting (located in Houston, TX)                                          X                                                            X
                                                                                                                                                                    ' .
                                                                                                                                                                            ..·!. •··-'·'··-; :<� .· .
                                                                                                                                                                     ' ··1,-,·<                                                                                      ;,·
                                                                                                                                                                                                                                                                         ,.,.                              .:,_:,,
  10.6 Ranch Painting (located in Houston TX)                                                  X                                                            X       ii                                 ':L! < J;,, ;, >()                                        ):(, ,?:!•:
                                                                                                                                                                                                                                                                       .. ,-:                            :,(:f
                                                                                                                                                                    ·"._                                                                                                                                    .,,
  10.7 Gardening Tools                                                                         X                                                            X                          . ·.<'-·' _,;.·, -.: .;                             "         .. ;
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  10.8 Solar Panels (located in CA)                                                   1,000.00                                              1,000.00                     . :,:!;<'
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   10.9 Stainless Steel Recirculating Pumps (located in CA)                           2,000.00                                              2,000.00                                                                                                            t: ��J{rif<l.OQ;Q
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 10.10 Pablo Picasso Painting (located in CA)                                         4,500.00                                              4,500.00                                                                                                            �f}\(;;JJ1�b0.tO
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 10.11 Maple Wood Dining Room Set w/ 8 Chairs (located in CA)                         1,000.00                                              1,000.00                :·._
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                                 Proposed Division of Property                 Current Value        Current Debt          Net Equity                                                 : '; Jg�[' '.(�::} �\Y.;��:StTotal:,::::,,-:
                                                                                                                                557,546.12 ;?,. �-,i2t}f1ttso,. f'.f ''-,�szl26�3
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      Total Community Property                                                     847,524.76           283,978.00
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 11                    Separate Property of Charles Richard Willingham         Current Value        Current Debt          Net Equity          ,;.. . -:. . ...�. ___,..·-. .. ,....•.... \_.:'.:·::;_' ��--··"' .....-�_,,,-, .. ,.,
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 11.1 230 E. Ralston Avenue, San Bernardino, CA 92404                                275,000.00                                           275,000.00                                  ,-   ..
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 11.2 CRW Mother's Sterling Silver Set (located in CA)                                 3,500.00                                             3,500.00 V                       C"""'                 :
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 11.3 CRW Sterling Set (located in CA)                                                 3,500.00
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 11.4 JB Lansing SA600 Hi-Fl Amp (located in CA)                                        1,800.00                                               1,800.00
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 11,5 33 RPM Vinyl Records (located in CA)                                                     X                                                              X                                                                                                 ,·:·
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 11.6 Baseball Card Collection (located in CA)                                             500.00                                                 500.00                              ,,                                                                       ;.,                             .r,
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 11.7 Cassette Hi-Fi Player (located in CA)                                                 so.co                                                  50.00                     '.            ..,.;           : ;,_,,                                               '
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 11.8 Briar Rabbit and Similar Out-of-Print Children's Books (located in CA)                    X                                                             X
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 11.9 Miscellaneous tools and socket set (located in CA)                                                                                                      X                                                                                                        .-
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 11.1 Celestron C-8 Telescope, Mount, Parts and Eyepieces (located In CA)                  700.00                                                 700.00                ..             .•;
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11.11 Astronomy Books (located In CA)
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11.12 Baby Pictures of Petitioner (located in CA)
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11.13 Coin Collection (located in CA - travel locker in barn)
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                                               Exhibit C - Final



          Provisions Dealing with Sale of Residence

           IT IS FURTHER ORDERED AND DECREED that the property and all improvements
   located according to the map, plat, or deed records of Santa Barbara County, California and more
   commonly known as 725 Croft Lane, Solvang, California 93463, shall be sold under the
   following terms and conditions:

                  1. On or before March 20, 2020, the Parties shall submit 3 names of agents to be
                     real estate agent/broker for sale of the above property, by and through their
                     respective attorneys of record.

                  2. Parties may mutually agree to one of the agents/brokers and failing such
                     agreement shall submit the list to Sheri Y. Dean for arbitration on or before
                     March 25, 2020, to decide the agent/broker for the property.

                  3. The residence shall be listed on the market, as is, on or before April 15, 2020.
                     If CHARLES WILLINGHAM and DEEPA WILLINGHAM are unable to
                     agree on a listing price on or before April 15, 2020, the parties shall place the
                     residence on the market on or before April 15, 2020 for $2,000,000.00. If the
                     property does not sell within the first 45 days from the listing, the price shall
                     be reduced by a minimum of 2.5%. A reduction of 2.5% of the original listing
                     price shall be automatically going into effect after every period of 45 days
                     thereafter, during which a purchase offer on the residence is not pending. The
                     real estate agent shall be instructed by the parties on the first day, of each 45
                     day period, to reduce the listing price of the residence by 2.5%.


           3.     The parties agree to cooperate in every reasonable way and to complete all
   paperwork necessary to list the property for sale and/or to change listing agents. The parties
   agree to execute and deliver any and all documents necessary to effectuate the listing and sale of
   the property within five (5) business days of presentment of such documents.

          4.      The parties agree to complete and execute any and all listing agreements and
   other necessary closing and title documents timely upon presentment, but in no event shall such
   execute occur later than five (5) days from the date of presentment.

           5.      The parties shall timely comply with all other acts required to complete the sale of
   the residence, including but not limited to attending all scheduled appointments by the realtor as
   requested, appearing at the time designated for closing of the sale, and provided all keys and
   access codes required for entry to the property.




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          6.      The parties agree that no substantial alterations/destructipn shall be made to the
   property during the pendency of the sale.

           7.        If either party believes any repairs necessary to sell the home, can pay the cost of
   the repairs.

           8.     DEEPA WILLINGHAM shall each keep the home in show quality condition and
   shall have exclusive and private use of the home during the pendency of the sale.

           9.      The net sales proceeds (defined as the gross sales price less cost of sale and full
   payment of any mortgage indebtedness, property truces, or liens on the property) shall be
   distributed as follows:

           a) First, Payment of full amount of the Amerant Line of Credit in the name of DEEPA
              WILLINGHAM and CHARLES WILLINGHAM with account number ending in
              8255.

           b) Second, Payment of full amount of the Wells Fargo Line of Credit in the name of
              CHARLES WILLINGHAM with account number ending in 8715.

           c) Third, IRS Truces for 2019, if any amount paid in advance by one Party, that Party is
              reimbursed 100% of the amount paid in advance, along with any cost or penalties
              incurred to pay the truces on time.

           d) Fourth, the Credit Cards all listed for both Parties on Exhibit B, 5.1-5.5 with balances
              as stated on Exhibit B. Any changes above those balances shall be paid by the Party
              that incurs such debt.

           e) Equalization Payment in the amount of$69,503.00 shall be paid to Wife in full from
              the net proceeds from the sale of the California property and if the proceeds are short
              of satisfying the total payment due and owing by Husband, the security against the
              Houston residence shall not be released until Husband has paid in full the amount due
              and owing to Wife.

   Real Estate Lien:

                  Note to be paid in 12 equal monthly installments, beginning with the 151 day of the 15'
                  month following closing of the California residence and continuing thereafter on the
                  I st day of each month until fully satisfied. Wife shall execute release when satisfied.


           f) Thereafter, the remaining balance of the net sales proceeds shall be distributed as
              follows: 50% to DEEPA WILLINGHAM and 50% to CHARLES WILLINGHAM.

           Provisions Dealing with Use and Expenses of Residence Prior to Sale


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         1.   Beginning March 9, 2020, through the sale of the residence, CHARLES
              WILLINGHAM shall pay the monthly balance due, including payments of
              principal, interest, taxes, and escrow insurance, on the residence
              from the following accounts in the following order:

              a) Amerant line of credit 8255.
              b) Wells Fargo line of credit 8715.

         2.   Beginning March 9, 2020, through the sale of the residence, DEEPA
              WILLINGHAM shall pay the following from her own personal accounts:

              a)     Utilities, including electricity, gas, cable and internet, water
              b)     Landscaping and lawn care services
              c)     Housekeeping services
              d)     Any other expenses that are associated with the maintenance and upkeep
                     of the property including the vineyard and rental property.




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                            EXHIBIT "D"

                                                                          044
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                                                                                                           6/19/2020 4:2·
                                                                                Marilyn Burgess - District Clerk Harris Cc
                                                                                                     Envelope No. 4390
                                                                                                             By: Ebonie f
                                                                                                    Filed: 6/19/2020 4:2·

   NOTICE: THIS DOCUMENT CONTAINS SENSITIVE DATA
                                            NO. 2018-64132

    IN THE MATTER OF                               §       IN THE DISTRICT COURT
    THE MARRIAGE OF                                §
                                                   §
    CHARLES RICHARD WILLINGHAM                     §       245TH JUDICIAL DISTRICT
    AND                                            §
    DEEPA BISWAS WILLINGHAM                        §        HARRIS COUNTY,TEXAS


                                  FINAL DECREE OF DIVORCE

          On ________ the Court considered the agreement of the parties that was
   presented to the Court for approval.
   Appearances

           Petitioner, CHARLES RICHARD WILLINGHAM, appeared via affidavit duly executed
   and sworn, attached hereto as EXHIBIT "1" and fully incorporated herein for all purposes,
   stating that the parties reached an agreement as to all issues, as further evidenced by the
   signature of Petitioner and his attorney of record, SARA RAZAVI ZAND, appearing below.

          Respondent, DEEPA BISWAS WILLINGHAM, has made a general appearance and
   assented to the entry of this judgment in accordance with Section 6.602 of the Texas Family
   Code by affixing her signature to the Mediated Settlement Agreement of March 10, 2020 upon
   which this Decree is based.


   Record

            The making of a record of testimony was waived by the parties with the consent of the
   Court.

   Jurisdiction and Domicile
           The Court finds that the pleadings of Petitioner are in due form and contain all the
   allegations, information, and prerequisites required by law. The Court, after receiving evidence,
   finds that it has jurisdiction of this case and of all the parties and that at least sixty days have
   elapsed since the date the suit was filed.

           The Court further finds that, at the time this suit was filed, Petitioner had been a
   domiciliary of Texas for the preceding six-month period and a resident of the county in which
   this suit was filed for the preceding ninety-day period. All persons entitled to citation were
   properly cited.


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   Jury

          A jury was waived, and questions of fact and of law were submitted to the Court.
   Agreement ofParties

          The Court finds that the parties have entered into a written agreement as contained in this
   decree by virtue of having approved the Mediated Settlement Agreement upon which this Decree
   is based. The Court approves the agreement of the parties as contained in this Final Decree of
   Divorce.

           The agreements in this Final Decree of Divorce were reached in mediation with SHERI
   Y. DEAN. This Final Decree of Divorce is stipulated to represent a merger of a mediated
   settlement agreement dated March 10, 2020 between the parties. To the extent there exist any
   differences between the mediated settlement agreement and this Final Decree of Divorce, this
   Final Decree of Divorce shall control in all instances.


   Divorce

           IT IS ORDERED AND DECREED that CHARLES RICHARD WILLINGHAM,
   Petitioner, and DEEPA BISWAS WILLINGHAM, Respondent, are divorced and that the
   marriage between them is dissolved on the ground of insupportability.
   Child ofthe Marriage

          The Court finds that there is no child of the marriage of Petitioner and Respondent now
   under eighteen years of age or otherwise entitled to support and that none is expected.
   Division ofMarital Estate

          The Court finds that the following is a just and right division of the parties' marital estate,
   having due regard for the rights of each party.
   Property to Husband

          IT IS ORDERED AND DECREED that Husband, CHARLES RICHARD
   WILLINGHAM, is awarded the following as his sole and separate property, and Wife, DEEPA
   BISWAS WILLINGHAM, is divested of all right, title, interest, and claim in and to that
   property:

          H-1. Subiect to the terms and conditions set forth below in the provisions entitled,
   "Real Estate Lien", the following real property, including but not limited to any escrow funds,
   prepaid insurance, utility deposits, keys, house plans, home security access and code, garage
   door opener, warranties and service contracts, and title and closing documents:
          More formally being described as follows:

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          A tract of land containing 4883 square feet of land, more or less, out of the
          easterly part of Lot 284, in Block 11 of Westhaven Estates, Sec. 2, an addition in
          Harris County, Texas according to the map or plat thereof recorded in Volume 30,
          Page 46 of the Map Records of Harris County, Texas; said tract of land being
          more particularly described by metes and bounds as follows;

          BEGINNING at a 1-1/4 inch iron pipe at the southeast corner of Lot 284 and the
          northeast corner of Lot 285 on the west right of way line of Nantucket Drive, 60
          feet wide;

          Thence South 89 deg. 50 min. West, with the common line between said two lots,
          69.72 feet to a point for corner;
          Thence North 00 deg. 10 min. West, across the Lot 284 and in part along a
          common party wall of a two story townhouse building 70.00 feet to a point for
          corner on the north line of Lot 284 and the south line of Lot 283;

          Thence North 89 deg. 50 min. East, with the common line between said two lots,
          69.79 feet to a 1-l/4th iron pipe at their common east corner on said west right of
          way line;

          Thence South 00 deg. 06 min. 30 sec. East, with the east line of Lot 284 and said
          west right of way line, 70.00 feet to the PLACE OF BEGINNING.
          NOTE: The Company is prohibited from insuring the area or quality of the land
          described herein. Any statement in the legal description contained in Schedule
          "A " as to the area or quantity of land is not a representation that such area or
          quantity is correct, but is made only for informal identification purposes and does
          not override Item 2 of Schedule "B" hereof

          The real property is more commonly known as 1422 Nantucket Drive, Apt. A, Houston,
   Texas 77057.

           H-2. Save and except for tliose items awarded to Wife in W-2 below, all household
   furniture, furnishings, fixtures, goods, art objects, collectibles, appliances, and equipment in the
   possession of Husband or subject to Husband's sole control.

          H-3. The following furniture, furnishings, fixtures, goods, art objects, collectibles,
   appliances, and equipment:
          a)      Waterford Wine Decanter;
          b)      Painting by Reena Biswas Willingham, located in Houston, Texas;
          c)      Ranch Painting, located in Houston, Texas;
           H-4. All clothing, jewelry, and other personal effects in the possession of Petitioner or
   subject to Petitioner's sole control.
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          H-5. All funds on deposit, together with accrued but unpaid interest, in the following
   banks, savings institutions, or other financial institutions:
          a)      Wells Fargo Checking Account, held in the name of Charles Richard
                  Willingham and Deepa Biswas Willingham, account number ending in 0741;
          b)      Wells Fargo Checking Account, held in the name of Charles Richard
                  Willingham and Deepa Biswas Willingham, account number ending in 9056;
          c)      Wells Fargo Checking Account, held in name of CRW Capital Enterprises, LLC,
                  account number ending in 5545;
          d)      Wells Fargo Checking Account, held in name of Charles Richard Willingham,
                  account number ending in 2034;
          e)      Amerant Checking Account, held in name of CR Willingham & Associates, LLC,
                  account number ending in 5506;

          f)      Amerant Checking Account, held in name of CR Willingham & Associates, LLC,
                  account number ending in 5606; and
          g)      Amerant Checking Account, held in name of Charles Richard Willingham,
                  account number ending in 4606.
          H-6.    The following individual retirement accounts and investment accounts:
          a)      100% of the Fidelity Investment Account ending in 1519, held in the name
                  of Charles Richard Willingham and Deepa Biswas Willingham;

          b)       As of March 10, 2020, 50% of the stocks, bonds, mutual funds, securities, and
               other funds held in the Fidelity Investment Account ending in 1651, together with all
               gains, losses, dividends, splits, and other rights and privileges associated therewith
               since that date, held in the name of Charles Richard Willingham; and
          c)      100% of the Merrill Investment Retirement Account ending in l 1X65, held in the
                  name of Explorametrics, Inc. for the benefit of Charles Richard Willingham.
         H-7.     The following motor vehicles, together with all prepaid insurance, keys, and title
   documents:

          a)      The 2011 Mercedes Benz E-350; and

          b)      The 1985 Mercedes Benz 300D.

          H-8. 100% of any interest in the business entity known as CR Willingham &
   Associates, LLC, including but not limited to all intellectual property, furniture, fixtures,
   machinery, equipment, inventory, cash, receivables, accounts, goods, supplies, income; all
   personal property used in connection with the operation of the business entity; and all rights and
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   privileges, past, present, or future, arising out of or in connection with the operation of the
   business entity.

           H-9. 100% of any interest in the business entity known as CRW Capital Enterprises,
   LLC, including but not limited to all intellectual property, furniture, fixtures, machinery,
   equipment, inventory, cash, receivables, accounts, goods, supplies, income; all personal property
   used in connection with the operation of the business entity; and all rights and privileges, past,
   present, or future, arising out ofor in connection with the operation ofthe business entity.
           H-10. 100% of any interest in the business entity known as Lanita Oil and Gas,
   including but not limited to all intellectual property, furniture, fixtures, machinery, equipment,
   inventory, cash, receivables, accounts, goods, supplies, income; all personal property used in
   connection with the operation of the business entity; and all rights and privileges, past, present,
   or future, arising out of or in connection with the operation of the business entity. The parties
   specifically recognize that the community's interest in Lanita Oil and Gas was a failed
   enterprise.

           H-11. A 16.66% interest (representing 50% of the community estate's interest) in the
   business entity known as Millennium Operating Company, a proportional interest currently held
   in the name ofCharles Richard Willingham, including but not limited to all intellectual property,
   furniture, fixtures, machinery, equipment, inventory, cash, receivables, accounts, goods,
   supplies, income; all personal property used in connection with the operation of the business
   entity; and all rights and privileges, past, present, or future, arising out of or in connection with
   the operation ofthe business entity.

           H-12. A 16.66% interest (representing 50% of the community estate's interest) in the
   business entity known as BBW Partners, a proportional interest currently held in the name of
   Charles Richard Willingham, including but not limited to all intellectual property, furniture,
   fixtures, machinery, equipment, inventory, cash, receivables, accounts, goods, supplies, income;
   all personal property used in connection with the operation of the business entity; and all rights
   and privileges, past, present, or future, arising out of or in connection with the operation of the
   business entity.

           H-13. Subiect to the terms and conditions set forth below in the provision entitled
   Provisions Dealing with Vineyard and Wine Sale, 50% ofthe amount ofDAnjali wine bottles in
   the possession of DEEP A BISWAS WILLINGHAM, located at 725 Croft Lane, Solvang,
   California 93463, and 50% of the remaining amount of bottles in the possession of Summerland
   Wine Brands (66 cases ofDeepa Anjali Syrah Ballad Canyon 2015 and 220 cases ofDeepa 2016
   Ballard Canyon Syrah), located at 35 Industrial Way Buellton, California 93427. By virtue of
   this Decree, Summerland Wine Brands is ORDERED to release the remaining inventory to the
   parties within 3 business days ofwritten request by one or both parties.
          H-14. Subiect to the terms and conditions set forth below in the provision entitled
   Provisions Dealing with Vineyard and Wine Sale, 50% of the wine barrel inventory in the
   possession ofDEEPA BISWAS WILLINGHAM, located at 725 Croft Lane, Solvang, California
   93463, and, 50% of the remaining wine in the wine barrels in the possession of Summerland
   Wine Brands, located at 35 Industrial Way Buellton, California 93427. By virtue ofthis Decree,
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   Summerland Wine Brands is ORDERED to release the remaining inventory to the parties within
   3 business days of written request by one or both parties.
   Property to Wife

         IT IS ORDERED AND DECREED that Wife, DEEPA BISWAS WILLINGHAM, is
   awarded the following as her sole and separate property, and Husband, CHARLES RICHARD
   WILLINGHAM, is divested of all right, title, interest, and claim in and to that property:

          W-1. Save and except for those items confirmed as Husband's separate property
   below, all household furniture, furnishings, fixtures, goods, art objects, collectibles, appliances,
   and equipment in the possession of Wife or subject to Wife's sole control unless specific
   provisions are made herein.
          W-2. The following furniture, furnishings, fixtures, goods, art objects, collectibles,
   appliances, and equipment:
          a)      The Indian Cows Painting, located in Houston, Texas;
          b)      Gardening Tools;
          c)      Solar Panels, located in California;
          d)      Stainless Steel Recirculating Pumps, located in California;
          e)      Pablo Picasso Painting, located in California; and

          f)      Maple Wood Dining Room Set with 8 chairs, located in California.

           W-3. All clothing, jewelry, and other personal effects in the possession of Wife or
   subject to Wife's sole control.

          W-4. All funds on deposit, together with accrued but unpaid interest, in the following
   banks, savings institutions, or other financial institutions:
          a)      Wells Fargo Checking Account, held in the name of Charles Richard
                  Willingham and Deepa Biswas Willingham, account number ending in 8937; and
          b)      Wells Fargo Savings Account, held in the name of Charles Richard
                  Willingham and Deepa Biswas Willingham, account number ending in 6521.
          W-5. The following individual retirement accounts and investment accounts:

          a)      100% of the Fidelity Rollover IRA ending in *0315, held in the name of Deepa
               Biswas Willingham;
          W-6. As of March 10, 2020, 50% of the stocks, bonds, mutual funds, securities, and
   other funds held in the Fidelity Investment Account ending in 1651, together with all gains,
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   losses, dividends, splits, and other rights and privileges associated therewith since that date, held
   in the name of Charles Richard Willingham..
         W-7. The following motor vehicles, together with all prepaid insurance, keys, and title
   documents.

          a)      The 2006 Mercedes Benz E-320 CDI;

          b)      The 2003 Ford F-250; and

          c)      The 1993 Mercedes Benz E-300.

           W-8. A 16.66 % interest (representing 50% of the community estate's interest) in the
   business entity known as Millennium Operating Company, a proportional interest currently held
   in the name of Deepa Biswas Willingham, including but not limited to all intellectual property,
   furniture, fixtures, machinery, equipment, inventory, cash, receivables, accounts, goods,
   supplies, income; all personal property used in connection with the operation of the business
   entity; and all rights and privileges, past, present, or future, arising out of or in connection with
   the operation ofthe business entity.

           W-9. A 16.66% interest (representing 50% of the community estate's interest) in the
   business entity known as BBW Partners, a proportional interest currently held in the name of
   Deepa Biswas Willingham, including but not limited to all intellectual property, furniture,
   fixtures, machinery, equipment, inventory, cash, receivables, accounts, goods, supplies, income;
   all personal property used in connection with the operation of the business entity; and all rights
   and privileges, past, present, or future, arising out of or in connection with the operation of the
   business entity.

           W-10. Subiect to the terms and conditions set forth below in the provision entitled
   Provisions Dealing with Vineyard and Wine Sale, 50% ofthe amount ofDAnjali wine bottles in
   the possession of DEEPA BISWAS WILLINGHAM, located at 725 Croft Lane, Solvang,
   California 93463, and 50% ofthe remaining amount ofbottles in the possession of Summerland
   Wine Brands (66 cases ofDeepa Anjali Syrah Ballad Canyon 2015 and 220 cases ofDeepa 2016
   Ballard Canyon Syrah), located at 35 Industrial Way Buellton, California 93427. By virtue of
   this Decree, Summerland Wine Brands is ORDERED to release the remaining inventory to the
   parties within 3 business days ofwritten request by one or both parties.

          W-11. Subiect to the terms and conditions set forth below in the provision entitled
   Provisions Dealing with Vineyard and Wine Sale, 50% of the wine barrel inventory in the
   possession ofDEEPA BISWAS WILLINGHAM, located at 725 Croft Lane, Solvang, California
   93463, and, 50% of the remaining wine in the wine barrels in the possession of Summerland
   Wine Brands, located at 35 Industrial Way Buellton, California 93427. By virtue ofthis Decree,
   Summerland Wine Brands is ORDERED to release the remaining inventory to the parties within
   3 business days ofwritten request by one or both parties.



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   Debts to Husband

          IT IS ORDERED AND DECREED that Husband, CHARLES RICHARD
   WILLINGHAM, shall pay, as a part of the division of the estate of the parties, and shall
   indemnify and hold Wife, DEEPA BISWAS WILLINGHAM, and Wife's property harmless
   from any failure to so discharge, these items:

           H-1. 100% of the balance due, including principal, interest, tax, and insurance escrow,
   on the promissory note executed by CHARLES RICHARD WILLINGHAM and DEEPA
   BISWAS WILLINGHAM, in the original principal sum of $354,000.00, dated September 14,
   2009, payable to MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. ("MERS"),
   by and on behalf of BANK OF AMERICA, N.A. and secured by deed of trust on the real
   property at TR 284A, BLOCK 11, 1422 NANTUCKET T/H, WESTHAVEN ESTATES SEC 2,
   a lot in Harris County, Texas, according to the map and plat thereof, the Map Records of Harris
   County, Texas, more commonly known as 1422 Nantucket Drive, Apt. A, Houston, Texas
   77057, awarded in this decree to CHARLES RICHARD WILLINGHAM.

          H-2. Any and all debts incurred solely in Husband's name, unless specific provisions
   are made herein.

           H-3. All encumbrances, ad valorem taxes, liens, assessments, premiums, or other
   charges due or to become due on the real and personal property awarded to Husband in this
   decree, unless express provision is made in this decree to the contrary.

          H-4.   The following debts, charges, liabilities, and obligations:
                 a. Subiect to the terms and conditions below set forth in "Provisions Dealing
                    with Sale of California Residence", 50% of the debt due and owing,
                    including principal, interest, tax, and insurance escrow, on the promissory
                    note executed by CHARLES RICHARD WILLINGHAM and DEEPA
                    BISWAS WILLINGHAM, in the original principal sum of $149,282.00, dated
                    June 23, 2018, payable to MERCANTIL BANK, NIA (now AMERANT Line
                    of Credit Account ending * 8255) and secured by deed of trust on the real
                    property at TR 284A, BLOCK 11, 1422 NANTUCKET T/H, WESTHAVEN
                    ESTATES SEC 2, a lot in Harris County, Texas, according to the map and
                    plat thereof, the Map Records of Harris County, Texas, more commonly
                    known as 1422 Nantucket Drive, Apt. A, Houston, Texas 77057.;
                 b. Subiect to the terms and conditions below set forth in "Provisions Dealing
                    with Sale of California Residence", 50% of the debt owed to Wells Fargo
                    Line of Credit, Account Number ending in xxx-8715, held in the name of
                    Charles Richard Willingham, subject to additional provisions herein below;
                 c. 100% of the debt owed to First Federal Bank of California and/or LoanCare,
                    Account number ending in xxx-0102J, held in the name of Charles Richard
                    Willingham;


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                  d. Subiect to the terms and conditions below set forth in "Provisions Dealing
                     with Sale of California Residence", 50% of the debt owed to Bank of
                     America AAA Account number ending in xxx-2784 as of March 10, 2020,
                     held in the name of Charles Richard Willingham, with a balance of
                     $23,760.94. Any expenditures made on the credit card after March 10, 2020
                     shall be 100% the responsibility of the party incurring the expense and shall
                     not be paid from the net proceeds of the sale of the California Residence;
                  e. Subiect to the terms and conditions below set forth in "Provisions Dealing
                     with Sale of California Residence", 50% of the debt owed to Chase
                     Southwest Airlines Account number ending in xxx-3218 as of March 10,
                     2020, held in the name of Charles Richard Willingham, with a balance of
                     $22,917.37. Any expenditures made on the credit card after March 10, 2020
                     shall be 100% the responsibility of the party incurring the expense and shall
                     not be paid from the net proceeds of the sale of the California Residence;
                  f. Subiect to tJ,e terms and conditions below set forth in "Provisions Dealing
                     with Sale of California Residence", 50% of the debt owed to Chase
                     Southwest Airlines, Account number ending in xxx-4799, held in the name of
                     Charles Richard Willingham, with a balance of $34, 523.27. Any
                     expenditures made on the credit card after March 10, 2020 shall be 100% of
                     the responsibility of the party incurring the expense and shall not be paid from
                     the net proceeds of the sale of the California residence;
                  g. Subiect to the terms and conditions set forth below in "Provisions Dealing
                     with Sale of California Residence, 50% of the debt owed to Citi Advantage
                     Account number ending in xxx-3860 as of March 10, 2020, held in the name
                     of Charles Richard Willingham, with a balance of $17,211.19. Any
                     expenditures made on the credit card after March 10, 2020 shall be 100% the
                     responsibility of the party incurring the expense and shall not be paid from the
                     net proceeds of the sale of the California Residence; and
          H-5. 50% of the debt owed to Navient Student Loan, held in the name of Charles
   Richard Willingham, on behalf of Reena Biswas Willingham.

          H-6. 100% of the Ally Bank Car Loan, Account number ending in xxx-2783, held in
   the name of Charles Richard Willingham.

           H-7. Subiect to the terms and conditions below set forth in "Provisions Dealing with
   Sale of California Residence", 50% of the outstanding 2019 Joint Federal Income Tax Return
   Liability due on April 15, 2020, for the tax year 2019 with all penalties, interest and charges in
   the name of Charles Richard Willingham and Deepa Biswas Willingham.

          H-8. 50% of the outstanding 2019 Property Tax Liability for 725 Croft Lane, Solvang,
   California due on April 10, 2020.


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          H-9. 100% of any and all sums due and owing to or become due or owing to Razavi
   Zand & Associates, LLC, for attorney's fees, expenses, and cost incurred by Charles Richard
   Willingham for representation in this matter.

   Debts to Wife

           IT IS ORDERED AND DECREED that Wife, DEEPA BISWAS WILLINGHAM, shall
   pay, as a part of the division of the estate of the parties, and shall indemnify and hold Husband,
   CHARLES RICHARD WILLINGHAM and Husband's property harmless from any failure to so
   discharge, these items:


           W-1. Any and all debts incurred solely in Deepa Biswas Willingham' s name, unless
   specific provision is made herein.

          W-2. The balance due, including principal, interest, and all other charges, on any item
   of property awarded to Wife herein by virtue of this Decree.

          W-3. The following debts, charges, liabilities, and obligations:

                   a. Subiect to tJ,e terms and conditions below set fort!, in "Provisions Dealing
                      wit!, Sale of California Residence", 50% of the debt due and owing,
                      including principal, interest, tax, and insurance escrow, on the promissory
                      note executed by CHARLES RICHARD WILLINGHAM and DEEPA
                      BISWAS WILLINGHAM, in the original principal sum of $149,282.00, dated
                      June 23, 2018, payable to MERCANTIL BANK, NIA (now AMERANT Line
                      of Credit Account ending *8255) and secured by deed of trust on the real
                      property at TR 284A, BLOCK 11, 1422 NANTUCKET T/H, WESTHAVEN
                      ESTATES SEC 2, a lot in Harris County, Texas, according to the map and
                      plat thereof, the Map Records of Harris County, Texas, more commonly
                      known as 1422 Nantucket Drive, Apt. A, Houston, Texas 77057.;
                   b. Subiect to tl,e terms and conditions below set fort/, in "Provisions Dealing
                      wit!, Sale of California Residence", 50% of the debt owed to Wells Fargo
                      Line of Credit, Account Number ending in xxx-8715, held in the name of
                      Charles Richard Willingham.

                   d. c. Subiect to tl,e terms and conditions below set forth in "Provisions
                      Dealing wit!, Sale of California Residence", 100% of the debt owed to Wells
                      Fargo Credit Card Account number ending in xxx-8894 as of March 10, 2020,
                      held in the name of Charles Richard Willingham and Deepa Biswas
                      Willingham, with a balance of $23,056.50. Any expenditures made on the
                      credit card after March 10, 2020 shall be 100% the responsibility of the party
                      incurring the expense and shall not be paid from the net proceeds of the sale
                      of the California residence;


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                  e. Subiect to the terms and conditions below set forth in "Provisions Dealing
                     with Sale of California Residence", 50% of the debt owed to Bank of
                     America AAA Account number ending in xxx-2784 as of March 10, 2020,
                     held in the name of Charles Richard Willingham, with a balance of
                     $23,760.94. Any expenditures made on the credit card after March 10, 2020
                     shall be 100% the responsibility of the party incurring the expense and shall
                     not be paid from the net proceeds of the sale of the California residence;
                  f. Subiect to the terms and conditions below set forth in "Provisions Dealing
                     with Sale of California Residence, 50% of the debt owed to Chase Southwest
                     Airlines Account number ending in xxx-3218 as of March 10. 2020, held in
                     the name of Charles Richard Willingham, with a balance of $22,917.37. Any
                     expenditures made on the credit card after March 10, 2020 shall be 100% of
                     the responsibility of the party incurring the expense and shall not be paid from
                     the net proceeds of the sale of the California Residence;
                  g. Subiect to the terms and conditions below set forth in "Provisions Dealing
                     with Sale of California Residence", 50% of the debt owed to Chase
                     Southwest Airlines Account number ending in xxx-4799 as of March 10,
                     2020, held in the name of Charles Richard Willingham, with a balance of
                     $34,523.27. Any expenditures made on the credit card after March 10, 2020
                     shall be 100% of the responsibility of the party incurring the expense and shall
                     not be paid from the net proceeds of the sale of the California Residence;
                  h. Subiect to the terms and conditions below set forth in "Provisions Dealing
                     with Sale of California Residence", 50% of the debt owed to Citi Advantage,
                     Account number ending in xxx-3860 as of March 10, 2020, held in the name
                     of Charles Richard Willingham, with a balance of $17,211.19. Any
                     expenditures made on the credit card after March 10, 2020 shall be 100% the
                     responsibility of the party incurring the expense and shall not be paid from the
                     net proceeds of the sale of the California Residence; and
          W-4. 50% of the debt owed to Navient Student Loan, held in the name of Charles
   Richard Willingham, on behalf of Reena Biswas Willingham.

          W-5. 100% of the debt owed to Shefield Finance Lawn Tractor Loan, held in the name
   of Charles Richard Willingham and Deepa Biswas Willingham.

           W-6. Subiect to the terms and conditions below set forth in "Provisions Dealing with
   Sale of California Residence", 50% of the outstanding 2019 Joint Federal Income Tax Return
   Liability due on April 15, 2020, for the tax year 2019 with all penalties, interest and charges in
   the name of Charles Richard Willingham and Deepa Biswas Willingham.

          W-7. 50% of the outstanding 2019 Property Tax Liability for 725 Croft Lane, Solvang,
   California due on April 10, 2020.


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          W-8. 100% of any and all sums due and owing to or to become due or owing to
   KoonsFuller Houston, for attorney's fees, expenses, and cost incurred by Deepa Biswas
   Willingham for representation in this matter.

   Notice

           IT IS AGREED AND THEREFORE ORDERED AND DECREED that each party shall
   send to the other party, within three days of its receipt, a copy of any correspondence from a
   creditor or taxing authority concerning any potential liability of the other party.
   No Alimony

          IT IS ORDERED AND DECREED that no provision of this decree shall be construed as
   alimony under the Internal Revenue Code, except as this decree expressly provides for payment
   of maintenance or alimony under the Internal Revenue Code.
   Confirmation ofSeparate Property of Charles Richard Willingham

          IT IS ORDERED AND DECREED that the following property is confirmed as separate
   property of CHARLES RICHARD WILLINGHAM:

            HSP-1. The property located at 230 E. Ralston Avenue, San Bernardino, California
                   92404.

            HSP-2. Charles Richard Willingham's Mother's Sterling Silver Set, located in California.

            HSP-3. Charles Richard Willingham's Sterling Silver Set, located in California.

            HSP-4. JB Lansing SA600 Hi-Amp, located in California.

            HSP-5. 33 RMP Vinyl Records, located in California.

            HSP-6. Baseball card collection, located in California.

            HSP-7. Cassette Hi-Fi Player, located in California.

            HSP-8.Briar Rabbit and Similar Out-of-Print Children's Book, located in California.

            HSP-9. Miscellaneous tools and socket set, located in California.

            HSP-10. Celestron C-8 Telescope, Mount, Parts and Eyepieces, located in California.

            HSP-11.Astronomy Books, located in California.

            HSP-12.Baby Pictures of Charles Richard Willingham, located in California.

            HSP-13. Coin Collection, located in California, inside travel locker in barn.

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          IT IS ORDERED that the foregoing property identified in HSP-2 through HSP-13 shall
   be returned to CHARLES RICHARD WILLINGHAM within 14 days' written notice by
   CHARLES RICHARD WILLINGHAM to DEEPA BISWAS WILLINGHAM. IT IS FURTHER
   ORDERED that CHARLES RICHARD WILLINGHAM shall pay the expense of shipping and
   transport of the items awarded to him herein.

   Confirmation ofSeparate Property ofDeepa Biswas Willingham

          IT IS AGREED AND THEREFORE ORDERED AND DECREED that the following
   property is confirmed as separate property of DEEPA BISWAS WILLINGHAM:

          WSP-1.          The antique clock, located at the Houston, Texas

           IT IS ORDERED that the foregoing property shall be returned to DEEPA BISWAS
   WILLINGHAM within 14 days written notice by DEEPA BISWAS WILLINGHAM to
   CHARLES RICHARD WILLINGHAM. IT IS FURTHER ORDERED that DEEPA BISWAS
   WILLINGHAM shall pay the expense of shipping and transport of the items awarded to her
   herein.

   Attorney's Fees

          To effect an equitable division of the estate of the parties and as a part of the division,
   and for services rendered and each party shall be responsible for his or her own attorney's fees,
   expenses, and costs incurred as a result of legal representation in this case.
   Undisclosed Assets and Liabilities

           IT IS ORDERED AND DECREED that any assets of the parties not awarded or divided
   by this Final Decree of Divorce are subject to future division as provided in the Texas Family
   Code.

           IT IS FURTHER ORDERED AND DECREED, as a part of the division of the estate of
   the parties, that any liability not expressly assumed by a party under this decree is to be paid by
   the party incurring the liability, and the party incurring the liability shall indemnify and hold the
   other party and the other party's property harmless from any failure to so discharge the liability.
   Provisions Dealing with Sale of California Residence

          IT IS FURTHER ORDERED AND DECREED that the property and all improvements
   located according to the map, plat, or deed records of Santa Barbara County, California and more
   commonly known as 725 Croft Lane, Solvang, California 93463 (hereinafter sometimes referred
   to as "California Property" or "California Residence"), shall be sold under the following terms
   and conditions:

              1. On or before March 20, 2020, the CHARLES RICHARD WILLINGHAM and
              DEEPA BISWAS WILLINGHAM shall each submit 3 names of agents to be real
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              estate agent/broker for sale of the above property, by and through their respective
              attorneys of record.

              2. CHARLES RICHARD WILLINGHAM and DEEPA BISWAS WILLINGHAM
              may mutually agree to one of the agents/brokers and failing such agreement shall
              submit the list to Sheri Y. Dean for arbitration on or before March 25, 2020, to decide
              the agent/broker for the property.
             3. CHARLES RICHARD WILLINGHAM and DEEPA BISWAS WILLINGHAM
             are ORDERED to list 725 Croft Lane, Solvang, California 93463 on the market, as-is,
             on or before April 15, 2020. If CHARLES RICHARD WILLINGHAM and DEEPA
             BISWAS WILLINGHAM are unable to agree on a listing price on or before April 15,
             2020, CHARLES RICHARD WILLINGHAM and DEEPA BISWAS
             WILLINGHAM shall place the residence on the market on or before April 15, 2020
             for $2,000,000.00. If the property does not sell within the first 45 days from the
             listing date, CHARLES RICHARD WILLINGHAM and DEEPA BISWAS
             WILLINGHAM are ORDERED to direct the real estate agent to reduce the list price
             of the property by a minimum of 2.5%. Further, CHARLES RICHARD
             WILLINGHAM and DEEPA BISWAS WILLINGHAM are ORDERED to direct the
             real estate agent to reduce the listing price of the residence by 2.5% of the original
             listing price every 45 days thereafter, during which a purchase offer on the residence
             is not pending. CHARLES RICHARD WILLINGHAM and DEEPA BISWAS
             WILLINGHAM shall instruct the real estate agent to reduce the listing price of the
             residence, as described above, on the first day of each 45-day period.
           CHARLES RICHARD WILLINGHAM and DEEPA BISWAS WILLINGHAM are
   ORDERED to cooperate in every reasonable way and to complete, execute, and deliver all
   documents necessary to list the property for sale and/or to change listing agents. CHARLES
   RICHARD WILLINGHAM and DEEPA BISWAS WILLINGHAM are ORDERED to
   complete, execute and deliver any and all documents necessary to effectuate the listing and sale
   of the property within five (5) business days of presentment of such documents.

          CHARLES RICHARD WILLINGHAM and DEEPA BISWAS WILLINGHAM are
   ORDERED to complete, execute, and deliver any and all listing agreements and other necessary
   closing and title documents timely upon presentment, but in no event shall such completion,
   execution and delivery of said documents occur later than five (5) days from the date of
   presentment.

          IT IS ORDERED that CHARLES RICHARD WILLINGHAM and DEEPA BISWAS
   WILLINGHAM shall timely comply with all other acts required to complete the sale of the
   residence, including but not limited to attending all scheduled appointments by the realtor as
   requested, appearing at the time designated for closing of the sale, and provided all keys and
   access codes required for entry to the property.

          IT IS ORDERED that no substantial alterations/destruction shall be made to the property
   during the pendency of the sale.

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          IT IS ORDERED that if either party believes any repairs necessary to sell the home, that
   party can pay the cost of the repairs.

           IT IS ORDERED that DEEPA BISWAS WILLINGHAM shall keep the home in show
   quality condition and shall have the exclusive and private use of the home during the pendency
   of the sale.

           IT IS ORDERED that the net sale proceeds (defined as the gross sales price less cost of
   the sale and full payment of any mortgage indebtedness, property taxes, or liens on the property)
   shall be distributed as follows:

              a. First, payment of full amount of the debt owed to Amerant Line of Credit, held in
                 the name of CHARLES RICHARD WILLINGHAM and DEEPA BISWAS
                 WILLINGHAM, with account number ending in xxx-8255;

              b. Second, payment of full amount of the debt owed to Wells Fargo Line of Credit,
                 held in the name of CHARLES RICHARD WILLINGHAM and DEEPA
                 BISWAS WILLINGHAM, with account number ending in xxx-8715;

              c. Third, IRS Taxes for 2019; if any amount paid in advance by one party, that party
                 is reimbursed I 00% of the amount paid in advance, along with any cost or
                 penalties incurred to pay taxes on time.

              d. Fourth, the debt owed to credit card balances as listed herein above, awarded to
                 each party. IT IS ORDERED that any charges above the balances listed herein
                 above, shall be paid by the party that incurs such debt.

              e. Equalization payment in the amount of $69,503.00 shall be paid to DEEPA
                 BISWAS WILLINGHAM in full from the net proceeds from the sale of the
                 California Property and secured by a lien on the Houston Residence herein
                 awarded to Husband, as further set forth below in the provision entitled, "Real
                 Estate Line." If the proceeds are short or satisfying the total payment due and
                 owing by CHARLES RICHARD WILLINGHAM, the security against the
                 Houston Residenceshall not be released until CHARLES RICHARD
                 WILLINGHAM has paid in full the amount due and owing to DEEPA BISWAS
                 WILLINGHAM.

              f. Thereafter, the remaining balance of the net sale proceeds shall be distributed as
                 follows: 50% to DEEPA BISWAS WILLINGHAM and 50% to CHARLES
                 RICHARD WILLINGHAM.

   Real Estate Lien

          IT IS ORDERED that an encumbrance for owelty of partition is created against the
   property located at 1422 Nantucket Drive, Apt. A, Houston, Texas 77057 (sometimes referred to
   herein as "Houston Residence") and more particularly described in the legal description set forth

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   in H-1 above. The purpose of the encumbrance is to secure the payment of the promissory note
   of CHARLES RICHARD WILLINGHAM in favor of DEEPA BISWAS WILLINGHAM of
   SIXTY-NINE THOUSAND FIVE HUNDRED THREE AND NO/100 DOLLARS ($69,503.00)
   resulting from the additional payment due and owing to DEEPA BISWAS WILLINGHAM from
   the sale of the California Property to accomplish a just and right division.
           IT IS ORDERED that CHARLES RICHARD WILLINGHAM shall sign a note payable
   to DEEPA BISWAS WILLINGHAM in the amount of the debt specified above and payable
   according to the terms specified below and in the Note. IT IS ORDERED that CHARLES
   RICHARD WILLINGHAM shall further sign a deed of trust to secure payment of the debt
   resulting from the owelty lien described above.

           IT IS ORDERED that the note is to be paid in 12 equal monthly installments, beginning
   with the first (1s� day of the first (1st) month following the closing of the California residence
   and continuing thereafter on the first (1st) day of each month until fully satisfied. IT IS AGREED
   AND ORDERED that wife shall execute a release when the debt due and owing has been fully
   satisfied and return such release to SARA RAZAVI ZAND at 4900 Foumace Place, Suite 550,
   Bellaire, Texas 7740 I .

           IT IS ORDERED that this debt is part of the division of the community property between
   the parties and shall not constitute or be interpreted to be any form of spousal support, alimony,
   or child support.

   Provisions Dealing with Use and Expenses of California Residence Prior to Sale

          IT IS ORDERED that the following provisions shall govern the use and payment of
   expenses on the California Residence Prior to Sale:

          1. Beginning on March 9, 2020, through the sale of the California Residence,
             CHARLES RICHARD WILLINGHAM shall pay the monthly balance due, including
             payments of principal, interest, taxes, and escrow insurance, on the California
             Residence from the following accounts in the following order:

                  a. Amerant Line of Credit, Account number ending in xxx-8255; and

                  b. Wells Fargo Line of Credit, Account number ending in xxx-8715.

          2. Beginning on March 9, 2020, through the sale of the California Residence, DEEPA
             BISWAS WILLINGHAM shall pay the following from her own personal accounts:

                  a. Utilities of the California Residence, including electricity, gas, cable and
                     internet, water;

                  b. Landscaping and lawn care services;

                  c. Housekeeping services; and

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                 d. Any other expenses that are associated with the maintenance and upkeep of
                    the California property, including the vineyard and rental property.

           IT IS ORDERED that DEEPA BISWAS WILLINGHAM shall have the exclusive use
   and possession of the residence during the pendency of the sale and shall be entitled to receive
   the rental property income from the property until the California Residence is sold.

   Provisions Dealing with Vineyard and Wine Sale

           IT IS ORDERED that the parties shall sell the Vineyard Wine Inventory and Wine
   Inventory still in Barrels, approximately 256 cases. IT IS ORDERED that the net sales proceeds
   shall be divided as follows:

          a. 50% of net proceeds from bottles of wine made from March 10, 2020 until the sale of
             the property shall go to each party;

          b. 50% of net proceeds from 2020 harvest of the grapes in the vineyard shall go to each
             party; and

          c. 50% of net proceeds from wine in barrels, shall go to each party.

           IT IS ORDERED that the parties shall submit 3 names of potential sellers of the Wine
   Inventory to the other by and through their attorneys of record by March 20, 2020. Parties may
   mutually agree to a person's/company's name on the list to use for the sale of the Vineyard and
   Wine products indicated above. Failing such agreement, it is ORDERED that such names shall
   be submitted to Sheri Y. Dean for binding arbitration and a decision as to the person/company
   that shall sell the above products for the parties less any reasonable commission for such sales.

   Provisions Dealing with Sale of Tractor and Lawnmowers

           IT IS AGREED AND ORDERED that the following tractors and two lawnmowers shall
   be sold when the California Property is sold:
           1. John Deere 1400 Tractor;

          2. John Deere Riding Lawn Mower; and

          3. Club Cadet Riding Lawn Mower.

          IT IS ORDERED that each party shall receive 50% of the net proceeds from the sale of
   the foregoing items. IT IS FURTHER ORDERED that the parties shall submit 3 names of
   potential sellers of the foregoing items to the other by and through their attorneys of record by
   March 20, 2020. The parties may mutually agree to a person's/company's name on the list to use
   for the sale of the items indicated above. Failing such agreement, it is ORDERED that such
   names shall be submitted to Sheri Y. Dean for binding arbitration and a decision as to the
   person/company that shall sell the above products for the parties less any reasonable commission
   for such sales.

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   Execution ofInstruments to Transfer Property

   A.     By CHARLES RICHARD WILLINGHAM

           Unless otherwise executed and delivered to DEEPA BISWAS WILLINGHAM. by and
   througl, her attorney of record. Taylor T. Imel, in advance, CHARLES RICHARD
   WILLINGHAM shall appear in the offices of Sara Razavi Zand, 4900 Fournace Plce, Suite 550,
   Bellaire, Texas 77401, to execute and have acknowledged the following instruments:

         1.     Deed of Trust to Secure Owelty of Partition to 1422 Nantucket Drive, Apt. A,
   Houston, Texas 77057, in the form attached hereto as EXHIBIT "2".

          2.     Real Estate Lien Note, in the form attached hereto as EXHIBIT "3".

        3.    Assignment of Interest to Financial Accounts, in the form attached hereto as
   EXHIBIT "4".

          4.      Power of Attorney to Transfer Motor Vehicle to the 2006 Mercedes Benz E-320
   CDI, in the form attached hereto as EXHIBIT "5".

           5.     Power of Attorney to Transfer Motor Vehicle to the 2003 Ford F-250, in the form
   attached hereto as EXHIBIT "6".

            6.     Power of Attorney to Transfer Motor Vehicle to the 1993 Mercedes Benz E 300,
   in the form attached hereto as EXHIBIT "7".

   B.     By DEEPA BISWAS WILLINGHAM

         Unless otherwise executed and delivered to CHARLES RICHARD WILLINGHAM. by
   and through his attorney of record, Sara Razavi Zand. in advance, DEEPA BISWAS
   WILLINGHAM shall appear in the offices of Taylor T. Imel, 109 N. Post Oak Lane, Suite 425,
   Houston, Texas 77024, to execute and have acknowledged the following instruments:




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         1.      Special Warranty Deed with Encumbrance for Owelty of Partition to 1422
   Nantucket Drive, Apt. A, Houston, Texas 77057, in the form attached hereto as EXHIBIT "8".:.
          2.      Assignment of Utility Deposits, in the form attached hereto as EXHIBIT "9".:.
        3.    Assignment of Interest to Financial Accounts, in the form attached hereto as
   EXHIBIT "10".:.
           4.      Power of Attorney to Transfer Motor Vehicle to the 2011 Mercedes Benz E-350,
   in the form attached hereto as EXHIBIT "11".
           5.      Power of Attorney to Transfer Motor Vehicle to the 1985 Mercedes Benz 300D,
   in the form attached hereto as EXHIBIT "12".

   C.     Miscellaneous Provisions
           Except as otherwise provided herein, IT IS ORDERED that each party shall execute and
   deliver to the other party any other document(s) or tangible item(s) necessary to effectuate the
   transfer of property herein awarded to the other party within ten (10) days following receipt of
   said document(s) or written request from the other party.

   Court Costs

          IT IS ORDERED AND DECREED that costs of court are to be borne by the party who
   incurred them.

   Discharge from Discovery Retention Requirement

          IT IS ORDERED AND DECREED that the parties and their respective attorneys are
   discharged from the requirement of keeping and storing the documents produced in this case in
   accordance with rule 191.4(d) of the Texas Rules of Civil Procedure.

   Indemnification

            IT IS ORDERED that if any claim, action, or proceeding is hereafter initiated seeking to
   hold the party not assuming a debt, an obligation, a liability, an act, or an omission of the other
   party liable for such debt, obligation, liability, act, or omission of the other party, that other party
   will, at that other party's sole expense, defend the party not assuming the debt, obligation,
   liability, act, or omission of the other party against any such claim or demand, whether or not
   well founded, and will indemnify the party not assuming the debt, obligation, liability, act, or
   omission of the other party and hold him or her harmless from all damages resulting from the
   claim or demand.
          Damages, as used in this provision, includes any reasonable loss, cost, expense, penalty,
   and other damage, including without limitation attorney's fees and other costs and expenses
   reasonably and necessarily incurred in enforcing this indemnity.

           IT IS ORDERED that the indemnifying party will reimburse the indemnified party, on
                                                     19                                        063
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   demand, for any payment made by the indemnified party at any time after the entry of the
   divorce decree to satisfy any judgment of any court of competent jurisdiction or in accordance
   with a bona fide compromise or settlement of claims, demands, or actions for any damages to
   which this indemnity relates.

            IT IS ORDERED that each party will give the other party prompt written notice of any
   litigation threatened or instituted against either party that might constitute the basis of a claim for
   indemnity under this decree.

   Clarifying Orders
          Without affecting the finality of this Final Decree of Divorce, this Court expressly
   reserves the right to make orders necessary to clarify and enforce this decree.

   ReliefNot Granted

           IT IS ORDERED AND DECREED that all relief requested in this case and not expressly
   granted is denied. This is a final judgment, for which let execution and all writs and processes
   necessary to enforce this judgment issue. This judgment finally disposes of all claims and all
   parties and is appealable.

   Date ofJudgment
   SIGNED on


           This divorce judicially PRONOUNCED AND RENDERED in court at Harris County,
   Texas, on -------- and further noted on the court's docket sheet on the same date,
   but signed on ______________



                                                  JUDGE PRESIDING




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    APPROVED AS TO FORM ONLY:

    RAZAVI ZAND & ASSOCIATES, PLLC




    SARA RAZAVI ZAND, SBOT # 24051233
    4900 Fournace Place, Suite 550
    Bellaire, TX 77401
    Telephone: 713-396-0227
    Telecopier: 713-391-8258
    Email: sara(a),zandlegal.com
    ATTORNEY FOR PETITIONER


    SHERRI A. EVANS, SBOT # 00785853
    TAYLOR T. IMEL, SBOT #24073302
    KOONSFULLER HOUSTON
    109 North Post Oak Lane, Suite 425
    Houston, TX 77024
    Tel: (713) 789-5112
    Fax: (713) 789-5123
    ATTORNEY FOR RESPONDENT


    APPROVED AND CONSENTED TO AS TO BOTH FORM AND SUBSTANCE:



  <Z-�c:)�
    CHARLES RICHARD WILLINGHAM, Petitioner



    DEEPA BISWAS WILLINGHAM, Respondent




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                                Deed of Trust to Secure Owelty of Partition

          Notice of confidentiality rights: If you are a natural person, you may remove or strike
   any or all of the following information from any instrument that transfers an interest in real
   property before it is filed for record in the public records: your Social Security number or
   your driver's license number.

                                                 Basic Information

   Date:   ----------------
   Grantor:           CHARLES RICHARD WILLINGHAM
   Grantor's Mailing Address: 1422 Nantucket Drive, Apt. A, Houston, Texas 77057
   Trustee:           Albert Davis Woodward
   Trustee's Mailing Address: 24554 Indian Hill Lane, West Hills, CA 91307

   Beneficiary:       DEEPA BISWAS WILLINGHAM

   Beneficiary's Mailing Address: 725 Croft Lane, Solvang, California 93463

   Note(s)
            Date:-----------

   Original Principal Amount: SIXTY-NINE THOUSAND FIVE HUNDRED THREE AND NO/100
                              DOLLARS ($69,503.00)
             Maker:                   CHARLES RICHARD WILLINGHAM
             Payee:                   DEEPA BISWAS WILLINGHAM
             Maturity Date:           As Therein Specified

   Property (including any improvements):
           A tract of land containing 4883 square feet of land, more or less, out of the easterly part
           of Lot 284, in Block 11 of Westhaven Estates, Sec. 2, an addition in Harris County,
           Texas according to the map or plat thereof recorded in Volume 30, Page 46 of the Map
           Records of Harris County, Texas; said tract of land being more particularly described by
           metes and bounds as follows;

           BEGINNING at a 1-1/4 inch iron pipe at the southeast comer of Lot 284 and the
           northeast comer of Lot 285 on the west right of way line of Nantucket Drive, 60 feet
           wide;

           Thence South 89 deg. 50 min. West, with the common line between said two lots, 69.72
   Deed of Trust to Secure Owelty of Partition                                               066
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           feet to a point for corner;

           Thence North 00 deg. 10 min. West, across the Lot 284 and in part along a common
           party wall of a two story townhouse building 70.00 feet to a point for corner on the
           north line of Lot 284 and the south line of Lot 283;

           Thence North 89 deg. 50 min. East, with the common line between said two lots, 69.79
           feet to a I-I/4th iron pipe at their common east corner on said west right of way line;

           Thence South 00 deg. 06 min. 30 sec. East, with the east line of Lot 284 and said west
           right of way line, 70.00 feet to the PLACE OF BEGINNING.

           NOTE: The Company is prohibited from insuring the area or quality of the land
           described herein. Any statement in the legal description contained in Schedule "A" as
           to the area or quantity of land is not a representation that such area or quantity is
           correct, but is made only for informal identification purposes and does not override
           Item 2 of Schedule "B" hereof

           The real property is more commonly known as 1422 Nantucket Drive, Apt. A, Houston, Texas
  77057.

   Prior Lien(s):
            Date:                      September 14, 2009
            Original Principal Amount: Three Hundred Fifty-Four Thousand and NO/100 Dollars
                                       ($354,000.00)
            Maker and Grantor:         CHARLES RICHARD WILLINGHAM and DEEPA BISWAS
                                       WILLINGHAM
            Payee and Beneficiary:     MERS (by and on behalf of Bank of America, N.A.)

   Other Exceptions to Conveyance and Warranty:

   A.       Granting Clause

           For value received and to secure payment of the note given pursuant to the owelty
   agreement between the parties as set forth in the Special Warranty Deed with Encumbrance for
   Owelty of Partition, Grantor conveys the property to Trustee in trust. Grantor warrants and agrees
   to defend the title to the property, subject to the other exceptions to conveyance and warranty. On
   payment of the note and all other amounts secured by this deed of trust, this deed of trust will have
   no further effect, and Beneficiary will release it at Grantor's expense.
   B.       Grantor's Obligations

          Bl. Grantor agrees to maintain all property and liability insurance coverages with respect
   to the Property, revenues generated by the Property, and operations on the Property that
   Beneficiary reasonably requires ("Required Insurance Coverages"), issued by insurers and written
   on policy forms acceptable to Beneficiary, and as to property loss, that are payable to Beneficiary
   under policies containing standard mortgagee clauses, and deliver evidence of the Required
   Insurance Coverages in a form acceptable to Beneficiary before execution of this deed of trust and
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   again at least ten days before the expiration of the Required Insurance Coverages.
           B2      Grantor agrees to-

           a.       keep the property in good repair and condition;
           b.       pay all taxes and assessments on the property before delinquency, not authorize a
                    taxing entity to transfer its tax lien on the property to anyone other than Beneficiary,
                    and not request a deferral of the collection of taxes;
           c.       defend title to the property subject to the other exceptions to conveyance and
                    warranty and preserve the lien's priority as it is established in this deed oftrust;
           d.       obey all laws, ordinances, and restrictive covenants applicable to the property;
           e.       keep any buildings occupied as required by the Required Insurance Coverages;
           f.       maintain all insurance coverages with respect to the property, revenues generated
                    by the property, and operations on the property that Beneficiary reasonably requires
                    ("Required Insurance Coverages"), issued by insurers and written on policy forms
                    acceptable to Beneficiary, and deliver evidence of the Required Insurance Coverages in a
                    form acceptable to Beneficiary at least ten days before the expiration of the Required
                    Insurance Coverages;

           g.       ifthe lien of this deed of trust is not a first lien, pay or cause to be paid all prior lien
                    notes and abide by or cause to be abided by all prior lien instruments; and
           h.       notify Beneficiary of any change of address.
   C.      Beneficiary's Rights

          CJ.      Beneficiary may appoint in writing a substitute trustee, succeeding to all rights and
   responsibilities of Trustee.

          C2 If the proceeds of the note are used to pay any debt secured by prior liens,
   Beneficiary is subrogated to all the rights and liens of the holders of any debt so paid.
          Cl Beneficiary may apply any proceeds received under the property insurance policies
   covering the property either to reduce the note or to repair or replace damaged or destroyed
   improvements covered by the policy. If the property is Grantor's primary residence and
   Beneficiary reasonably determines that repairs to the improvements are economically feasible,
   Beneficiary will make the insurance proceeds available to Grantor for repairs.

           C4.    Notwithstanding the terms of the note to the contrary, and unless applicable law
   prohibits, all payments received by Beneficiary from Grantor with respect to the note or this deed
   of trust may, at Beneficiary 's discretion, be applied first to amounts payable under this deed of
   trust and then to amounts due and payable to Beneficiary with respect to the note, to be applied to
   late charges, principal, or interest in the order Beneficiary in its discretion determines.

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           C5. If Grantor fails to perform any of Grantor's obligations, Beneficiary may perform
   those obligations and be reimbursed by Grantor on demand for any amounts so paid, including
   attorney's fees, plus interest on those amounts from the dates of payment at the rate stated in the
   note for matured, unpaid amounts. The amount to be reimbursed will be secured by this deed of
   trust.

           C6         COLLATERAL PROTECTION INSURANCE NOTICE

          In accordance with the provisions of section 307.052(a) of the Texas Finance Code,
   Beneficiary hereby notifies Grantor as follows:

          (A) Grantor is required to:

                (i)         keep the collateral insured against damage in the amount Beneficiary
                            specifies;

                (ii)        purchase the insurance from an insurer that is authorized to do business in
                            the state of Texas or an eligible surplus lines insurer; and name Beneficiary
                            as the person to be paid under the policy in the event of a loss;

         (B) Grantor must, if required by Beneficiary, deliver to Beneficiary a copy of the
   policy and proof of the payment of premiums; and

         (C) if Grantor fails to meet any requirement listed in Paragraph (A) or (B),
   Beneficiary may obtain collateral protection insurance on behalf of Grantor at Grantor's
   expense.

          C7. If a default exists in payment of the note or performance of Grantor's obligations
   and the default continues after any required notice of the default and the time allowed to cure,
   Beneficiary may-
                       a.        declare the unpaid principal balance and earned interest on the note
                                 immediately due;
                       b.        exercise Beneficiary's rights with respect to rent under the Texas Property
                                 Code, as then in effect;
                       c.        direct Trustee to foreclose this lien, in which case Beneficiary or
                                 Beneficiary's agent will cause notice of the foreclosure sale to be given as
                                 provided by the Texas Property Code as then in effect; and
                       d.        purchase the property at any foreclosure sale by offering the highest bid and
                                 then have the bid credited on the note.
   CB. Beneficiary may remedy any default without waiving it and may waive any defaultwithout
   waiving any prior or subsequent default.



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   D.      Trustee's Rights and Duties

           If directed by Beneficiary to foreclose this lien, Trustee will-
          D.1. either personally or by agent give notice of the foreclosure sale as required by the
   laws of the State of Texas as then in effect;

          D.2 sell and convey all or part of the property "AS IS" to the highest bidder for cash with
   a general warranty binding Grantor, subject to prior liens and to the other exceptions to conveyance
   and warranty and without representation or warranty, express or implied, by Trustee;
           D.3.    from the proceeds of the sale, pay, in this order-
                    a.       expenses of foreclosure, including a reasonable commission to Trustee;
                    b.       to Beneficiary, the full amount of principal, interest, attorney's fees, and
                             other charges due and unpaid;
                    c.       any amounts required by law to be paid before payment to Grantor; and
                    d.       to Grantor, any balance; and
          D.4 be indemnified, held harmless, and defended by Beneficiary against all costs,
   expenses, and liabilities incurred by Trustee for acting in the execution or enforcement of the trust
   created by this deed of trust, which includes all court and other costs, including attorney's fees,
   incurred by Trustee in defense of any action or proceeding taken against Trustee in that capacity.

   E.      General Provisions

          El. If any of the property is sold under this deed of trust, Grantor must immediately
   surrender possession to the purchaser. If Grantor fails to do so, Grantor will become a tenant at
   sufferance of the purchaser, subject to an action for forcible detainer.
           E2      Recitals in any trustee's deed conveying the property will be presumed to be true.
         E3. Proceeding under this deed of trust, filing suit for foreclosure, or pursuing any other
   remedy will not constitute an election of remedies.
           E4 This lien will remain superior to liens later created even if the time of payment of all
   or part of the note is extended or part of the property is released.
           E5. If any portion of the note cannot be lawfully secured by this deed of trust, payments
   will be applied first to discharge that portion.

           E6. Grantor assigns to Beneficiary all amounts payable to or received by Grantor from
   condemnation of all or part of the property, from private sale in lieu of condemnation, and from
   damages caused by public works or construction on or near the property. After deducting any
   expenses incurred, including attorney's fees and court and other costs, Beneficiary will either
   release any remaining amounts to Grantor or apply such amounts to reduce the note. Beneficiary
   will not be liable for failure to collect or to exercise diligence in collecting any such amounts.
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   Grantor will immediately give Beneficiary notice of any actual or threatened proceedings for
   condemnation of all or part of the property.

           E7.     Grantor collaterally assigns to Beneficiary all present and future rent from the
   property and its proceeds. Grantor warrants the validity and enforceability of the assignment.
   Grantor will apply all rent to payment of the note and performance of this deed of trust, but if the
   rent exceeds the amount due with respect to the note and the deed of trust, Grantor may retain the
   excess. If a default exists in payment of the note or performance of this deed of trust, Beneficiary
   may exercise Beneficiary's rights with respect to rent under the Texas Property Code as then in
   effect. Beneficiary neither has nor assumes any obligations as lessor or landlord with respect to
   any occupant of the property. Beneficiary may exercise Beneficiary's rights and remedies under
   this paragraph without taking possession of the property. Beneficiary will apply all rent collected
   under this paragraph as required by the Texas Property Code as then in effect. Beneficiary is not
   required to act under this paragraph, and acting under this paragraph does not waive any of
   Beneficiary's other rights or remedies.

           E8 Interest on the debt secured by this deed of trust will not exceed the maximum
   amount of nonusurious interest that may be contracted for, taken, reserved, charged, or received
   under law. Any interest in excess of that maximum amount will be credited on the principal of the
   debt or, if that has been paid, refunded. On any acceleration or required or permitted prepayment,
   any such excess will be canceled automatically as of the acceleration or prepayment or, if already
   paid, credited on the principal of the debt or, if the principal of the debt has been paid, refunded.
   This provision overrides any conflicting provisions in this and all other instruments concerning
   the debt.

          E9. In no event may this deed of trust secure payment of any debt that may not lawfully
   be secured by a lien on real estate or create a lien otherwise prohibited by law.

           EJQ If Grantor transfers any part of the property without Beneficiary's prior written
   consent, Beneficiary may declare the note immediately payable and invoke any remedies provided
   in this deed of trust for default. If the property is residential real property containing fewer than
   five dwelling units or a residential manufactured home, this provision does not apply to (a) a
   subordinate lien or encumbrance that does not transfer rights of occupancy of the property; (b)
   creation of a purchase-money security interest for household appliances; (c) grant of a leasehold
   interest of three years or less without an option to purchase; (d) transfer to a spouse or children of
   Grantor; (e) transfer to a relative of Grantor on Grantor's death; (f) a transfer resulting from a
   decree of a dissolution of marriage, a legal separation agreement, or an incidental property
   settlement agreement by which the spouse of Grantor becomes an owner of the property; or (g)
   transfer to an inter vivos trust in which Grantor is and remains a beneficiary and occupant of the
   property.

           El1.     When the context requires, singular nouns and pronouns include the plural.
          E12 The term note includes all extensions, modifications, and renewals of the note and
   all amounts secured by this deed of trust.
            EJ3.    This deed of trust binds, benefits, and may be enforced by successors in interest of
   all parties.
   Deed of Trust to Secure Owelty of Partition                                               071
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           E14.     If Grantor and Maker are not the same person, the term Grantor includes Maker.

           E15. Grantor and each surety, endorser, and guarantor of the note waive, to the extent
   permitted by law, all (a) demand for payment, (b) presentation for payment, (c) notice of intention
   to accelerate maturity, (d) notice of acceleration of maturity, (e) protest, (f) notice of protest, and
   (g) rights under sections 51.003, 51.004, and 51.005 of the Texas Property Code.

           E16. Grantor agrees to pay reasonable attorney's fees, trustee's fees, and court and other
   costs of enforcing Beneficiary's rights under this deed of trust if this deed of trust is placed in the
   hands of an attorney for enforcement.
           E17. If any provision of this deed of trust is determined to be invalid or unenforceable,
   the validity or enforceability of any other provision will not be affected.

          E18.     Grantor hereby grants Beneficiary a right of first refusal with respect to Grantor's
   power to authorize any third party (other than Beneficiary pursuant to its right as set forth in this
   instrument) to pay ad valorem taxes on the property and authorize a taxing entity to transfer its tax
   lien on the property to that third party. Grantor's authorization to any third party (other than Beneficiary)
   to pay the ad valorem taxes and receive transfer of a taxing entity's lien for ad valorem taxes shall be null
   and void and of no force and effect unless Beneficiary, within ten days after receiving written notice from
   Grantor, fails to pay the ad valorem taxes pursuant to Beneficiary's right as set forth in this instrument.

          EJ9.      Grantor represents that this deed of trust and the note are given for the following
   purposes:

          This deed of trust is given to impose an owelty of partition against the entirety of the
   property in order to comply with the Final Decree of Divorce entered in Cause No. 2018-64132
   styled "In the Matter of the Marriage of Charles Richard Willingham and Deepa Biswas
   Willingham."



                                                      CHARLES RICHARD WILLINGHAM

                                                     This instrument was prepared based on information
                                                     furnished by the parties, and no independent title
                                                     search has been made.




   Deed of Trust to Secure Owelty of Partition                                                      072
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   STATE OF TEXAS                                )
   COUNTY OF HARRIS                              )
       This instrument was acknowledged before me on____________by
   CHARLES RICHARD WILLINGHAM.

                                                     Notary Public, State of Texas




   Prepared in the offices of:                                    After recording return to:

   KoonsFuller Houston                                            KoonsFuller Houston
   109 N. Post Oak Lane, Suite 425                                109 N. Post Oak Lane, Suite 425
   Houston, Texas 77024                                           Houston, Texas 77024
   (713) 789-5112                                                 (713) 789-5112




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                                                                 REAL ESTATE LIEN NOTE
   Date:

   Maker:                                                   CHARLES RICHARD WILLINGHAM
   Maker's Mailing Address:                                 1422 Nantucket Drive, Apt. A, Houston, Texas 77057
   Payee:                                                   DEEPA BISWAS WILLINGHAM
   Place for Payment:                                       725 Croft Lane, Solvang, California 93463
   Principal Amount:                                        SIXTY-NINE THOUSAND FIVE HUNDRED THREE AND NO/100
                                                            DOLLARS ($69,503.00)
   Annual Interest Rate:                                    Zero percent (0.0%), if paid as outlined
   Maturity Date:                                           12 Months from the date of Closing on the Sale of 725 Croft Lane
   Annual Interest Rate on
   Matured, Unpaid Amounts: Three percent (3.0%)

   Terms of Payment:                                     Payable in 12 equal monthly installments, beginning on the 1st day of the
                                                         1st month following the closing of 725 Croft Lane, Solvang, California
                                                         93463, in accordance with the terms and conditions set forth in the Final
                                                         Decree of Divorce rendered in Cause No. 2018-64132 styled " In the
                                                         Matter of the Marriage of Charles Richard Willingham and Deepa
                                                         Biswas Willingham."

  Security (or Payment
           This note is secured by a security interest created in a Deed of Trust by Maker as the debtor
   in favor of Payee as the secured party which is executed contemporaneously with this Real Estate
   Lien Note and that covers the following real property:

              A tract of land containing 4883 square feet of land, more or less, out of the easterly part
              of Lot 284, in Block 11 of Westhaven Estates, Sec. 2, an addition in Harris County,
              Texas according to the map or plat thereof recorded in Volume 30, Page 46 of the Map
              Records of Harris County, Texas; said tract of land being more particularly described by
              metes and bounds as follows;
              BEGINNING at a 1-1/4 inch iron pipe at the southeast corner of Lot 284 and the
              northeast corner of Lot 285 on the west right of way line of Nantucket Drive, 60 feet
              wide;

              Thence South 89 deg. 50 min. West, with the common line between said two lots, 69.72
              feet to a point for comer;
              Thence North 00 deg. 10 min. West, across the Lot 284 and in part along a common
              party wall of a two story townhouse building 70.00 feet to a point for comer074
                                                                                           on the
   Real Estate Lien Note ...................................................................................................................................................... Page 1 of 4
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              north line of Lot 284 and the south line of Lot 283;

              Thence North 89 deg. 50 min. East, with the common line between said two lots, 69.79
              feet to a I-I/4th iron pipe at their common east comer on said west right of way line;

              Thence South 00 deg. 06 min. 30 sec. East, with the east line of Lot 284 and said west
              right of way line, 70.00 feet to the PLACE OF BEGINNING.
              NOTE: The Company is prohibited from insuring the area or quality of the land
              described herein. Any statement in the legal description contained in Schedule "A" as
              to the area or quantity of land is not a representation that such area or quantity is
              correct, but is made only for informal identification purposes and does not override
              Item 2 of Schedule "B" hereof

              The real property is more commonly known as 1422 Nantucket Drive, Apt. A, Houston, Texas
  77057.

  Promise to Pay
           Maker promises to pay to the order of Payee the principal amount plus interest at the annual
   interest rate. This note is payable at the place for payment and according to the terms of payment.
   All unpaid amounts are due by the maturity date. If any amount is not paid either when due under
   the terms of payment or on acceleration of maturity, Maker promises to pay any unpaid amount
   plus interest from the date the payment was due to the date of payment at the annual interest rate
   on matured, unpaid amounts.

  Prepayment Clause
           Maker may prepay this note in any amount at any time before the maturity date without
   penalty or premium. Prepayments will be applied to installments on the last maturing principal,
   and interest on that prepaid principal will immediately cease to accrue.

   Defaults and Remedies
          If Maker defaults in the payment of this note or in the performance of any obligation in any
   instrument securing or collateral to this note, Payee may declare the unpaid principal balance,
   earned interest, and any other amounts owed on the note immediately due.

   Waivers
          Maker and each surety, endorser, and guarantor waive, to the extent permitted by law, all
   (1) demand for payment, (2) presentation for payment, (3) notice of intention to accelerate
   maturity, (4) notice of acceleration of maturity, (5) protest, and (6) notice of protest.

   Attorney's Fees
           Maker also promises to pay reasonable attorney's fees and court and other costs if this note
   is placed in the hands of an attorney to collect or enforce the note. These expenses will bear interest
   from the date of advance at the annual interest rate on matured, unpaid amounts. Maker will pay
   Payee these expenses and interest on demand at the place for payment. These expenses and   075 interest
   Real Estate Lien Note ...................................................................................................................................................... Page 2 of 4
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   will become part of the debt evidenced by the note and will be secured by any security for payment.

   Usury Sayines
            Interest on the debt evidenced by this note will not exceed the maximum rate or amount of
   non-usurious interest that may be contracted for, taken, reserved, charged, or received under law.
   Any interest in excess of that maximum amount will be credited on the principal amount or, if the
   principal amount has been paid, refunded. On any acceleration or required or permitted
   prepayment, any excess interest will be canceled automatically as of the acceleration or
   prepayment or, if the excess interest has already been paid, credited on the principal amount or, if
   the principal amount has been paid, refunded. This provision overrides any conflicting provisions
   in this note and all other instruments concerning the debt.

   Other Clauses
                 Each Maker is responsible for all obligations represented by this note.

                 When the context requires, singular nouns and pronouns include the plural.

           As the obligation set forth above is satisfied, CHARLES RICHARD WILLINGHAM
   shall be entitled to a Release of Lien on the real property secured by the Deed of Trust to ensure
   that the security does not exceed the remainder of the obligation. Said release shall be delivered
   in accordance with the terms and conditions set forth in the Final Decree of Divorce.
          This note is given to evidence the indebtedness imposed on Maker by the Final Decree of
   Divorce entered in Cause No. 2018-64132 styled "In the Matter of the Marriage of Charles
   Richard Willingham and Deepa Biswas Willingham."


                                                                                        CHARLES RICHARD WILLINGHAM, Maker


                                                                                        This instrument was prepared based on information
                                                                                        furnished by the parties, and no independent title
                                                                                        search has been made.




                                                                                                                                                                        076
   Real Estate Lien Note ...................................................................................................................................................... Page 3 of 4
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   Prepared in the offices of:                                                                                      After recording return to:

   KoonsFuller Houston                                                                                              KoonsFuller Houston
   109 N. Post Oak Lane, Suite 425                                                                                  109 N. Post Oak Lane, Suite 425
   Houston, Texas 77024                                                                                             Houston, Texas 77024
   (713) 789-5112                                                                                                   (713) 789-5112




                                                                                                                                                                        077
   Real Estate Lien Note ...................................................................................................................................................... Page 4 of 4
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                               Assignment of Interest to Financial Accounts

   Notice of confidentiality rights: If you are a natural person, you may remove or strike any
   or all of the following information from any instrument that transfers an interest in real
   property before it is filed for record in the public records: your Social Security number or
   your driver's license number.

         In accordance with the terms of the Final Decree of Divorce rendered in in Cause No.
   2018-64132 styled "In the Matter of the Marriage of Charles Richard Willingham and Deepa
   Biswas Willingham." in the 245th Judicial District Court of Harris County, Texas, I, CHARLES
   RICHARD WILLINGHAM, TRANSFER, CONVEY, and ASSIGN to DEEPA BISWAS
   WILLINGHAM any and all right, title, and interest I may now own or have any future claim of
   ownership in and to:

          1.       The following accounts held at the following banks, savings institutions, or other
   financial institutions:

             a. Name of Financial Institution:                  Wells Fargo
                Name(s) on Account:                             Charles Willingham and Deepa Willingham
                Type of Account:                                Checking
                Account Number:                                 Ending *8937
                Percentage Awarded:                             100%

             b. Name of Financial Institution:                  Wells Fargo
                Name(s) on Account:                             Charles Willingham and Deepa Willingham
                Type of Account:                                Savings
                Account Number:                                 Ending *6521
                Percentage Awarded:                             100%

             c. Name of Financial Institution:                  Fidelity
                Name(s) on Account:                             Charles Willingham and Deepa Willingham
                Type of Account:                                Investment/Brokerage Account
                Account Number:                                 Ending *1651
                Percentage Awarded:                             50%, together with all equity positions, cash and
                                                                cash equivalents, on deposit therein as of March 10,
                                                                2020 and thereafter, together with any gains, losses,
                                                                dividends, splits, interest or other rights therewith.

          I further authorize and direct DEEPA BISWAS WILLINGHAM to take whatever
   actions and steps are necessary to effectively change the name on the above-enumerated
   accounts in subsections a and b from my name to the name of DEEPA BISWAS
   WILLINGHAM and to effectively transfer her proportional award from the account listed in
   subsection c.
             I further authorize that a photocopy of this instrument may be used as an original.


   Assignment of Interest ..................................................................................................078
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   SIGNED on -------------


                                                                CHARLES RICHARD WILLINGHAM
   STATE OF TEXAS                                               )
   COUNTY OF HARRIS                                             )
       This instrument was acknowledged before me on __________ by
   CHARLES RICHARD WILLINGHAM.


                                                                Notary Public, State of Texas




                                                                                                                          079
   Assignment of Interest .................................................................................................. Page 2
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                             Power of Attorney to Transfer Motor Vehicle

   STATE OF TEXAS                                             §
   COUNTY OF HARRIS                                           §
           I, CHARLES RICHARD WILLINGHAM, of the state and county named above, for
   good and valuable consideration constitute and appoint DEEPA BISWAS WILLINGHAM of
   Santa Barbara County, California, my agent and attorney in fact, in my name, place, and stead, to
   convey and transfer all of my right, title, and interest in one 2006 Mercedes Benz E-320, vehicle
   identification number _________to whomever she may desire and to execute, in
   my name as my attorney in fact, any and all instruments necessary for the conveyance and
   transfer.

   SIGNED on -------------


                                                                       CHARLES RICHARD WILLINGHAM


   STATE OF TEXAS                                             §
   COUNTY OF HARRIS                                           §
       This instrument was acknowledged before me on ___________ by
   CHARLES RICHARD WILLINGHAM.


                                                              Notary Public, State of Texas




                                                                                                                     080
   POA to Transfer 2006 Mercedes.......................................................................................... Page Solo
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                             Power of Attorney to Transfer Motor Vehicle

   STATE OF TEXAS                                            §
   COUNTY OF HARRIS                                          §
           I, CHARLES RICHARD WILLINGHAM, of the state and county named above, for
   good and valuable consideration constitute and appoint DEEPA BISWAS WILLINGHAM of
   Santa Barbara County, California, my agent and attorney in fact, in my name, place, and stead, to
   convey and transfer all of my right, title, and interest in one 2003 Ford F-250, vehicle
   identification number _________to whomever she may desire and to execute, in
   my name as my attorney in fact, any and all instruments necessary for the conveyance and
   transfer.

   SIGNED on -------------

                                                                       CHARLES RICHARD WILLINGHAM


   STATE OF TEXAS                                            §
   COUNTY OF HARRIS                                           §
       This instrument was acknowledged before me on ___________ by
   CHARLES RICHARD WILLINGHAM.


                                                             Notary Public, State of Texas




                                                                                                                     081
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                             Power of Attorney to Transfer Motor Vehicle

   STATE OF TEXAS                                            §
   COUNTY OF HARRIS                                          §
           I, CHARLES RICHARD WILLINGHAM, of the state and county named above, for
   good and valuable consideration constitute and appoint DEEPA BISWAS WILLINGHAM of
   Santa Barbara County, California, my agent and attorney in fact, in my name, place, and stead, to
   convey and transfer all of my right, title, and interest in one 1993 Mercedes Benz E 300, vehicle
   identification number _________to whomever she may desire and to execute, in
   my name as my attorney in fact, any and all instruments necessary for the conveyance and
   transfer.

   SIGNED on -------------

                                                                       CHARLES RICHARD WILLINGHAM


   STATE OF TEXAS                                             §
   COUNTY OF HARRIS                                           §
       This instrument was acknowledged before me on ___________ by
   CHARLES RICHARD WILLINGHAM.


                                                             Notary Public, State of Texas




                                                                                                                     082
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                   Special Warranty Deed with Encumbrance for Owelty of Partition

   Notice of confidentiality rights: If you are a natural person, you may remove or strike any
   or all of the following information from any instrument that transfers an interest in real
   property before it is filed for record in the public records: your Social Security number or
   your driver's license number.

   Date: ----------� 2020

   Grantor:          DEEPA BISWAS WILLINGHAM

   Grantor's Mailing Address: 725 Croft Lane, Solvang, California 93463

   Grantee:          CHARLES RICHARD WILLINGHAM

   Grantee's Mailing Address:            1422 Nantucket Drive, Apt. A, Houston, Texas 77057

   Consideration:

           The division of property in in Cause No. 2018-64132 styled "In the Matter of the Marriage
   of Charles Richard Willingham and Deepa Biswas Willingham" entered in the 245th District Court
   of Harris County, Texas, and ten dollars and other good and valuable consideration paid by Grantee
   to Grantor, receipt and sufficiency of which are hereby acknowledged and:

            a. Grantee's assumption of and agreement to pay the unpaid principal and interest on that
               one certain promissory note, executed by Grantor and Grantee, in the original principal
               sum of $354,000.00 payable to the order of MERS (on behalf of Bank of America,
               N.A.), dated September 14, 2009, and secured by operation of a deed of trust executed
               by Grantor and Grantee, which encumbers the property herein conveyed; and
            b. Grantee's agreement to indemnify and hold Grantor harmless from the payment of the
               note described above and Grantee's assumption of the performance of Grantor's
               obligations required or specified in the deed of trust described above and any
               instruments securing payment of the note; and
            c. The execution and delivery by Grantee to Grantor of one certain Real Estate Lien Note
               in the principal sum of SIXTY-NINE THOUSAND FIVE HUNDRED THREE AND
               NO/100 DOLLARS ($69,503.00), dated _________, and secured by a
               deed of trust for owelty of partition executed by Grantee herein to Albert Davis
               Woodward, Trustee.
   Property:

            A tract of land containing 4883 square feet of land, more or less, out of the easterly
            part of Lot 284, in Block 11 of Westhaven Estates, Sec. 2, an addition in Harris
            County, Texas according to the map or plat thereof recorded in Volume 30, Page

   Special Warranty Deed With Encumbrance for Owelty of Partition
                                                                                              083
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           46 of the Map Records of Harris County, Texas; said tract of land being more
           particularly described by metes and bounds as follows;

           BEGINNING at a 1-1/4 inch iron pipe at the southeast comer of Lot 284 and the
           northeast comer of Lot 285 on the west right of way line of Nantucket Drive, 60
           feet wide;

           Thence South 89 deg. 50 min. West, with the common line between said two lots,
           69.72 feet to a point for corner;
           Thence North 00 deg. 10 min. West, across the Lot 284 and in part along a common
           party wall of a two story townhouse building 70.00 feet to a point for comer on the
           north line of Lot 284 and the south line of Lot 283;
           Thence North 89 deg. 50 min. East, with the common line between said two lots,
           69.79 feet to a I-I/4th iron pipe at their common east corner on said west right of
           way line;

           Thence South 00 deg. 06 min. 30 sec. East, with the east line of Lot 284 and said
           west right of way line, 70.00 feet to the PLACE OF BEGINNING.

           NOTE: The Company is prohibited from insuring the area or quality of the land
           described herein. Any statement in the legal description contained in Schedule "A "
           as to the area or quantity of land is not a representation that such area or quantity
           is correct, but is made only for informal identification purposes and does not
           override Item 2 of Schedule "B" hereof

          The real property is more commonly known as 1422 Nantucket Drive, Apt. A, Houston,
   Texas 77057.

   Reservations from Conveyance and Exceptions to Conveyance and Warranty:

          Grantor reserves no oil, gas, and other minerals in an under that may be produced from the
   property.

           Grantor reserves the vendor's lien and a lien for owelty and superior title to the property
   until the Promissory Note payable to Grantor has been paid in full. This deed is subject to all
   easements, restrictions, conditions, covenants, and other instruments of record.

           Grantor, for the consideration and subject to the reservations from conveyance and
   exceptions to conveyance and warranty, grants, sells, and conveys to Grantee Grantor's undivided
   interest in the property, together with all and singular the rights and appurtenances thereto in any
   way belonging, to have and to hold it to Grantee and Grantee's heirs, successors, and assigns
   forever. Grantor binds Grantor and Grantor's heirs and successors to warrant and forever defend
   all and singular the property to Grantee and Grantee's heirs, successors, and assigns against every
   person whomsoever lawfully claiming or to claim the same or any part thereof when the claim is
   by, through, or under Grantor but not otherwise, except as to the reservations from conveyance

   Special Warranty Deed With Encumbrance for Owelty of Partition
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   and exceptions to conveyance and warranty.

            When the context requires, singular nouns and pronouns include the plural.

            Granter assigns to Grantee the casualty insurance policy on the property, all utility deposits
   for utility service at the property, and all funds held in escrow for payment of taxes and insurance
   premmms.

            Grantee assumes all ad valorem taxes due on the property for the current year.

           Grantor and Grantee are joint owners of the property by virtue of a deed recorded at
   Instrument No. 589890127 of Harris County, Texas. The property is the family homestead of
   Granter and Grantee, who are parties in a suit for divorce, Cause No. 2018-64132 styled "In the
   Matter of the Marriage of Charles Richard Willingham and Deepa Biswas Willingham" in the
   245th District Court of Harris County, Texas. As an incident to the divorce proceeding, Grantor
   and Grantee have agreed that Grantee will acquire the full fee simple title in and to the parties'
   homestead and that a debt in the amount of $69,503.00 will be created in favor of Grantor and a
   lien or owelty of partition will be fixed on the entirety of the homestead to secure the debt and
   amount due and owing to Grantor from the sale of 725 Croft Lane, Solvang, California 93463.
   Grantee specifically acknowledges that the lien or owelty of partition is on the entirety of the
   property and is superior to Grantee's rights of use and occupancy of the property as Grantee's
   homestead or otherwise.

           Grantee joins in the execution of this deed for the purpose of accepting delivery thereof
   and acknowledging this agreement and the validity of the deed of trust lien, vendor's lien, and lien
   for owelty created herein on the property and the priority and superiority of the liens to any right
   of use, occupancy, and homestead that he may have, hold, or claim in and to the entirety of the
   property.


                                                                    DEEPA BISWAS WILLINGHAM, Grantor



                                                                    CHARLES   RICHARD WILLINGHAM,
                                                                    Grantee




   Special Warranty Deed With Encumbrance for Owelty of Partition
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                                                                    This instrument was prepared based on
                                                                    information furnished by the parties, and no
                                                                    independent title search has been made.

   STATE OF CALIFORNIA                           )

   COUNTY OF SANTA BARBARA )

        This instrument was acknowledged before me on                                                              by
   DEEPA BISWAS WILLINGHAM.


                                                                    Notary Public, State of California


   STATE OF TEXAS                      )

   COUNTY OF HARRIS                    )

       This instrument was acknowledged before me on ___________ by
   CHARLES RICHARD WILLINGHAM.


                                                                    Notary Public, State of Texas




   Prepared in the offices of:                                             After recording return to:

   KoonsFuller Houston                                                     Sara Razavi Zand
   109 N. Post Oak Lane, Suite 425                                         4900 Fournace Place, Ste. 550
   Houston, Texas 77024                                                    Bellaire, Texas 77401
   (713) 789-5112                                                          (713) 396-0227




   Special Warranty Deed With Encumbrance for Owelty of Partition                                          086
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                                 Assignment of Utility Deposits

          In accordance with the terms of the Final Decree of Divorce rendered in C Cause No.
  2018-64132 styled "In the Matter of the Marriage of Charles Richard Willingham and Deepa
  Biswas Willingham", entered in the 245th District Court of Harris County, Texas, I, DEEPA
  BISWAS WILLINGHAM, TRANSFER, CONVEY, and ASSIGN any and all utility deposits
  for utility service at 1422 Nantucket Drive, Apt. A, Houston, Texas 77057, to CHARLES
  RICHARD WILLINGHAM.

           I further authorize CHARLES RICHARD WILLINGHAM to take whatever actions
   and steps are necessary to effectively change the name on any and all utility accounts for services
   at the above address from my name to the name of CHARLES RICHARD WILLINGHAM
          I further authorize that a photocopy of this instrument may be used as an original.

   SIGNED on -------------


                                                DEEPA BISWAS WILLINGHAM

   STATE OF CALIFORNIA                          )
   COUNTY OF SANTA BARBARA                      )
       This instrument was acknowledged before me on             -----------                       by
   DEEPA BISWAS WILLINGHAM.


                                                Notary Public, State of California




   Assignment of Utility Deposits
                                                                                           087
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                                ---------� 2020
   MERS/Bank of America, N.A.

   Re: Loan number:
       Name:        DEEPA BISWAS WILLINGHAM and CHARLES RICHARD
       WILLINGHAM
       Address:     1422 Nantucket Drive, Apt. A, Houston, Texas 77057
   Dear Sir or Madam,

         The above-referenced property securing the payment of the above-captioned loan has
   been transferred by deed dated __________ to CHARLES RICHARD
   WILLINGHAM, who has assumed and agreed to pay the loan as part of the consideration for t�e
   conveyance.

           I hereby release any and all claims in and to escrow deposits and any benefits accruing
   therefrom and transfer and assign all interest in them to the grantee.

         For your records, I enclose a copy of the deed, which was duly recorded in the Deed
   Records of Harris County, Texas, on ____________
                                              Sincerely yours,


                                              DEEPA BISWAS WILLINGHAM

   Enc.




                                                                                       088
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                             Power of Attorney to Transfer Motor Vehicle

   STATE OF CALIFORNIA                                        §
   COUNTY OF SANTA BARBARA                                    §
           I, DEEPA BISWAS WILLINGHAM, of the state and county named above, for good
   and valuable consideration constitute and appoint CHARLES RICHARD WILLINGHAM of
   Harris County, Texas, my agent and attorney in fact, in my name, place, and stead, to convey and
   transfer all of my right, title, and interest in one 2011 Mercedes Benz E 350, vehicle
   identification munber _________to whomever he may desire and to execute, in
   my name as my attorney in fact, any and all instruments necessary for the conveyance and
   transfer.

   SIGNED on -------------


                                                                        DEEP A BISWAS WILLINGHAM


   STATE OF TEXAS                                             §
   COUNTY OF HARRIS                                           §
       This instrument was acknowledged before me on                               -----------                                  by
   DEEPA BISWAS WILLINGHAM.


                                                              Notary Public, State of Texas




                                                                                                                      089
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                             Power of Attorney to Transfer Motor Vehicle

   STATE OF CALIFORNIA                                        §
   COUNTY OF SANTA BARBARA                                    §
           I, DEEPA BISWAS WILLINGHAM, of the state and county named above, for good
   and valuable consideration constitute and appoint CHARLES RICHARD WILLINGHAM of
   Harris County, Texas, my agent and attorney in fact, in my name, place, and stead, to convey and
   transfer all of my right, title, and interest in one 1985 Mercedes Benz 300D, vehicle
   identification number _________to whomever he may desire and to execute, in
   my name as my attorney in fact, any and all instruments necessary for the conveyance and
   transfer.

   SIGNED on -------------


                                                                       DEEP A BISWAS WILLINGHAM


   STATE OF TEXAS                                             §
   COUNTY OF HARRIS                                           §
       This instrument was acknowledged before me on ___________ by
   DEEPA BISWAS WILLINGHAM.


                                                              Notary Public, State of Texas




                                                                                                                      090
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                            EXHIBIT "E"

                                                                          091
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                                                                                                                                                      6/19/2020 4:2'
                                                                                                                           Marilyn Burgess - District Clerk Harris Cc
                                                                                                                                                Envelope No. 4390
                                                                                                                                                        By: Ebonie f
                                                                                                                                               Filed: 6/19/2020 4:2·

   NOTICE: THIS DOCUMENT
   CONTAINS SENSITIVE DATA
                                                                  NO. 2018-64132

   IN THE MATTER OF                                                              §                  IN THE DISTRICT COURT OF
   THE MARRIAGE OF                                                               §
                                                                                 §                         HARRIS COU�,TEXAS
   CHARLES RICHARD WILLINGHAM                                                    §                                                   �
                                                                                                                              ll �
   AND                                                                           §
   DEEP A BISWAS WILLINGHAM                                                      §                      245TH JU»lfiAL DISTRICT
                                                                                                                      o�CJ}
                                                                                                                              �
                                                                                                                   �
                                                                                                               ◊�




                                                                                                     ��
                                                                                                    �
                                                                                                  0
                                                                                             �
        AFFIDAVIT OF DEEP A WILLINGHAM RE�NG CONSENT TO MEDIATED
                            SETTLEMENT A  EMENT




                                                                                                                                             092
   Cover Page to Respondent's Affidavit .......................................................................................................... Page 1 of 1
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                                    AFFIDAVIT OF DEEPA BISWAS WILLINGHAM


      BEFORE ME,_ the undersigned authority, on this day appeared Deepa Biswas Willingham, who proved her
      identity to me, and first being duly sworn according to law, upon her oath deposed and said:
         1. My name is Deepa Biswas Willingham, the defendant In the Matter of the Marriage of Charles
            Richard Willingham and Deepa Biswas Willingham, No. 2018-64132 in the District Court for the
            245th Judicial District, Harri� Co�nty, Texas. The following statements are, to my best
            knowledge and/or recollection, true and correct.

         2. My first encounter with this divorce action was a notice from the Texas Court. It demanded that
            I respond to the notice of a divorce action, for if I did not, I would be in contempt of court which
            scared me to death. Being law-abiding, I did what was demanded of me by the Texas courts
            even though, as I understand it now, I did have other options. But I do not recall that the notice
            apprised me of rights that I might have in contesting the forum. Ours was a marriage formed in
            California by two California domiciliaries. The center of gravity of our marriage was California. I
            believe the notice was incomplete and unfair.

         3. My husband's counsel has taken my deposition in this action, but my former counsel failed to
            take his deposition on my behalf. I am at a disadvantage. I believe that my h�d has
            concealed assets. I believe that I should have had more time to conduct �position.
            Moreover, my first attorney shared with me none of the discovery that��ad received from
            my husband. Her counsel was, to my mind, ineffective.                 ,�

         4. I am entirely unconvinced that the real estate market of Hou5!�nv paradigm for the real
                                                                                 ◊�)



            estate market in Santa Barbara. The oil and gas market may�crashed in Houston, but the
            agricultural market in Santa Barbara has not. T�e values h �e trending steadily upward. I do
                                                                      _
            not recall any explanation why the sale of 725 Croft Lanr to be set, by one valuation,
            $800,000 less than its current value. Selling at $2 mill� a catastrophe for me. It appears to
            me to be unfounded and capricious.
                                                                 ��
                                                               �
         5. I declared to all present at the mediation confmce that, summing the two days up, it
            appeared that I had had only one option pr�ed, namely, to sign the agreement. My attorney
            corrected this, saying that I had option , �at going to trial would be very costly with no
            outcome guaranteed. My point is tw � First,· everyone present thereby knew that I was in
            straitened circumstances. Second, ! d have obligations put on me as to the house at Croft
            Lane that I could not afford. The �s• ing judge for the mediation knew that I was in dire straits




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         6. The mediation agreement sets a. date, for listing the property at Croft Lane for sale. That date has
            passed, because I have been  . severely
                                             .      ill with tachycardia brought on by the stress of this
            proceeding. Why is it stressful? My husband of nearly 40 years Is abandoning me and my
            daughter. He has shunned the girl he watched grow up, the girl who is the sole beneficiary of
            our living trust. These are key reasons why I am seeking a psychiatric report to support my
            contention that I was in in no state, physically, or mentally, to sign the mediation agreement.

         7. I am now informed that I could have exercised the option at the mediation conference to
              decline to sign the agreement. My obvious option would have been to get counsel that I could
              afford, i.e. from the legal aid society, and file �hat I want to file now, namely a counterclaim for
            · divorce on the grounds of adultery. I was presented with Hobson' s choice.

         8. I see nothing in the decree that compels my husband to apportion half of his earnings up to the
            date of our divorce. I need that apportionment.

        9. I am equally nonplused that the divorce decree has no pro\Jision for spousal support. My
           husband and I have been married for nearly 40 years. I have depended on him. Now it appears
           that he, with the Court's acquiescence, would leave me impoverished.

        10. It is difficult to understand the reasoning behind some decisions in the mediation agreement. I
            would think that written fir1dings of facts and the underlying reasoning would have
            accompanied the spread sheet. I think my right to due process supports this �ctation.

        11. In sum, I revoke my earlier written statement that I signed the mediatloif�ement voluntarily.
            I want my day in court, and I want my grounds for suing my husband �'\JiGorce to be adultery.

             FURTHER AFFIANT SAITH NOT.
                                                                                  ◊�
                                                                                �

                                                   i:J� Jk__
                                              D
                                                '���
            SUBSRIBED TO AND SWORN TO before me, ion                    day of June 2020, to certify which
            witness my hand and seal of office.               �a           .
                                               N            LIC IN AND FOR THE STATE
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                                               ;;;:::::--       -   I




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                            EXHIBIT "F"

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Andrew Goodman

From:                               Fastcase <support@fastcase.com>
Sent:                               Tuesday, August 04, 2020 5:01 PM
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Subject:                            Fastcase Document - Tex. Family Code Sec. 153.0071




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        Please find the full text of the document below:



        Sec. 153.0071 Alternate Dispute Resolution Procedures.

        Sec. 153.0071. ALTERNATE DISPUTE RESOLUTION PROCEDURES. (a) On written agreement of the
        parties, the court may refer a suit affecting the parent-child relationship to arbitration. The agreement must
        state whether the arbitration is binding or non-binding.

        (b) If the parties agree to binding arbitration, the court shall render an order reflecting the arbitrator's award
        unless the court determines at a non-jury hearing that the award is not in the best interest of the child. The
        burden of proof at a hearing under this subsection is on the party seeking to avoid rendition of an order
        based on the arbitrator's award.

        (c) On the written agreement of the parties or on the court's own motion, the court may refer a suit affecting
        the parent-child relationship to mediation.

        (d) A mediated settlement agreement is binding on the parties if the agreement:

        (1) provides, in a prominently displayed statement that is in boldfaced type or capital letters or underlined,
        that the agreement is not subject to revocation;

        (2) is signed by each party to the agreement; and

        (3) is signed by the party's attorney, if any, who is present at the time the agreement is signed.

        (e) If a mediated settlement agreement meets the requirements of Subsection (d), a party is entitled to
        judgment on the mediated settlement agreement notwithstanding Rule 11, Texas Rules of Civil Procedure, or
        another rule of law.




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(e-1) Notwithstanding Subsections (d) and (e), a court may decline to enter a judgment on a mediated
settlement agreement if the court finds:

(1) that:

(A) a party to the agreement was a victim of family violence, and that circumstance impaired the party's
ability to make decisions; or

(B) the agreement would permit a person who is subject to registration under Chapter 62, Code of Criminal
Procedure, on the basis of an offense committed by the person when the person was 17 years of age or
older or who otherwise has a history or pattern of past or present physical or sexual abuse directed against
any person to:

(i) reside in the same household as the child; or

(ii) otherwise have unsupervised access to the child; and

(2) that the agreement is not in the child's best interest.

(f) A party may at any time prior to the final mediation order file a written objection to the referral of a suit
affecting the parent-child relationship to mediation on the basis of family violence having been committed by
another party against the objecting party or a child who is the subject of the suit. After an objection is filed,
the suit may not be referred to mediation unless, on the request of a party, a hearing is held and the court
finds that a preponderance of the evidence does not support the objection. If the suit is referred to mediation,
the court shall order appropriate measures be taken to ensure the physical and emotional safety of the party
who filed the objection. The order shall provide that the parties not be required to have face-to-face contact
and that the parties be placed in separate rooms during mediation. This subsection does not apply to suits
filed under Chapter 262.

(g) The provisions for confidentiality of alternative dispute resolution procedures under Chapter 154, Civil
Practice and Remedies Code, apply equally to the work of a parenting coordinator, as defined by Section
153.601, and to the parties and any other person who participates in the parenting coordination. This
subsection does not affect the duty of a person to report abuse or neglect under Section 261.101.

Added by Acts 1995, 74th Leg., ch. 751, Sec. 27, eff. Sept. 1, 1995. Amended by Acts 1997, 75th Leg., ch. 937, Sec. 3, eff. Sept. 1, 1997; Acts 1999,
76th Leg., ch. 178, Sec. 7, eff. Aug. 30, 1999; Acts 1999, 76th Leg., ch. 1351, Sec. 2, eff.Sept. 1, 1999.

Amended by:

Acts 2005, 79th Leg., Ch.916 (H.B. 260), Sec. 7, eff. June 18, 2005.

Acts 2007, 80th Leg., R.S., Ch.1181 (H.B. 555), Sec. 2, eff. September 1, 2007.

Acts 2017, 85th Leg., R.S., Ch. 99 (S.B. 495), Sec. 2, eff. September 1, 2017.




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                             Sec. 6.602               Page (Texas
                                        Mediation Procedures. 98 ofStatutes
                                                                     191 (2019 Edition})




                  Sec. 6.602. MEDIATION PROCEDURES. (a) On the written agreement of the
                  panics or on the coun's own motion, the court may refer a suit for dissolution of
                  a marriage to mediation.

                  (b) A mediated settlement agreement is binding on the panics if the agreement:

                  ( 1) provides, in a prominently displayed statement that is in boldfaced type or
                  capital letters or underlined. that the agreement is not subject to revocation:

                  (2) is signed by each party to the agreement: and

                  (3) is signed by the party's attorney, if any. who is present al the time the
                  agreement is signed.

                  (c) !fa mediated settlement agreement meets the requirements of this section, a
                  party is entitled to judgment on the mediated settlement agreement
                  notwithstanding Rule 11, Texas Rules of Civil Procedure, or another rnle of law.

                  (d) A party may at any time prior to the final mediation order tile a written
                  objection to the referral of a suit for dissolution of a marriage to mediation on
                  the basis of family violence having been committed against the objecting party
                  by the other pany. After an objection is filed. the suit may not be refen-ed to
                  mediation unless. on the request of the other pany, a hearing is held and the
                  coun finds that a preponderance of the evidence docs not support the objection.
                  If the suit is referred to mediation. the court shall order appropriate measures be
                  taken to ensure the physical and emotional safety of the party who filed the
                  objection. The order shall provide that the parties not be required to have facc­
                  to-face contact and that the parties be placed in separate rooms during mediation.

                  1\d<lcd by Acts 1997. 75th l.c� .. ch 7. Sec. I. err. 1\pnl 17. 1997. ,\mended by Acts 1m. 761h Leg .. ch 178. Sc-c. 2. cfr. At1i;

                  JO, 1999: Acts 1999, 76111 Leg .. ch. 1351, Sci:. I. <ff. Scpl. I. 11)()9.




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                543 S.W.3d 446                             section 153.0071 does not permit the parties
                                                           to the MSA to consent to revoking it, and we
      IN RE Gladys N. MINIX, Relator                       conditionally grant the petition for writ of
                                                           mandamus.

                                                           I. BACKGROUND
     Court of Appeals of Texas, Houston
                (14th Dist.).                              Gladys and real party in interest Michael
                                                           Sterling Alexander have a three-year-old
      Opinions filed February 27, 2018                     child. Michael filed an original petition in a
                                                           suit affecting the parent-child relationship.
  Jared R. Woodfill, Stephanie J. Proffitt,                After Michael filed his petition, he and Gladys
  Houston, TX, Dennis M. Slate, Deer Park, TX,             and their respective attorneys signed an MSA
  Terrence Allison, Beaumont, TX, for Relator.             and filed it with the trial court on December 1,
                                                           2015. Under the MSA, Gladys and Michael
  Philip Placzek, Houston, TX, for Real Party In           were joint managing conservators, and
  Interest.                                                Michael's possession of the child was
                                                           unsupervised and similar to a standard
  Panel consists of Chief Justice Frost and
                                                           possession order. Michael was to pay $1,300
  Justices Jamison and Busby (Frost, C.J.,
                                                           per month in child suppo1t. The parties did
  dissenting; Busby, J., concurring).
                                                           not request the trial court to enter judgment
                                                           on the MSA at that time. The court was not
  MAJORITY OPINION
                                                           asked to enter temporary orders.
  Martha Hill Jamison, Justice
                                                           In January 2016, Michael filed a motion to
  In this original proceeding, we are asked to             enforce the MSA, and subsequently filed first
  decide whether Section 153.0071 of the Texas             and second amended motions to enforce the
  Family Code permits the parties to a                     MSA, alleging that Gladys had failed to
  mediated settlement agreement in a suit                  comply with the MSA by denying Michael
  affecting the parent-child relationship                  possession of or access to the child. On March
  ("MSA") to agree to set aside the MSA. Here,             28, 2016, Michael filed a motion to enter
  there is evidence that the parties agreed to set         temporary orders consistent with the MSA.
  aside the MSA. The trial court, however,
  never ruled that the MSA                                 On May 24, 2016, Gladys filed a motion for a
                                                           temporary restraining order and an
   [543 S.W.3d 449]                                        emergency motion to modify, requesting the
                                                           trial court to (1) appoint her sole managing
  was set aside. Subsequently, relator Gladys N.           conservator; and (2) deny Michael possession
  Minix moved to enter judgment on the MSA,                of or access to the child. Gladys alleged that
  and the trial court denied her motion.                   the child had welts across his back, and the
                                                           child said Michael had hit him with a belt. On
  Gladys brings this mandamus proceeding,                  May 27, 2016, the trial court signed a
  asking this comt to compel the Honorable                 temporary restraining order, prohibiting
  David Farr, presiding judge of the 312th                 Michael from having possession of or access
  District Court of Harris County, to enter a              to the child and setting a date for a temporary
  judgment consistent with the terms of the                orders hearing.
  MSA. See Tex. Gov't Code Ann. § 22.221
  (West Supp. 2017); see also Tex. R. App. P.              On June 7, 2016, Michael filed a petition to
  52. We conclude that the plain language of               set aside the MSA and request for temporary


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  orders, alleging that Gladys had failed to             his wife be denied possession of and access to
  cooperate in obtaining a final order based on          the child.
  the MSA and Gladys had repeatedly violated
  the MSA. The parties' attorneys appeared               On August 19, 2016, Judge Farr signed an
  before Judge Farr that same day and advised            agreed order for psychological examinations
  him that the parties had agreed to set aside           of Gladys and Michael to assist in his
  the MSA. Gladys does not recall being at the           determination of which parent should have
  June 7, 2016 hearing, and there is neither a           the exclusive right to determine the primary
  record of the June 7, 2016 hearing nor a               residence of the child. On November 22,
  docket entry reflecting that the MSA was set           2016, Judge Farr signed agreed temporary
  aside. The parties never signed any document           orders, appointing Gladys and Michael
  stating that they were setting aside the MSA.          temporary joint managing conservators and
                                                         awarding Gladys the exclusive right to
  The following day, on June 8, 2016, at a               designate the primary residence of the child.
  hearing on temporary orders before Associate           The terms of the temporary orders were
  Judge Eileen Gaffney, Gladys's attorney at             similar to those in the MSA, except that
  that time, Stephanie Proffitt, advised Judge           Michael's child support obligation was
  Gaffney that the parties had stipulated to set         increased to $1,4 22.05 per month.
  aside the MSA:
                                                         Gladys hired her current counsel on March 7,
         MS.     PROFFITT:     I  think                  2017, and counsel filed a motion for entry of
         yesterday when we were down                     judgment based on the MSA and also
         here, it was stipulated on the                  requested that all subsequent temporary
         record that the mediated                        orders, rule 11 agreements, and other court
         settlement agreement that the                   orders be vacated. On March 21, 2017, the
         parties entered into back in                    trial court held a hearing on Gladys's motion
         November or December is set                     for entry of judgment. At the hearing,
         aside.                                          Michael's counsel stipulated the MSA is valid
                                                         and      binding    and     "under     normal
         THE COURT: Does that sound                      circumstances [Gladys] would have an
         correct?                                        absolute right to enforce it," but contended
                                                         that the parties had agreed to set aside the
         MR. PLACZEK:        Yes,   Your                 MSA.
         Honor.
                                                         Gladys testified at the hearing that she
         THE COURT: And I think y'all                    initially believed that the MSA was a final
         did that in front of Judge Farr?                settlement of all issues, but came to believe it
                                                         was no longer a final agreement because "we
         MR. PLACZEK:        Yes,   Your                 continued to come to court and it was
         Honor.                                          continued [sic] to be litigated." Gladys stated
                                                         that she did not recall being in front of Judge
   [543 S.W.3d 450]                                      Farr on June 7, 2016, but she remembered
                                                         being in front of Judge Gaffney the next day.
  At that hearing, the trial court entered               Gladys stated that she did not agree to set
  "Band-Aid" temporary orders. On June 29,               aside the MSA, nor did she recall Proffitt
  2016 , Gladys filed a motion to modify the             informing Judge Gaffney that the MSA had
  Band-Aid orders based on newly discovered              been set aside the previous day. Proffitt
  evidence, requesting that she be appointed             testified that Gladys was in court on June 7,
  sole managing conservator and Michael and              2016, and that Judge Farr set aside the MSA.1
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  The trial court took Gladys's motion for entry        the Texas Family Code. See Tex. Fam. Code
  of judgment on the MSA under advisement               Ann. § 153.0071(d) (West 2014). An MSA is
  and, on April 27, 2017, signed an order               binding if it (1) states in boldfaced type or
  denying the motion. Gladys filed her petition         capital letters or underlined letters that the
  for writ of mandamus, asking this court to (1)        agreement is not subject to revocation; (2) is
  set aside the April 27, 2017 order denying her        signed by each party to the agreement; and
  motion for judgment on the MSA; and (2)               (3) is signed by the party's attorney, if any,
  direct the trial court to render judgment             who is present at the time the agreement is
  consistent with the terms of the MSA.                 signed. Id. If an MSA meets the requirements
                                                        of section 153.0071(d), then a party is entitled
  II. MANDAMUS STANDARD OF                              to judgment on the MSA "notwithstanding
  REVIEW                                                Rule 11, Texas Rules of Civil Procedure, or
                                                        another rule of law." Id.§ 153.0071(e).
  Generally, to be entitled to mandamus relief,
  a relator must demonstrate (1) the trial court        The MSA between Gladys and Michael
  clearly abused its discretion; and (2) the            provides that it is not subject to revocation:
  relator has no adequate remedy by appeal. In
  re Nat'[ Lloyds Ins. Co. , 507 S.W.3d 219, 226               AGREEMENT NOT
  (Tex. 2016) (orig. proceeding) (per curiam). A               SUBJECT TO REVOCATION
  trial court clearly abuses its discretion if it
  reaches a decision so arbitrary and                          BY THEIR SIGNATURES
  unreasonable as to amount to a clear and                     BELOW, THE PARTIES
  prejudicial error of law, or if it clearly fails to          HEREBY ACKNOWLEDGE
  analyze the law correctly or apply the law                   THAT THE AGREEMENT
  correctly to the facts. In re H.E.B. Grocery                 REACHED IN THIS
  Co. , 492 S.W.3d 300, 302 (Tex. 2016) (orig.                 MEDIATION IS BINDING
  proceeding) (per curiam); In re Cerberus                     ON THE PARTIES AND IS
  Capital Mgmt., L.P. , 164 S.W.3d 379, 382                    NOT SUBJECT TO
  (Tex. 2005) (orig. proceeding) (per curiam).                 REVOCATION.
  Mandamus relief is available when the trial
  court erroneously refuses to enter judgment                  THIS AGREEMENT MEETS
                                                               THE REQUIREMENTS OF
   [543 S.W.3d 451)                                            SECTION 153.0071(d),
                                                               TEXAS FAMILY CODE.
  on a MSA. In re Lee, 411 S.W.3d 445, 450 n.7
  (Tex. 2013) (orig. proceeding).                              EACH PARTY
                                                               UNDERSTANDS AND
  III. ANALYSIS                                                AGREES THAT THIS
                                                               AGREEMENT IS NOT
  A. The MSA meets the requfrements of
                                                               REVOCABLE AND THAT
  Section 153.0071(d).
                                                               EACH INTENDS AND
                                                               AGREES THAT EITHER
  Gladys's sole issue presented is whether the
                                                               PARTY SHALL BE
  trial court abused its discretion and violated
                                                               ENTITLED TO ,JUDGMENT
  the Family Code by refusing to render
                                                               ON THIS AGREEMENT
  judgment on the parties' MSA, which
                                                               UNDER THE PROVISION
  complied with the Code's requirements. An
                                                               OF THE LAW PURSUANT
  MSA is binding on the parties if it meets all
                                                               TO SECTIONS 153.0071
  the requirements of Section 153.0071(d) of
                                                               AND 6.602 TEXAS FAMILY




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        CODE.                                       presumption that "the Legislature included
                                                    each word in the statute for a purpose and
        AP ARTY TO THIS                             that words not included were purposefully
        AGREEMENT IS ENTITLED                       omitted." ExxonMobil Pipeline Co. v.
        TO JUDGMENT ON THE                          Coleman , 512 S.W.3d 895, 899 (Tex. 2017)
        MEDIATED SETTLEMENT                         (per curiam) (internal quotations and
        AGREEMENT.                                  citations omitted). "We also take statutes as
                                                    we find them and refrain from rewriting text
  The statement is in boldfaced type and capital    chosen by the Legislature." Pedernal Energy,
  letters and is underlined, and the parties and    LLC , 536 S.W.3d at 492, 2017 WL 1737920,
  their attorneys signed the MSA. See Tex. Fam.     at *4.
  Code Ann. § 153.0071(d). The MSA satisfies
  the requirements of section 153.0071(d) to        An MSA "is binding on the parties" if it
  constitute a binding MSA.                         satisfies the three enumerated requirements
                                                    found in section 153.0071(d), and a party is
  B. Section 153.0071 does not permit the           entitled to judgment on the MSA. Tex. Fam.
  parties to agree to set aside an MSA.             Code Ann. § 153.0071(d), (e). The version of
                                                    section 153.0071(e-1) in effect at the time the
  Michael contends that, even if an MSA             trial court denied Gladys's motion on entry of
  complies with 153.0071, the parties,              judgment provided that the trial court could
  nonetheless, may agree to set aside the MSA.      deny judgment on an MSA only if (1) a party
  Resolution of this issue requires that we         to the MSA was a victim of family violence,
  construe section 153.0071.                        and that circumstance impaired the party's
                                                    ability to make decisions; and (2) the MSA is
  Questions of statutory construction are           not in the child's best interest.i The
  reviewed de novo. Levinson Alcoser Assocs. v.     Legislature has since amended section
  El Pistolon II, Ltd. , 513 S.W.3d 487, 493        153.0071(e-1) to allow the trial court to deny
  (Tex. 2017). Our goal is to determine and give    entry of judgment on an MSA where the MSA
  effect to the Legislature's intent. Pedernal      permits a person subject to the sex-offender
  Energy, LLC v. Bruington Eng'g, Ltd. , 536        registration statute or who has a history of
  S.W.3d 487, 491-93, 2017 WL 1737920, at *4        past or present physical abuse directed at any
  (Tex. 2017). "When statutory text is clear, we    person to reside in the same household as the
  do not resort to rules of construction or         child or have unsupervised access to the child
  extrinsic aids to construe the text because the   and the MSA is not in the child's best interest.
  truest measure of what the Legislature
  intended is what it enacted." Melden & Hunt,      The Legislature has provided no other
  Inc. v. E. Rio Hondo Water Supply Corp. ,         circumstances under which the trial court
  520 S.W.3d 887, 893 (Tex. 2017). Words in         may refuse to enter judgment on the MSA. If
  the statute are given their ordinary              the Legislature had intended to permit the
                                                    parties to agree to set aside an MSA, which
                                                    meets all requirements that make the MSA
                                                    binding, the Legislature could have included
  and plain meaning. Marino v. Lenoir , 526         such an exception in section 153.0071, but
  S.W.3d 403, 409 (Tex. 2017).                      chose not to do so. See ExxonMobil Pipeline
                                                    Co. , 512 S.W.3d at 899 (presuming that the
  We construes statute so that no part is
                                                    Legislature included each word in the statute
  surplusage, but so that each word has
                                                    for a purpose and that words not included
  meaning. Pedernal Energy, LLC, 536 S.W.3d
                                                    were purposefully omitted). To allow the
  at 491-93, 2017 WL 1737920, at *4. There is a
                                                    parties to agree to set aside an irrevocable



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  MSA would render meaningless subsection                         ... maybe this is what was said
  (e), which provides that "a party is entitled to                on June 7th, but nobody knows.
  judgment on the mediated settlement                             If the parties came in front of
  agreement not withstanding Rule 11, Texas                       me and said, I want to set aside
  Rules of Civil Procedure, or another rule of                    our MSA, I don't know that I
  law." See Pedernal Energy, LLC, 536 S.W.3d                      would go, hunky-dunky. I would
  at 491-93, 2017 WL 1737920, at *4 (stating                      just kind of go, well, I don't have
  that the courts must construe statutes so that                  anything to say about that, you
  no part is surplusage, but so that each word                    guys either ask for judgment on
  has meaning).                                                   your MSA or you don't ask for
                                                                  judgment. And if you don't ask
  We conclude that section 153.0071 does not                      for judgment and we kick that
  allow the parties to agree to set aside the                     can down the road, I'm going to
  MSA.                                                            continue as a judge to respond
                                                                  to the affirmative relief that
  C. Assuming disputed issues of                                  you're asking me for in any
  material fact regarding whether the                             other     capacity,       including
  parties agreed or the judge pronounced                          temporary orders.
  from the bench that the MSA was set
  aside, the statute does not permit the                   We need not decide disputed issues of
  parties to agree or the judge to set                     material fact in this mandamus proceeding.
  aside the MSA.                                           Even if Michael and Gladys agreed or the
                                                           judge pronounced from the bench that the
  Michael asserts that there is at least a fact            MSA was set aside, as discussed above, the
  issue regarding whether the parties agreed to            express language of the statute provides that
  set aside the MSA, which this court cannot               a party is entitled to judgment on an
  address in a mandamus proceeding. See In re              otherwise      statutorily compliant     MSA
  Angelini , 186 S.W.3d 558 (Tex. 2006) (orig.             "notwithstanding Rule 11, Texas Rules of Civil
  proceeding) (stating that an appellate court             Procedure, or another rule of law." Tex. Fam.
  may not decide                                           Code Ann. § 153.0071(e). Therefore, the
                                                           statute does not allow the parties to agree to
   [543 S.W.3d 453)                                        revoke an MSA that satisfies the requirements
                                                           of section 153.0071(d), nor does it allow a
  disputed fact issues in an original mandamus
                                                           judge to set aside an MSA in accordance with
  proceeding). At the March 21, 2017 hearing,
                                                           the parties' agreement.
  Gladys testified that she did not agree to set
  aside the MSA. Michael presented an excerpt              D. Gladys did not invite the trial court
  of the reporter's record of the June 8, 2016             to make a ruling which she complains
  hearing conducted by Judge Gaffney where                 about in this original proceeding.
  Gladys's former attorney, Stephanie Proffitt,
  advised Judge Gaffney the parties had agreed             Michael argues that Gladys is precluded from
  to set aside the MSA and that Judge Farr had,            asking the trial court to make a specific ruling
  in fact, set it aside.                                   and then complaining about the ruling to the
                                                           appellate court. Under the invited error
  At the March 21, 2017 hearing and after                  doctrine, a party is estopped from challenging
  hearing testimony and argument about                     a trial court's ruling on appeal if the
  whether the MSA had been set aside in 2016,              complaining party requested the specific
  Judge Farr stated,                                       action taken by the trial court. Tittizer v.
                                                           Union Gas Corp. , 171 S.W.3d 857, 862 (Tex.
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  2005) ; see also Gordon v. Gordon , 14-10-             Michael argues that the Texas Supreme court
  01031-CV, 2011 WL 5926723, at *7 (Tex.                 in In re Lee left open the possibility that a
  App.-Houston [14th Dist.] Nov. 29, 2011, no            trial court may properly refuse to enter
  pet.).                                                 judgment on an MSA that complies with
                                                         section 153.0071. In Lee , the court observed
  Michael contends that the invited error                that several courts of appeals had addressed
  doctrine applies because before Gladys asked           the issue of whether section 153.0071
  the trial court to enforce the MSA, she agreed         mandates entry of judgment on a statutorily
  to set it aside in June 2016. He also argues           compliant MSA "under any and all
  that Gladys invited error when she filed a             circumstances," including where the MSA was
  motion for a temporary restraining order and           "illegal," or was "procured by fraud, duress,
  an emergency motion to modify, alleging                coercion, or other dishonest means." 411
  changed circumstances and asking the trial             S.W.3d at 455 n.10. The court, however,
  court to (1) appoint her sole managing                 declined to address that issue because it was
  conservator; and (2) deny Michael possession           not presented there. Therefore, we do not
  of and access to the child. On May 27, 2016,           read Lee as leaving the door open to refuse to
  the trial court issued the temporary                   enter judgment on a statutorily compliant
  restraining order. Therefore, Michael posits           MSA. As in Lee , there are no allegations here
  that Gladys was seeking relief inconsistent            of illegality or of facts that would preclude the
  with the terms of the MSA, but now she seeks           formation of an agreement. Cf In re
  a judgment consistent with the MSA, which              Kasschau , 11 S.W.3d 305, 314 (Tex. App.­
  would provide Michael ,-vith unsupervised              Houston [14th Dist.] 1999, orig. proceeding)
  possession of and access to the child.                 (holding trial court did not abuse its
                                                         discretion by refusing to render judgment on
  We reject these arguments because Gladys               MSA requmng illegal destruction of
  does not complain about the court's setting            evidence). Therefore, Lee does not support
  aside the MSA or granting the temporary                Michael's position.!!
  restraining order in 2016. Instead, Gladys
  complains about the trial court's April 27,            IV. CONCLUSION
  2017 denial of her motion for entry of
  judgment.                                              Having determined that section 153.0071
                                                         does not permit the parties to an otherwise
  The dissent argues that the invited error              binding MSA to agree to set it aside, we
  doctrine is to be construed                            conclude that the trial court abused its
                                                         discretion by denying Gladys's motion to
   [543 S.W.3d 454]                                      enter judgment on the MSA. Because the
                                                         refusal to grant judgment on a mediated
  broadly, but cites no cases applying the               settlement is the proper subject of a
  doctrine to a ruling other than the ruling             mandamus proceeding, we conditionally
  complained of by the appellant on appeal.              grant Gladys's petition for writ of mandamus.
  Thus, Gladys did not invite error by asking            We direct the trial court to vacate its April 27,
  the trial court to enter judgment on the MSA;          2017 order denying Gladys's motion for entry
  indeed, as explained above, the court lacked           of judgment, and enter judgment in
  the power to do otherwise. The invited error           accordance with the MSA. The writ will issue
  doctrine is not applicable to this case.3              only if the trial court fails to act in accordance
                                                         with this opinion. We also lift our stay
  E. In 1·e Lee does not permit the parties
                                                         entered on June 2, 2017.
  to agree to set aside an MSA.


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  Kem Thompson         Frost,   Chief    Justice,   on equitable principles.ll In deciding whether
  Dissenting                                        to order mandamus relief, an appellate court
                                                    may consider equitable matters that go
  DISSENTING OPINION                                beyond the mere legal right of the relator.3
                                                    The doctrines of quasi-estoppel and invited
  The relator comes to this court seeking a writ    error-both species of estoppel-operate in
  of mandamus to compel the trial judge to          equity to bar Minix from speaking against her
  enforce a mediated settlement agreement the       own actions, statements, and litigation
  trial judge set aside at the relator's urging,    positions in seeking mandamus relief in this
  after the relator reaped the benefits of the      court.
  ruling. The doctrines of
                                                    Minix's Actions, Statements, and
   [543 S.W.3d 455]                                 Litigation Positions

  quasi-estoppel and invited error demand that      Minix and Alexander agreed that their
  this court deny the relator's petition for        meditated settlement agreement governing
  extraordinary relief. Because the majority        custody of their three-year-old child should
  instead conditionally grants it, I respectfully   be set aside. While represented by counsel,
  dissent.                                          each parent stipulated to this position in open
                                                    court. Then, the two asked the trial court to
  INDEPENDENT GROUNDS FOR                           set aside their mediated settlement
  DENYING MANDAMUS RELIEF                           agreement. And, the trial court did. Minix
                                                    wanted more rights to the child than the
  This court need not reach the merits of relator   mediated settlement agreement provided, so
  Gladys Minix's petition for extraordinary         she asked the trial court to give her more
  relief or address whether section 153.0071(d)     rights. And, the trial court did. Minix did not
  of the Texas Family Code permits Minix and        want Alexander to have what the mediated
  real party in interest Michael Sterling           settlement agreement gave him, so Minix
  Alexander to agree to set aside their mediated    asked the trial court to give him less. And, the
  settlement agreement. Nor does this court         trial court did.
  need consider whether that statutory
  provision applies to today's case. The quasi­     Minix's Acceptance of Benefits
  estoppel and invited-error doctrines provide
  independent grounds for denying mandamus          Minix enjoyed the rights the trial court gave
  relief. So, even if the parties could not do      her (and the elimination of the rights
  what they did under the law, and even if the      Alexander would have had under the
  trial court's ruling did not comport with the     mediated settlement agreement) for more
  statute, Minix still would not be entitled to     than nine months as the parties litigated over
  mandamus relief.                                  conservatorship and possession of their child.
                                                    During that time Minix did not mention the
  EQUITABLE PRINCIPLES AS A BASIS                   mediated settlement agreement, even though
  FOR DENYING MANDAMUS RELIEF                       it addressed those issues. Minix did not make
                                                    any of the arguments she now makes in this
  Appellate courts do not issue the
                                                    court. Instead, she accepted the benefits of
  extraordinary remedy of mandamus as a
                                                    the temporary orders the trial court granted
  matter of right but rather grant this relief at
                                                    at her urging-relief that gave her greater
  their discretion.! Although mandamus is a
                                                    rights and Alexander lesser rights, relief that
  common-law remedy, a court determines
                                                    was not consistent with the parties' mediated
  whether to grant mandamus relief by drawing




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  settlement agreement, and relief the trial                June 7, 2016 hearing, testified under oath on
  judge surely would not have granted                       March 21, 2017, that (1) Judge Farr
                                                            pronounced from the bench that he was
  [543 S.W.3d 456]                                          setting aside the mediated settlement
                                                            agreement; (2) Minix was present in the
  if the trial judge had not set aside the                  courtroom when the judge made the
  mediated settlement agreement at the parties'             pronouncement; and (3) Minix's counsel at
  request and let them litigate instead.                    the time (Stephanie Proffitt) understood that
                                                            Judge Farr had set aside the mediated
  On November 22, 2016, almost a year after                 settlement agreement on June 7, 2016. The
  the parties signed the mediated settlement                sworn testimony of Minix's own lawyer raises
  agreement, Associate Judge Eileen Gaffney                 a fact issue as to whether the trial court, from
  signed temporary orders. Even presuming                   the bench, set aside the mediated settlement
  that the provisions of these temporary orders             agreement that day, and this court is to
  mirrored the terms of the mediated                        presume that the trial court credited this
  settlement agreement, the provisions of the               testimony.A
  temporary orders do not determine what the
  final order will be, and according to                     After Judge Farr set aside the mediated
  Alexander's live pleading, Alexander expects              settlement agreement in open court, at the
  to prove at trial that he should get sole                 parties' urging and in keeping with their
  managing conservatorship of the child and                 stipulation, Judge Farr took actions
  that Minix should pay child support. In                   inconsistent with the mediated settlement
  addition, by the time the associate judge                 agreement still being in effect. Chief among
  issued the temporary orders, the parties had              these was sending the parties to Associate
  engaged in substantial litigation and had                 Judge Gaffney for temporary orders, which,
  spent lots of time and money-resources the                of course, would not have been necessary had
  parties would not have expended had they not              the parties sought to enforce the mediated
  agreed to set aside aside the mediated                    settlement agreement that covered the
  settlement agreement.                                     conservatorship and possession issues that
                                                            were to be the subject of the temporary
  Trial Court's Action in Response to                       orders.
  Minix's Specific Request
                                                            At the temporary-orders hearing the next day
  Though the record contains no written order               (June 8, 2016), Judge Gaffney asked the
  or statements of the trial court setting aside            parties if they had any agreement as to
  the mediated settlement agreement, Minix's                conservatorship. Under the mediated
  own lawyer testified under oath that the trial            settlement agreement, the parties had agreed
  court did just that. The record reflects that, on         that each parent would be a joint managing
  June 7, 2016, the respondent, The Honorable               conservator. Nonetheless, each party's lawyer
  David Farr, held a hearing on Minix's                     responded to Judge Gaffney's inquiry by
  emergency motion to modify (in which Minix                saying that each parent was seeking to be
  sought relief inconsistent with the mediated              appointed sole managing conservator,
  settlement agreement) and on Alexander's                  effectively communicating that they had no
  petition to set aside the mediated settlement             agreement as to
  agreement and request for temporary orders.
  At that hearing, Minix and Alexander                      [543 S.W.3d 457]
  stipulated in open court that the mediated
  settlement agreement was set aside. Minix' s              conservatorship. Minix sought sole managing
  counsel, recounting what occurred at the                  conservatorship and urged Judge Gaffney to
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  order that Alexander's possession be                       trial judge spend ten months
  supervised. The parties then went forward                  litigating those issues?
  with temporary orders. This evidence shows
  that the parties' actions were in accord with       Minix's U-Turn at the End of the Road
  the parties' stipulation and with the trial court
  having set aside the mediated settlement            The parties spent fifteen months in litigation,
  agreement, just as Minix's then-lawyer              fighting over issues addressed in the
  (Proffitt) testified.                               mediated settlement agreement. At the end of
                                                      the road, Minix made a u-turn, completely
  Consistent with the setting aside of the            changing her position. She no longer wanted
  mediated settlement agreement, the trial            to set aside the mediated settlement
  court then allowed litigation to continue. The      agreement. Even though the parties had
  parties' conduct strongly suggests that the         stipulated to it-and even though the trial
  trial court, in fact, set aside the mediated        court had done what Minix asked and ruled in
  settlement agreement. Nothing else would            accordance with her stipulation-Minix asked
  explain what followed.                              the trial court to undo the ruling and to
                                                      render judgment on the mediated settlement
         • If the trial court did not set             agreement, a request that clashed with her
         aside the mediated settlement                pleadings, her arguments, her claims, and her
         agreement, why did the parties               actions up to that point.
         appear before Judge Gaffney for
         a temporary-orders hearing and               No Abuse of Discretion in Refusing to
         tell the court that the parties              Undo the Granting of Minix's
         had no agreement as to                       Requested Relief
         conservatorship?
                                                      Having set aside the mediated settlement
         • Why did the parties need                   agreement at the parties' urging almost a year
         temporary orders if they had an              before and having granted Minix relief
         agreement     that     resolved              inconsistent with it, the trial court did not
         everything?                                  abuse its discretion on April 27, 2017, when
                                                      the trial court denied Minix's request for
        • If the trial court did not set              rendition of judgment based on the mediated
        aside the mediated settlement                 settlement agreement. Minix now seeks
        agreement, why would the                      mandamus relief from this court compelling
        parties have been litigating                  the trial judge to render a judgment
        matters that the mediated                     consistent with the terms of the mediated
        settlement agreement covered?                 settlement agreement.

        • If the trial court did not set              Mandamus Relief Unwarranted Even
        aside the mediated settlement                 in the Face of a Compliant Mediated
        agreement, why did the parties                Settlement Agreement
        not seek its enforcement and
        thus put an end to the dispute?               The majority does not look to equitable
                                                      principles in deciding today's case. Instead,
        • If the mediated settlement                  the majority focuses on whether the mediated
        agreement        resolved     the             settlement agreement satisfies the statutory
        conservatorship and possession                requirements for enforcement. In doing so,
        issues and was in effect, why did             the majority misses the mark.
        the parties, the lawyers, and the


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  (543 S.W.3d 458]
                                                           • Then, after losing, the relator
  On today's facts, equity outruns statutory               seeks mandamus relief to
  compliance.                                              compel the result the law would
                                                           demand, a result that goes
  The majority bases today's holding on the                against the parties' agreement.
  mediated settlement agreement's compliance
  with section 153.0071.s But, compliance with             • The appellate court refuses to
  the statute is not the only issue. A statute's           grant mandamus relief, holding
  mandate alone does not determine the                     that the equitable doctrine of
  course. Other forces of law and equity are at            estoppel bars it.u
  work . For example, this court would not
  reverse a trial court judgment and render         (543 S.W.3d 459]
  judgment enforcing a compliant mediated
  settlement agreement if we lacked jurisdiction    Today's case falls squarely within the
  over a case because of a late-filed notice of     estoppel-bars-mandamus-relief mold. True to
  appeal.fl Nor would this court reverse a trial    it, after losing in the trial court in her belated
  court for failing to render judgment on a         attempt to enforce the mediated settlement
  mediated settlement agreement if its              agreement, Minix now seeks to compel the
  proponent did not first ask the trial court to    result she claims the law demands­
  do so.z And, this court should not grant          enforcement of the mediated settlement
  mandamus relief today because equitable           agreement. This court should stay true to the
  principles preclude the granting of relief.       governing case law and hold that equitable
                                                    principles of estoppel bar mandamus relief.u
  Quasi-Estoppel
                                                    The parties filed the mediated settlement
  The doctrine of quasi-estoppel bars a party       agreement with the trial court in December
  from asserting, to another's disadvantage, a      2015. Three months later, in March 2016,
  right inconsistent with a position earlier        Alexander filed a motion seeking temporary
  taken.ll Quasi-estoppel applies if it would be    orders       governing     possession       and
  unconscionable to allow a person to assert, to    conservatorship of the parties' child. The
  another's disadvantage, a right at odds with a    orders Alexander sought were consistent with
  position to which the person earlier had          the mediated settlement agreement. Minix
  acquiesced, or from which the person had          objected. She did not want what the mediated
  accepted a benefit. 9 Under supreme-court         settlement agreement gave her, nor did she
  authority, Texas courts may invoke estoppel       want Alexander to have what the mediated
  to deny mandamus relief in cases like this        settlement agreement gave him. So, in May
  one, in which the petitioner seeks to avoid an    2016, Minix sought a temporary restraining
  agreement with the opposing party after the       order and filed an emergency motion to
  proceedings turn adverse.ill                      modify,l.3 requesting the trial court to (1)
                                                    appoint her sole managing conservator; and
  Texas cases present the following familiar fact   (2) deny Alexander possession of or access to
  pattern that shows how equity steps in to bar     the child-relief at odds with the parties'
  relief that the remedy of mandamus might          mediated settlement agreement. When Minix
  otherwise afford:                                 filed this motion, no court had signed an
                                                    order as to conservatorship of the parties'
        • The relator and the real party            child. Indeed, the respondent judge had not
        in interest agree to handle a               even signed temporary orders in this original
        matter contrary to the law.                 suit affecting the parent-child relationship. In




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  response to Minix's motion to modify, the                 inconsistent with the mediated settlement
  trial court signed a temporary restraining                agreement should be continued until April
  order prohibiting Alexander's possession and              2017, and in December 2016, the trial court
  access to the child. With this ruling, Minix got          granted this relief, too.
  what she requested-and what she got
  conflicted with what she would have gotten                In seeking mandamus relief, Minix argues
  under the mediated settlement agreement.                  that the mediated settlement agreement
  (The mediated settlement agreement would                  cannot be set aside even if she and Alexander
  have given Alexander possession and access                agreed to set it aside, yet in June 2016, she
  to the child.) Minix did not object to the trial          induced the trial court to set aside the
  court going outside the mediated settlement               mediated settlement agreement by arguing
  agreement, nor did Minix ask the trial court              the opposite. The trial judge set aside the
  to enforce the mediated settlement                        mediated settlement agreement in reliance
  agreement. Instead, Minix sought and                      upon the parties' stipulation. The trial court
  received relief that clashed with the mediated            let them litigate the issues. Only after Minix
  settlement agreement.                                     became unhappy with the results of that
                                                            litigation-and apparently preferred to return
  After Minix signed the mediated settlement                to the terms of the mediated settlement
  agreement and both parties filed it with the              agreement-did she request the trial court to
  trial court in December 2015, Minix did not               enforce it.
  seek rendition of judgment on the agreement
  for more than fifteen months. During the                  Our mandamus record contains evidence of
  interim she enjoyed the benefits of temporary             the crucial touchstones of quasi-estoppel­
  orders that (1) gave her rights the mediated              Minix's    unconscionable        assertion,    to
  settlement agreement did not give her and (2)             Alexander's disadvantage, of a right
  took away rights the mediated settlement                  inconsistent with a position to which Minix
  agreement gave Alexander.                                 earlier had acquiesced, and from which Minix
                                                            had accepted benefits. 1<1 After stipulating that
  Now, Minix asserts the trial court abused its             the mediated settlement agreement should be
  discretion in refusing to grant the relief she            set aside and obtaining a ruling to this effect
  requested in March 2017, yet by the time                  from the trial court, Minix litigated for ten
  Minix asked the trial court to take the                   months      about     conservatorship        and
  enforce-the-mediated-settlement-agreement                 possession-issues covered by the mediated
  path, she had been leading the trial court in             settlement agreement, never once seeking to
  the opposite direction for ten months, getting            enforce the contract she asked the trial court
  just what she asked for when she asked for it.            to set aside, and all the while seeking and
  Through counsel, the parties agreed in open               accepting conservatorship and possession
  court that the mediated settlement agreement              rights in temporary orders she never could
  should be                                                 have obtained without walking away from the
                                                            mediated settlement agreement she now asks
                                                            this court to enforce via mandamus. Having
                                                            accepted those benefits, Minix cannot now
  set aside, and the trial court determined in              avoid her stipulation with Alexander to set
  open court that the agreement would be set                aside the mediated settlement agreement.is
  aside. Building on that relief, Minix then
  sought and received what she could not have               The majority asserts that the record does not
  gotten under the mediated settlement                      show that enforcing the mediated settlement
  agreement. Minix even agreed that trial on                agreement at this juncture "would be to
  the merits of her petition seeking relief                 [Alexander's] disadvantage."12 The record
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  amply shows the hardship. As Minix's lawyer                party asks the court to make a specific ruling
  accurately pointed out at the March 21, 2017               or take a specific action, and then complains
  hearing, between the execution of the                      of that ruling or action on appeal..i The
  mediated settlement agreement in December                  concept is a simple one: If a party induces
  2015 and Minix's filing of her "Motion for                 trial court action, that party cannot later run
  Entry of Judgment" in March 2017, "there                   to the court of appeals complaining of that
  were several orders and lots of court                      action.
  proceedings and an amicus appointed, and
  [a] psychological evaluation conducted, a lot              Texas courts apply the invited-error doctrine
  of other things, a lot of money, time[,] and               across a wide array of scenarios to preclude
  expense on this case." Wasting all of the time             parties from complaining in the court of
  and money Alexander invested in this                       appeals about the very things they brought
  litigation   would     be   to    Alexander's              about in the trial court.::z For example, a party
  disadvantage. The majority points to nothing               invites error by persuading a trial judge to
  that would show otherwise.                                 adopt a jury charge that the party later alleges
                                                             supports an improper theory of recovery.n
  The majority also asserts that since November              The doctrine encompasses scenarios just like
  22, 2016, almost a year after the parties                  the one in today's case, where a party seeks a
  signed the mediated settlement agreement,                  particular action in the trial court and then
  the terms of the temporary orders resemble                 after getting it, denounces it as error in the
  the terms of the mediated settlement                       court of appeals.M
  agreement.iz But, these terms do not fix the
  terms of the final order. Trial determines that.           The majority narrowly frames the invited­
  And, according to Alexander's live pleading,               error doctrine,� holding that Minix did not
  Alexander expects to prove at trial that he is             invite error because she is not complaining of
  entitled to sole managing conservatorship of               a specific ruling she asked the trial comt to
  his son and to child support from Minix.                   make.� Citing Tizzier v. Union Gas Corp. , n
                                                             the majority notes that "under the doctrine of
  [543 S.W.3d 461]                                           invited error, a party is estopped from
                                                             challenging a trial court's ruling on appeal if
  Under these circumstances, it would be                     the complaining
  unconscionable to allow Minix to assert, to
  Alexander's disadvantage, that the parties
  could not validly have agreed to set aside the
  mediated settlement agreement, a position at               party requested the specific action taken by
  odds with Minix's prior position, from which               the trial court."� Texas jurisprudence shows
  Minix accepted benefits.lll The doctrine of                that the invited-error doctrine is broader than
  quasi-estoppel forecloses mandamus relief..19              the majority suggests.Z!! Texas courts have
                                                             phrased the invited-error requirements in
  Invited Error                                              various ways, at times more broadly than in
                                                             Tizzier . In Hodges , for example, the
                                                                      Jil


  Another species of estoppel-the invited-error              Supreme Court of Texas explained the
  doctrine-provides an alternative basis for                 principle in expansive terms: "[a] litigant
  denying Minix mandamus relief. Minix                       cannot ask something of a court and then
  complains that the trial judge erred in                    complain that the court committed error in
  refusing to undo an action the parties asked               giving it to him."31 There is no denying that
  the trial judge to take, and so invited the error          Minix asked the trial court for specific relief
  of which she now complains;:ii The invited­                that the trial court granted and now, in the
  error doctrine applies to situations in which a
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  court of appeals, she faults the trial court for      settlement agreement, she made a U-turn
  granting it.                                          when she later deemed it more advantageous
                                                        to return to the mediated settlement
  The premise of Minix's request for relief is          agreement.
  that the trial court erred in not enforcing the
  mediated settlement agreement she asked the           Grounded in even justice and dictated by
  trial court to set aside. The case law is clear: If   common sense,3!1 the invited-error doctrine
  a party asks the trial court to take an action,       promotes the sound administration of law.35
  the party will not be permitted to challenge          Properly applied, it prevents gamesmanship,
  that action in the court of appeals.3Z If the         unfairness, and surprise and deters waste of
  invited-error doctrine were as narrow as the          time, money, and judicial
  majority suggests, a party could dodge the
  consequences of inviting error simply by
  asking the trial court to rule on an issue,
  obtaining the requested ruling, filing a              resources. Minix has engaged in the very
  motion to reconsider, and then appealing the          gamesmanship the invited-error doctrine is
  denial of the motion to reconsider. Under this        designed to stop. Having invited the alleged
  hypothetical, the trial court properly would          error, Minix should not now be heard to
  have denied the motion to reconsider because          complain of it.
  the motion was inconsistent with relief the
  party already had requested, but an appellate         CONCLUSION
  court operating under the majority's view,
                                                        This court need not reach the merits of
  might conclude that the party had not invited
                                                        Minix's petition for extraordinary relief
  error "on a specific ruling" and reverse the
                                                        because principles of quasi-estoppel demand
  trial court.33 The supreme court has looked to
                                                        this    court    deny     mandamus       relief.
  the purposes and principles of the invited­
                                                        Alternatively, Minix invited the error she asks
  error doctrine, recognizing the conduct and
                                                        this court to correct by mandamus. The
  harm it is intended to thwart, and evaluating
                                                        record shows the parties' stipulation and the
  the substance of the party's actions rather
                                                        trial court's responsive action. And, the
  than slicing the doctrine narrowly, viewing it
  technically, or applying it rigidly.                  parties' post-stipulation actions conformed
                                                        not only to the stipulation but also to Minix's
  The invited-error doctrine recognizes the             lawyer's testimony and to the trial comt's
  unfairness-to both the trial court and to the         reported ruling from the bench. That, too,
  opposing party-of allowing a party to change          raises a fact issue that should preclude the
  positions upon arrival in the court of appeals,       granting of any mandamus relief. The
  especially after that party has reaped the            majority does not explain why it concludes
  benefits of an opposite trial-court position          otherwise.
  and consumed judicial resources inducing the
                                                        Courts grant mandamus relief to remedy
  trial court to do the thing now sought to be
  undone.                                               wrongs, not to promote them. 3& In granting
                                                        mandamus relief the majority sanctions the
   The order Minix appeals is like a motion to          very conduct the quasi-estoppel and invited­
   reconsider in that Minix stipulated as part of       error doctrines are supposed to thwart.
   a joint stipulation to set aside the mediated        Because principles of estoppel embodied in
   settlement agreement, the trial judge did set it     both doctrines bar mandamus relief in this
                                                        context, this court need not analyze section




   --
   aside, and then Minix later sought to enforce
   the set-aside agreement. Even though Minix           153.0071(d) of the Family Code or its
   asked the trial court to set aside the mediated      potential application to today's case.37 This




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  court instead should hold that estoppel
  principles foreclose mandamus relief.
                                                     with the statute, principles of equity, the facts
  J. Brett Busby, Justice, Concurring                of this case, and our adversary system of
                                                     justice.
  CONCURRING OPINION
                                                     According to the dissent, we miss the mark by
  Under the statute enacted by the Legislature,      starting our analysis with the governing law.
  this is a straightforward case. Section            But that law is precisely the issue raised by
  153.0071(d) of the Family Code provides that       Gladys in her mandamus petition, which
  in a suit affecting the parent-child               asks: "Did the district court abuse its
  relationship,    a   mediated      settlement      discretion and violate the Texas Family Code
  agreement (MSA) meeting certain formal             by refusing to enter judgment on the parties'
  requirements is binding on the parties.1 With      mediated        settlement        agreement-an
  specifically enumerated exceptions not             agreement that complies with each of the
  applicable here, a party "is entitled to           three requirements in section 153.0071(d) of
  judgment      on"   such    an     agreement       the Texas Family Code ?" Under our rules, we
  "notwithstanding Rule 11, Texas Rules of Civil     must "address[ ] every issue raised and
  Procedure, or another rule of law." Tex. Fam.      necessary to final disposition" of the case.
  Code Ann. § 153.0071(e) (West 2014).               Tex. R. App. P. 47.1. The dissent correctly
                                                     notes that addressing issues on the merits
  The majority opinion, which I join, holds that     sometimes is not necessary, such as when
  a trial court may not create a new exception to    there is a jurisdictional defect or an issue was
  this statute by refusing to render judgment on     not properly preserved in the trial court. See
  a statutorily compliant MSA on the ground          post , at 457-58. Yet there is no question of
  that the parties later agreed to set it aside.     jurisdiction here, and it is one of the defensive
  Civil Rule 11 addresses the enforceability of      doctrines on which the dissent relies-not the
  agreements between attorneys or parties.           issue briefed by Gladys-that was not
  Thus, by the plain terms of section                properly preserved.
  153.0071(e), a party is entitled to judgment on
  an MSA notwithstanding any agreement he or         The dissent posits that equity can also
  she may have made to the contrary. See In re       "outrun[ ] statutory compliance." Id. This
  Lee , 411 S.W.3d 445, 454 (Tex. 2013) (orig.       assertion fails to account for the mandatory
  proceeding); In Interest of C.C.E. , 530           nature of the statute at issue. Once the parties
  S.W.3d 314, 321 (Tex. App.-Houston [14th           have entered into a compliant MSA, the
  Dist.] 2017, no pet.). "[W]e take statutes as we   statute requires the trial court to grant a
  find them and refrain from rewriting the           party's motion for judgment even if the
  Legislature's text." Cadena Comercial USA          parties agreed not to seek such relief. See Tex.
  Corp. v. Tex. Alcoholic Beverage Comm'n ,          Fam. Code Ann. § 153.0071(e). "We generally
  518 S.W.3d 318, 326 (Tex. 2017).                   adhere to the maxim that 'equity follows the
                                                     law,' which requires equitable doctrines to
  Our dissenting colleague contends that             conform to ... statutory mandates, not the
  principles of equity-including a doctrine not      other way around." Fortis Benefits v. Cantu ,
  pleaded in the trial court or briefed by any       234 S.W.3d 642, 648 (Tex. 2007).4
  party to this proceeding-allow the parties
  and the court to override the statute by           Let there be no mistake about the rule the
  agreement. I write separately to explain why       dissent proposes: the trial court is equitably
  this approach is incompatible                      absolved of its statutory obligation to render
                                                     judgment on a binding MSA when the parties



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  later manifest-by words or conduct-an                     Were we to raise this non-jurisdictional issue
  intent not to be bound by that agreement                  ourselves and develop arguments for or
  anymore. If the parties do not seek judgment              against its application, we would become
  on the MSA immediately, they run the risk                 advocates for a party rather than impartial
  that further proceedings will be viewed as                decisionmakers-a role fundamentally at
  inconsistent with the agreement, and neither              odds with our adversary system of justice.
  of them will be able to complain by                       That system "depends on the parties to frame
  mandamus or in an eventual appeal if the                  the issues for decision and assigns to courts
  trial court declines to render judgment on the            the role of neutral arbiter of the matters that
  agreement. 3 Given the lengths to which the               the parties present." Ward v. Lamar Univ. ,
  Legislature went to make MSAs binding and                 484 S.W.3d 440, 453 (Tex. App.-Houston
  (in all but a few defined situations)                     [14th Dist.] 2016, no pet.). We should stay in
  enforceable, it makes no sense to allow such              our lane.
  agreements to be easily cast aside. At bottom,
  the dissent's position is that equity frees the           The doctrine of invited error, which the
  trial court to violate a statute if the parties           parties do address, is inapplicable to the facts
  agree, even though the statute expressly says             of this case. Michael argues that Gladys
  that an agreement cannot have such an effect.             invited error in two ways: (1) by agreeing that
  See post , at 458-59 & n.11. That's not                   the trial court could set aside the MSA, which
  equity-it's a recipe for anarchy.                         counsel testified the court did; and (2) by
                                                            filing a motion to modify that sought relief
  Even if we could look to equitable doctrines to           inconsistent with the MSA, which the trial
  trump the Legislature's judgment that parties             court temporarily granted. As the majority
  cannot undo binding MSAs by agreement,                    opinion explains, the doctrine of invited error
  those doctrines do not support such a result              does not apply because Gladys does not
  here. The dissent begins its analysis with                challenge either of those rulings in her
  quasi-estoppel. That doctrine operates as an              petition. Rather, she challenges the trial
  affirmative defense, so the party seeking to              court's denial of her subsequent motion for
  invoke it has the burden                                  judgment on the MSA.

                                                            Our dissenting colleague criticizes our
                                                            framing of the invited error doctrine as
   of pleading and proof. Malone v. Patel , 397             unduly narrow. Although I disagree, I
  S.W.3d 658, 681-82 (Tex. App.-Houston [1st                conclude there are further reasons to reject
  Dist.] 2012, pet. denied). So far as our record           the doctrine's application here. First, an
  reveals, Michael did not plead quasi-estoppel,            undocumented oral agreement by Gladys's
  raise it in a response to Gladys's motion for             counsel to set aside the MSA is not
  entry of judgment, or mention it as a ground              enforceable. "[N]o agreement between
  in his motion to set aside the MSA..i The                 attorneys or parties touching any suit pending
  parties also do not mention the doctrine of               will be enforced unless it be in writing, signed
  quasi-estoppel in their briefing before this              and filed ... [or] made in open court and
  Court. Just as we generally do not reverse a              entered of record." Tex. R. Civ. P. 11. Here,
  trial court for failing to take an action that a          there is no written agreement to set aside the
  party did not request (see post , at 457-58 &             MSA, and no reporter's record was taken of
  n.7), we should not deny mandamus relief                  the hearing in which (according to later
  based on a defense that a party did not                   testimony by Gladys's counsel) an oral
  properly raise.                                           agreement was made. An oral agreement
                                                            made in open court may also be enforced if it
                                                            is described in a subsequent judgment or
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  order,s but our record likewise contains no              Notes:
  order setting aside the MSA. Recognizing that
  oral agreements by counsel are apt to be                 1    Proffitt testified on March 21, 2107, in pa1t:
  misconstrued and beget controversy, Rule 11
                                                                     Q: On June 7th do you believe
  bars their enforcement. See Padilla v.
                                                                     that Judge Farr had set aside
  Lafrance, 907 S.W.2d 454, 460 (Tex. 1995).
                                                                     the                   [MSA]?
  Because any oral agreement by
                                                                     A: That was his pronouncement
                                                                     from the bench.
  Gladys's counsel is not enforceable, it should
                                                           .iAct of June 18, 2005, 79th Leg., R.S., ch.
  not be held against Gladys in an invited error
                                                           916, § 7, 2005 Tex. Gen. Laws 3148, 3150,
  analysis.
                                                           amended by Act of May 23, 2017, 85th Leg.,
                                                           R.S., ch. 99, § 2, 2017 Tex. Sess. Law Serv.
  Second, a motion to modify conservatorship,
                                                           821, 821 (West).
  possession, or access based on a material and
  substantial change in circumstances is not               3 The dissent also argues the doctrine of
  necessarily inconsistent with the terms of a             quasi-estoppel bars Gladys's request for
  previous MSA. As this Court recently                     mandamus relief. The doctrine of quasi­
  explained, a trial court does not run afoul of           estoppel bars a party from asserting, to
  section 153.0071 if it alters the terms of an            another's disadvantage, a right inconsistent
  order incorporating an MSA based on                      with a position previously taken. Samson
  subsequent events that meet the statutory                Exp{. LLC v. T.S. Reed Props., Inc. , 521
  requirements for modification. See Tex. Fam.             S.W.3d 766, 778 (Tex. 2017) ; see post , at
  Code Ann. § 156.101 ; In re Harrison , No. 14-           458-59 (Frost, C.J., dissenting). Even if this
  15-00430-CV, --- S.W.3d ----, ----,                      un-briefed argument were before us, Michael
  2018 WL 894442, at *30 (Tex. App.-Houston                has not shown that enforcing the MSA would
  [14th Dist.] Feb. 15, 2018, no pet. h.). A               be to his disadvantage. The terms of the MSA
  modification may be temporary, or it may                 were similar to those of the November 22,
  leave portions of the MSA undisturbed. When              2016 temporary orders, and Michael's child
  circumstances substantially change, we                   support obligation was less in the MSA. The
  should hesitate to discourage a parent from              dissent may believe the May 2016 temporary
  acting to protect the safety and welfare of a            restraining order that Gladys sought was
  child by forcing that parent to make an all-or­          unfavorable to Michael, but Gladys does not
  nothing     choice     between    seeking     a          challenge that order in her petition.
  modification and preserving the bargain
  struck in the MSA.                                       &  Michael further argues that prohibiting
                                                           presumably fit parents from agreeing to
  In this case, the modification was partial and           revoke a statutorily compliant MSA would be
  temporary. Because the modification had                  unconstitutional. Michael did not raise this
  ended before Gladys filed her motion for                 issue in the trial court, and we do not address
  entry of judgment on the MSA, she did not                it here.
  invite the trial comt to err in denying that
  motion. For these additional reasons, I                  1Rivercenter Assocs. v. Rivera , 858 S.W.2d
  conclude that Gladys is entitled to mandamus             366, 367 (Tex. 1993).
  relief.
                                                           2    See id.



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  3Moore u. Rock Creek Oil Corp. , 59 S.W.2d                  primary, after result of second proved
  815, 817 (Tex. Comm'n App. 1933, judgm't                    adverse); Robinson u. Plano Board of Educ. ,
  adopted).                                                   514 S.W.2d 135, 136-38 (Tex. Civ. App.­
                                                              Dallas 1974, orig. proceeding) (holding that
  " At the hearing on March 21, 2017, Judge                   relator, a candidate who entered into
  Farr indicated that he had no personal                      agreement with rival candidate to have a
  recollection as to what happened at the                     recount conducted (an action relator alleged
  hearing on June 7, 2016.                                    was contrary to an applicable statute), was
                                                              estopped to claim he had won election, after
  s See Tex. Fam. Code Ann. § 153.0071(d)
                                                              the result of the recount proved adverse).
  (West, Westlaw through 2017 1st C. S.).
                                                                See Rivercenter Assocs. , 858 S.W.2d at 367
                                                              .L;?
  2 See Fleming & Assocs. v. Kirklin , No. 14-16-
                                                              ; Pendleton , 9 S.W.2d at 440; Robinson , 514
  00752-CV, 2016 WL 6885967, at *1-2 (Tex.
                                                              S.W.2d at 136-38.
  App.-Houston [14th Dist.] Nov. 22, 2016, pet.
  denied) (mem. op., per curiam).                             13   Though Minix did not state in her
                                                              emergency motion what she sought to modify,
  z See Tex. R. App. P. 33.1(a) ; First Nat. Bank
                                                              the only document governing the parties'
  of Beeville v. Fojtik , 775 S.W.2d 632, 633
                                                              conservatorship and possession of the child
  (Tex. 1989).
                                                              was the mediated settlement agreement, and
  l! Curry v. Pickett , No. 14-09-00188-CV,                   it is obvious from Minix's motion that she did
  2010 WL 3353952, at *4 (Tex. App.-Houston                   not want the court to order the
  [14th Dist.] Aug. 26, 2010, no pet.) (mem.                  conservatorship-and-possession terms the
  op.).                                                       parties set out in their mediated settlement
                                                              agreement.
  9   See id.
                                                              M      See Curry, 2010 WL 3353952, at *4.
  lQ See Pendleton v. Pace , 9 S.W.2d 437, 440

  (Tex. Civ. App.-Texarkana 1928, writ refd)                  15 See Pendleton , 9 S.W.2d at 440 ; Robinson
  (holding that candidate who entered into                    , 514 S.W.2d at 136-38.
  agreement witl1 rival candidate to set aside
                                                              12 Ante at 455, n.3.
  result of first primary and resubmit
  nomination was estopped to claim                            iz     See ante at 455, n.3.
  nomination under first primary, after result of
  second proved adverse). In cases decided                    1ll See Curry , 2010 WL 3353952, at *4.
  after June 14, 1927, the Supreme Court of
  Texas's notation of "writ refused" or "petition             19See Rivercenter Assocs. , 858 S.W.2d at 367
  refused" denotes that the court of appeals's                ; Pendleton , 9 S.W.2d at 440 ; Curry , 2010
  opinion is the same as a precedent of the                   WL 3353952, at *4; Robinson, 514 S.W.2d at
  Supreme Court of Texas. See Yancy u. United                 136-38.
  Surgical Partners Int'l, Inc. , 236 S.W.3d 778,
                                                              ;m  See Kupersmith v. Weitz , No. 14-05-
  786 n. 6 (Tex. 2007).
                                                              00167-CV, 2006 WL 3407832, at *3 n.2 (Tex.
   u See Pendleton , 9 S.W.2d at 440 (holding                 App.-Houston [14th Dist.] Nov. 28, 2006, no
   that candidate who entered into agreement                  pet.) (mem. op) (noting that reversal would
   with rival candidate to set aside result of first          conflict with invited-error doctrine because
   primary and resubmit nomination (an action                 court rendered judgment in reliance on
   not provided for by applicable law) was                    stipulation that the parties sought to enforce
   estopped to claim nomination under first                   rather than rescind settlement agreement).

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  ;u See In re Dep't of Family & Protective            � Houston Laureate Assocs. , 504 S.W.3d at
  Servs. , 273 S.W.3d 637, 646 (Tex. 2009) ;           567 ; Gordon , 2011 WL 5926723, at *7.
  Houston Laureate Assocs., Ltd. v. Russell ,
  504 S.W.3d 550, 567 (Tex. App.-Houston               33      See ante at 459-60.
  [14th Dist.] 2016, no pet.) (holding that under
                                                         Northeast Tex. Motor Lines, 158 S.W.2d at
                                                       3!I
  invited-error doctrine, a party that requests a
                                                       488.
  specific action in trial court cannot complain
  on appeal that trial court erred in granting         35      Spence, 5 S.W.2d at 756.
  that request); Gordon v. Gordon , No. 14-10-
  01031-CV, 2011 WL 5926723, at *7 (Tex.               3.f! Moore, 59 S.W.2d at 818.
  App.-Houston [14th Dist.] Nov. 29, 2011, no
  pet.) (mem. op.).                                    n See Rivercenter Assocs. , 858 S.W.2d at 367
                                                       ; Pendleton , 9 S.W.2d at 440 ; Houston
  .u See Spence v. State Nat. Bank of El Paso , 5      Laureate Assocs. , 504 S.W.3d at 567-68 ;
  S.W.2d 754, 756 (Tex. 1928)                          Gordon , 2011 WL 5926723, at *7 ; Curry ,
                                                       2010 WL 3353952, at *4 ; Robinson , 514
  � See United Scaffolding, Inc. v. Levine, No.        S.W.2d at 136-38.
  15-0921, 537 S.W.3d 463, 481-82, 2017 WL
  2839842, at *12 (Tex. June 30, 2017) ; Del               1 The parties have stipulated that the MSA at
  Lago Partners v. Smith , 307 S.W.3d 762, 775             issue is binding.
  (Tex. 2010).
                                                         We need not decide m this case whether
                                                           2

  � See Del Lago Partners , 307 S.W.3d at 775          there are some circumstances in which a
  (holding that petitioner was barred from             party could waive its "entitle[ment] to
  obtaining reversal on appeal on the ground           judgment on" a binding MSA. Tex. Fam. Code
  that the jury should have decided the case           Ann. § 153.0071(e). The statute makes clear
  under a liability theory that petitioner itself      that the parties cannot waive that entitlement
  persuaded the trial court not to submit to the       by subsequent agreement.
  jury); Houston Laureate Assocs. , 504 S.W.3d
  at 567 ; Gordon , 2011 WL 5926723, at *7.                3 Although the dissent presents the doctrines
                                                           of quasi-estoppel and invited error as
  25    See ante at 459-60.                                equitable bases for denying mandamus relief,
                                                           they would apply equally on appeal. E.g.,
  2S1See id.                                               Tittizer v. Union Gas Corp. , 171 S.W.3d 857,
                                                           862 (Tex. 2005) (invited error); Davis­
  :ti   171 S.W.3d 857 (Tex. 2005).
                                                           Lynch, Inc. v. Asgard Techs., LLC , 472
  :ill See ante at 460.                                    S.W.3d 50, 67-68 (Tex. App.-Houston [14th
                                                           Dist.] 2015, no pet.) (quasi-estoppel).
  29See Kupersmith , 2006 WL 3407832, at *3
  n.2.                                                     d   Michael's counsel did use the word
                                                           "estoppel" once in a hearing, but he did not
  w Compare People's State Bank of Tyler v.                explain the type of estoppel to which he
  Monsey Oil Co. , 11 S.W.2d 507, 511 (Tex.                referred. Counsel's statement that "you can't
  Comm'n App. 1928, judgm't approved)with                  ask for two things at the same time," and his
  Tittizer, 171 S.W.3d at 862.                             later argument that his client detrimentally
                                                           relied on "the assumption that [the MSA] had
  3l Northeast Tex. Motor Lines v. Hodges , 138            been set aside," would not suggest to the trial
   Tex. 280, 158 S.W.2d 487, 488 (1942).                   court that he was addressing quasi-estoppel.
                                                           See Lopez v. Munoz, Hockema & Reed, L.L.P.
                                                           , 22 S.W.3d 857, 864 (Tex. 2000) ("Quasi-
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  estoppel precludes a party from asserting, to
  another's disadvantage, a right inconsistent
  with a position previously taken." (emphasis
  added) ); Freezia v. IS Storage Venture, LLC,
  474 S.W.3d 379, 387 (Tex. App.-Houston
  [14th Dist.] 2015, no pet.) ("A party need not
  show ... detrimental reliance in order to prove
  the affirmative defense of quasi-estoppel. ").

  s See City of Houston v. Clear Creek Basin
  Auth., 589 S.W.2d 671, 677 (Tex. 1979).




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                411 S.W.3d 445
            56 Tex. Sup. Ct. J. 124 7                         Marcela Halmagean, M. Halmagean PLLC,
                                                              Scott Rothenberg, Law Offices of Scott
        In re Stephanie LEE, Relator.                         Rothenberg, Houston, TX, for Stephanie Lee.

                  No. 11-0732.                                John A. Ramirez, Office of The Attorney
                                                              General, Houston, TX, Rande K. Herrell,
           Supreme Court of Texas.                            Office of the Attorney General of Texas,
                                                              Austin, TX, for Real Party in Interest State of
            Argued Feb. 28, 2012.                             Texas.
           Delivered Sept. 27, 2013.

  Summaries:                                                  Clinton Fancher Lawson, Law Offices of
                                                              Clinton F. Lawson, San Antonio, TX, for Real
  Source: Justia                                              Party in Interest Benjamin Jay Redus.
  Stephanie Lee and Benjamin Redus were the
                                                              Georganna L. Simpson, Georganna L.
  parents and joint managing conservators of
                                                              Simpson, P.C., Steven Randall Morris,
  their minor daughter. A 2007 order                          Attorney at Law, Dallas, TX, Richard R.
  adjudicating parentage gave Stephanie the                   Orsinger, Mccurley Orsinger, Mccurley
  exclusive right to designate the child's                    Nelson & Downing LLP, San Antonio, TX,
  primary residence. Benjamin sought to
                                                              Thomas L. Ausley, Ausley Algert Robertson &
  modify that order. The parties executed a                   Flores LLP, Austin, TX, for Amicus Curiae
  mediated settlement agreement (MSA)                         State Bar of Texas Family Law Council.
  modifying the 2007 order. Stephanie moved
  to enter judgment on the MSA, but Benjamin
  withdrew his consent to the MSA, arguing
  that it was not in the best interest of the child.
  The district court refused to enter judgment
  on the MSA, concluding that it was not in the               Bill Davis, Jonathan F. Mitchell, Solicitor,
  best interest of the child. Stephanie                       Office of the Attorney General, Austin, TX, for
  unsuccessfully petitioned the court of appeals              Amicus Curiae Office of the Solicitor General
  for a writ of mandamus ordering the trial                   of                                       Texas.
  court to enter judgment on the MSA. The
  Supreme Comt conditionally granted the writ                 Justice LEHRMANN announced the
  of mandamus, holding (1) a trial comt may                   Court's decision and delivered the
  not deny a motion to enter judgment on a                    opinion of the Court with respect to
  properly executed MSA on the grounds that                   Parts I, II, III, V, and VII, in which
  the MSA was not in a child's best interest; and             Justice JOHNSON, Justice WILLETT,
  (2) because the MSA in this case met the                    Justice GUZMAN, and Justice BOYD
  Family Code's requirements for a binding                    joined, and delivered an opinion with
  agreement, the trial court abused its                       respect to Parts IV and VI, in which
  discretion by denying the motion to enter                   Justice JOHNSON, Justice WILLETT,
  judgment on the MSA.                                        and Justice BOYD joined.

                                                                   "If a mediated settlement agreement
                                                              meets [certain requirements], a party is
                                                              entitled to judgment on the mediated
                                                              settlement agreement notwithstanding ...
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  another rule of law." Tex. Fam.Code §                           Before proceeding to trial, the parties
  153.0071(e) (emphasis added). We are called                attended mediation at which they were both
  upon today to determine whether a trial court              represented by counsel. The mediation ended
  abuses its discretion in refusing to enter                 successfully with the parties executing a
  judgment on a statutorily compliant mediated               mediated settlement agreement modifying
  settlement agreement (MSA) based on an                     the 2007 order. The MSA gives Benjamin the
  inquiry into whether the MSA was in a child's              exclusive right to establish the child's primary
  best interest. We hold that this language                  residence, and it gives Stephanie periodic
  means what it says: a trial court may not deny             access to and possession of the child. Among
  a motion to enter judgment on a properly                   the terms and conditions of Stephanie's
  executed MSA on such grounds. Accordingly,                 access and possession, the MSA contains the
  we conditionally grant the writ of mandamus.               following restriction concerning Scott:

                 I. Background                                   At all times[,] Scott Lee is enjoined from
                                                             being within s miles of [the child]. During
       Relator Stephanie Lee and Real Party in               [Stephanie]'s periods of possession with [the
  Interest Benjamin Redus are the parents and                child,] Scott Lee shall notify [Benjamin]
  joint managing conservators of their minor                 through Stephanie Lee by e-mail or other
  daughter. Stephanie has the exclusive right to             mail where he will be staying ... [a]nd the
  designate the child's primary residence under              make and model of the vehicle he will be
  a 2007 order adjudicating parentage.                       driving. This shall be done at least s days
  Benjamin petitioned the comt of continuing                 prior to any visits. [Benjamin] shall have the
  jurisdiction to modify that order, alleging that           right to have an agent or himself monitor Mr.
  the circumstances had materially and                       Lee's location by either calling
  substantially changed because Stephanie had
  relinquished primary care and possession of
  the child to him for at least six months.
  SeeTex. Fam.Code § 156.101. Benjamin                       or driving by the location at reasonable times.
  sought the exclusive right to determine the
  child's primary residence and requested                          The introduct01y paragraph of the MSA
  modification of the terms and conditions of                explains that "[t]he parties wish to avoid
  Stephanie's access to and possession of the                potentially protracted and costly litigation,
  child, alleging that Stephanie's "poor                     and agree and stipulate that they have
  parenting decisions" had placed the child in               carefully considered the needs of the child[ ]
  danger. He also sought an order requiring                  ... and the best interest of the child." The MSA
  that Stephanie's periods of access be                      also contains the following language in
  supervised on the basis that she "has a history            boldfaced, capitalized, and underlined letters:
  or pattern of child neglect directed against"
  the child. Additionally, Benjamin sought an                   THE PARTIES ALSO AGREE THAT
  order enjoining Stephanie from allowing the                THIS MEDIATION AGREEMENT IS
  child within twenty miles of Stephanie's                   BINDING ON BOTH OF THEM AND IS
  husband, Scott Lee, a registered sex offender,             NOT SUBJECT TO REVOCATION BY
  and requiring Stephanie to provide Benjamin                EITHER OF THEM.
  with information on her whereabouts during
  her periods of access so that Benjamin could               The MSA was signed by both Stephanie and
                                                             Benjamin, as well as their attorneys.
  verify her compliance with the twenty-mile
  restriction.


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       Benjamin appeared before an associate               allegation that Scott had slept naked with the
  judge to present and prove up the MSA.                   child.
  During Benjamin's testimony in support of
  the MSA, the associate judge inquired about                   The district court concluded that entry of
  the injunction regarding Scott. Benjamin                 the MSA was not in the best interest of the
  informed the judge that Scott was a registered           child and denied Stephanie's motion to enter
  sex offender, and he testified that Scott                judgment. The court advised the parties that
  "violated conditions of his probation with               they were free to reach a new agreement on
  [Benjamin's] daughter in th[e] house" and                their own, but the court declined to send the
  that he "sle [pt] naked in bed with                      parties back to mediation and instead set the
  [Benjamin's] daughter between [Scott and                 case for trial.
  Stephanie]." Stephanie did not attend the
  hearing and therefore was not able to respond                 [411 S.W.3d 449]
  to these allegations.! Based on this testimony,
  the associate judge refused to enter judgment                 Stephanie petitioned the court of appeals
  on the MSA.                                              for a writ of mandamus ordering the trial
                                                           court to enter judgment on the MSA.
      Stephanie filed a motion to enter                    Stephanie argued that the trial court lacked
  judgment on the MSA, and Benjamin filed a                discretion to refuse judgment based on the
  written objection withdrawing his consent to             best interest determination. No. 14-11-
  the MSA, arguing that it was not in the best             00714-CV, 2011 WL 4036610, at *1. The
  interest of the child. At the hearing on                 court of appeals held "that the trial court [did]
  Stephanie's motion, the district judge heard             not commit[ ] a clear abuse of discretion in
  brief testimony on the MSA from Benjamin                 refusing to enter judgment on a mediated
  and Stephanie, including testimony regarding             settlement agreement that is not in the child's
  whether the MSA was in the child's best                  best interest." Id. at *2. Stephanie then timely
  interest. Stephanie testified that she believed          petitioned this Court for a writ of mandamus.
  the MSA was in the child's best interest, and
  Benjamin also admitted on cross-examination                II. The Need For Mediation in High­
  that, at the time of execution, he thought the                   Conflict Custody Disputes
  MSA was in the child's best interest. Both
                                                                   Encouragement of mediation as an
  Stephanie and Benjamin testified that
                                                           alternative form of dispute resolution is
  Benjamin was not a victim of family violence.
                                                           critically important to the emotional and
       The judge also heard testimony on Scott's           psychological well-being of children involved
  status as a registered sex offender. Stephanie           in high-conflict custody disputes. Indeed, the
  testified that, in 2009, Scott was served with a         Texas Legislature has recognized that it is
  violation of his deferred adjudication because           "the policy of this state to encourage the
  of his contact with the child.2 Stephanie                peaceable resolution of disputes, with special
  admitted that, although Scott was placed on              consideration given to disputes involving the
  additional probation conditions in 2011, she             parent-child relationship, including the
  allowed Scott to have contact with the child             mediation        of      issues      involving
  and to reside in the same house with her and             conservatorship, possession, and support of
  the child in violation of those conditions.              children, and the early settlement of pending
  Stephanie specifically denied that she ever              litigation through voluntary settlement
  allowed Scott to take care of the child without          procedures." Tex. Civ. Prac. & Rem.Code §
                                                           154.002 (emphasis added). This policy is




  -
  her supervision. Notably, although Benjamin
  testified that he knew about Scott's status as a         well-supported by, inter alia, literature
  registered sex offender, he did not repeat the           discussing the enormous emotional and




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  financial costs of high-conflict custody                       [411 S.W.3d 451]
  litigation, including its harmful effect on
  children.3 Children involved in these                     Molinet v. Kimbrell, 356 S.W.3d 407, 411
  disputes-tellingly, referred to as "custody               (Tex.2011). Our fundamental objective in
  battles" -can face perpetual emotional                    interpreting a statute is "to determine and
  turmoil, alienation from one or both parents,             give effect to the Legislature's intent." Am.
  and      increased    risk     of    developing           Zurich Ins. Co. v. Samudio, 370 S.W.3d 363,
  psychological problems.� All the while, most              368 (Tex.2012); accord Molinet, 356 S.W.3d
  of these families have two adequate parents               at 411. In turn, "[t]he plain language of a
  who merely act out of fear of losing their                statute is the surest guide to the Legislature's
  child. For the children themselves, the                   intent." Prairie View A & M Univ. v. Chatha,
  conflict associated with the litigation itself is         381 S.W.3d 500, 507 (Tex.2012). "We take the
  often much greater than the conflict that led             Legislature at its word, and the truest
  to a divorce or custody dispute. s The                    measure of what it intended is what it
  Legislature has thus recognized that, because             enacted." In re Office of Attorney Gen.,
  children suffer needlessly from traditional               422S.W.3d 623, ----, 2013 WL 854785
  litigation, the amicable resolution of child-             (Tex.2013). "[U]nambiguous text equals
                                                            determinative text," and " '[a]t this point, the
                                                            judge's inquiry is at an end.' " Id. (quoting
                                                            Alex Sheshunoff Mgmt. Servs., L.P. v.
  related disputes should be promoted                       Johnson, 209 S.W.3d 644, 652 (Tex.2006)).
  forcefully. With the Legislature's stated policy
  in mind, we turn to the statute in question.                    It is inappropriate to resort to rules of
                                                            construction or extratextual information to
         III. Statutory Interpretation                      construe a statute when its language is clear
                                                            and unambiguous. Id. "This text-based
        The sole issue before us today is whether           approach requires us to study the language of
  a trial court presented with a request for entry          the specific section at issue, as well as the
  of judgment on a validly executed MSA may                 statute as a whole." Id. When construing the
  deny a motion to enter judgment based on a                statute as a whole, we are mindful that "[i]f a
  best interest inquiry.f1 While Texas trial courts         general provision conflicts with a special or
  have numerous tools at their disposal to                  local provision, the provisions shall be
  safeguard children's welfare, the Legislature             construed, if possible, so that effect is given to
  has clearly directed that, subject to a very              both." Tex. Gov't Code § 311.026(a). However,
  narrow exception involving family violence,               in the event that any such conflict is
  denial of a motion to enter judgment on an                irreconcilable, the more specific provision will
  MSA based on a best interest determination,               generally prevail. Id. § 311.026(b); see also In
  where that MSA meets the statutory                        re Allcat Claims Serv., L.P., 356 S.W.3d 455,
  requirements of section 153.0071(d) of the                470-71 (Tex.2011). Further, in the event of an
  Texas Family Code, is not one of those tools.             irreconcilable conflict between two statutes,
  Accordingly, the trial court in this case abused          generally "the statute latest in date of
  its discretion by denying entry of judgment on            enactment prevails." Tex. Gov't Code §
  the MSA and setting the matter for trial.z                311.025(a).

             A. Standard of Review                                         B. Section 153.0071

        "We review questions of statutory                       Consistent with the legislative policy
  construction de novo."                                    discussed above regarding the encouragement
                                                            of the peaceable resolution of disputes



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  involving the parent-child relationship, the              11, Texas Rules of Civil Procedure, or another
  Legislature enacted section 153.0071 of the               rule oflaw.
  Family Code, which provides in pertinent part
  as follows:                                                   (e-1) Notwithstanding Subsections (d)
                                                            and (e), a court may decline to enter a
       (a) On written agreement of the parties,             judgment on a mediated settlement
  the court may refer a suit affecting the parent­          agreement ifthe court finds that:
  child relationship to arbitration. The
  agreement must state whether the arbitration                  (1) a party to the agreement was a victim
  is binding or non-binding.                                of family violence, and that circumstance
                                                            impaired the party's ability to make decisions;
       (b) If the parties agree to binding                  and
  arbitration, the court shall render an order
  reflecting the arbitrator's award unless the                  (2) the agreement is not in the child's
  court determines at a non-jury hearing that               best interest.
  the award is not in the best interest of the
  child. The burden of proof at a hearing under             Tex.     Fam.Code      §    153.0071(a)-(e-1).
  this subsection is on the party seeking to                Subsection (d) provides that an MSA is
  avoid rendition of an order based on the                  binding on the parties if it is signed by each
  arbitrator's award.                                       party and by the parties' attorneys who are
                                                            present at the mediation and states
      (c) On the written agreement of the                   prominently and in emphasized type that it is
  parties or on the court's own motion, the                 not subject to revocation. Id. § 153.0071(d).
  court may refer a suit affecting the parent­              Subsection (e) goes even further, providing
  child relationship to mediation.                          that a party to an MSA is "entitled to
                                                            judgment" on the MSA if it meets subsection
      (d) A mediated settlement agreement is                (d)'s requirements. Id. § 153.0071(e). Finally,
  binding on the parties ifthe agreement:                   subsection (e-1), added in 2005, provides a
                                                            narrow exception to subsection (e)'s mandate,
       (1) provides, in a prominently displayed             allowing a court to decline to enter judgment
  statement that is in boldfaced type or capital            on even a statutorily compliant MSA ifa party
  letters or underlined,                                    to the agreement was a victim of family
                                                            violence, the violence impaired the party's
      [411 S.W.3d 452]                                      ability to make decisions, and the agreement
                                                            is not in the best interest of the child. Act of
  that the agreement        is    not   subject to          June 18, 2005, 79th Leg., R.S., ch. 916, § 7,
  revocation;                                               2005 Tex. Gen. Laws 3148, 3150.

      (2) is signed by each party to the
  agreement; and                                                     C. The Parties' Arguments

        (3) is signed by the party's attorney, if                 Stephanie argues that the trial court
  any, who is present at the time the agreement             abused its discretion by refusing to enter
  is signed.                                                judgment on the MSA and setting the case for
                                                            trial. She contends that, under section
       (e) If a mediated settlement agreement
                                                            153.0071, she was "entitled to judgment on
  meets the requirements of Subsection (d), a
                                                            the [MSA]" because it complied with the
  party is entitled to judgment on the mediated
                                                            statutory requirements. SeeTex. Fam.Code §
  settlement agreement notwithstanding Rule
                                                            153.0071(d)-(e). She further argues that a
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  court may refuse to enter judgment on a                          Finally, the State Bar of Texas Family
  properly executed MSA only when the family                 Law Council (the Council) submitted an
  violence exception is met and the court finds              amicus curiae brief in support of Stephanie's
  that the MSA is not in the child's best interest.          petition. The Council argues that a strict
  See id. § 153.0071(e-1). Because there was no              interpretation of section 153.0071 fulfills the
  family violence at issue in this case, she                 state policy favoring amicable resolution of
  argues, this narrow exception does not apply.              disputes and suggests that holding as the
                                                             courts below did could lead to a loss in
       In response, Benjamin first argues that               confidence in mediation and an increase in
  the MSA does not meet the statutory                        litigation over the best interest of the child.
  requirements for a binding agreement                       The Council argues that rules of statuto1y
  because it was not signed by the Office of the             construction make clear that the Legislature
  Attorney General. Additionally, he argues that             intended to remove the best interest
  ent1y of judgment on an MSA that is not in                 determination in the context of an MSA,
  the best interest of the child violates public             instead deferring to parents to determine the
  policy and is unenforceable. His argument is               best interest of the child, except where family
  based on the Family Code's mandate that                    violence is involved. See id. § 153.0071(e-1).
  "(t]he best interest of the child shall always be          The Council urges that to hold otherwise
  the primary consideration of the court in                  would "gut the legislative intent favoring
  determining issues of conservatorship and                  alternative dispute resolution of family law
  possession." Id.§ 153.002. He argues that trial            matters by mediation," increasing both the
  courts therefore have the discretion to void all           cost of the proceedings and the stress on
  or part of an MSA that is not in the child's               families forced to resolve "their disputes in
  best interest.                                             the adversarial venue of the courts, rather
                                                             than the cooperative environment of
       In response to our request that the Office            mediation." The Council contends that "[t]his
  of the Solicitor General provide the position              result is certainly not in a child's best
  of the State of Texas, the State submitted a               interest."
  brief in favor of the trial court's and court of
  appeals' disposition, arguing that the                          D. Analysis of Section 153.0071
  "overarching purpose of Texas Family Code
  chapter 153 is to ensure trial courts' ability to               Section    153.0071(e)       unambiguously
  act in the best interests of minor children­               states that a party is "entitled to judgment" on
  even when their parents do not." The State                 an MSA that meets the statutory
  urges                                                      requirements "notwithstanding Rule 11, Texas
                                                             Rules of Civil Procedure, or another rule of
                                                             law." Id. § 153.0071(e). Subsection (e-1)
                                                             provides a narrow exception, allowing a trial
  that we must not look at section 153.0071 in               court to decline to enter judgment on an MSA
  isolation; rather, we must construe it within              when three requirements are all met: (1) a
  the broader context of the Legislature's                   party to the agreement was a victim of family
  concern for the best interest of children as               violence, and (2) the court finds the family
  expressed in the Family Code. See id. §§                   violence impaired the party's ability to make
  153.001, .002. The State argues that, in light             decisions, and (3) the agreement is not in the
  of this overarching state policy, the trial court          child's best interest. Id. § 153.0071(e-1). By
  did not abuse its discretion by refusing to                its plain language, section 153.0071
  enter judgment on the MSA.                                 authorizes a court to refuse to enter judgment
                                                             on a statutorily compliant MSA on best
                                                             interest grounds only when the court also


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  finds the family violence elements are met.               arbitration awards, it certainly knew how to
  Stated another way, "[t]he statute does not               do so.
  authorize the trial court to substitute its
  judgment for the mediated settlement                           Benjamin argues that, despite section
  agreement entered by the parties unless the               153.0071's plain language, "[n]othing
  requirements of subsection 153.0071(e-1) are              precludes the court from considering the best
  met." Barina v. Barina, No. 03-08-00341-                  interests of the child, including a request for
  CV, 2008 WL 4951224, at *4 (Tex.App.­                     entry on a mediated settlement agreement."
  Austin Nov. 21, 2008, no pet.) (mem. op.).                Benjamin and the State are correct that the
  Subsection (e-1), enacted after subsection (e),           Family Code provides that "[t]he best interest
  makes it absolutely clear that the Legislature            of the child shall always be the primary
  limited the consideration of best interest in             consideration of the court in determining the
  the context of entry of judgment on an MSA                issues of conservatorship and possession of
  to cases involving family violence. Allowing a            and access to the child." Id.§ 153.002.
  court to decline to enter judgment on a valid             However, section 153.0071(e) reflects the
  MSA on best interest grounds without family               Legislature's determination that it is
  violence findings would impermissibly render              appropriate for parents to determine what is
  the family violence language in subsection (e-            best for their children within the context of
  1) superfluous. See In re Caballero, 272                  the parents' collaborative effort to reach and
  S.W.3d 595, 599 (Tex.2008) (reaffirming rule              properly execute an MSA. This makes sense
  that courts must give effect to all words in a            not only because parents are in a position to
  statute without treating any statutory                    know what is best for their children, but also
  language as mere surplusage).                             because successful mediation of child-custody
                                                            disputes,     conducted     within     statutory
       Section       153.0071(b),       governing           parameters, furthers a child's best interest by
  arbitration of child-related disputes, is also            putting a halt to potentially lengthy and
  instructive. In stark contrast with subsection            destructive custody litigation. However, as
  (e), subsection (b) explicitly gives trial courts         discussed further below, a trial judge with
  authority to decline an arbitrator's award                cause to believe that a child's welfare is at risk
  when it is not in the best interest of the child.         due to suspected abuse or neglect is required
  CompareTex. Fam.Code § 153.0071(b), with                  to report such abuse or neglect to an
  id.§ 153.0071(e). This                                    appropriate agency, as is any other individual
                                                            with this type of knowledge. Id. §§ 261.101-
                                                            .103. In this sense, parents who enter into
                                                            MSAs are no different from the myriad of
  distinction     between     arbitration    and            parents in intact families who are presumed
  mediation makes sense because the two                     to act in their children's best interests every
  processes are very different. Mediation                   day. See Tmxel v. Granville, 530 U.S. 57, 65,
  encourages parents to work together to settle             120 S.Ct. 2054, 147 L.Ed.2d 49 (2000)
  their child-related disputes, and shields the             (observing that "the interest of parents in the
  child from many of the adverse effects of                 care, custody, and control of their children[
  traditional litigation. On the other hand,                ]is perhaps the oldest of the fundamental
  arbitration simply moves the fight from the               liberty interests recognized by this Court").
  courtroom to the arbitration room. If the
  Legislature had intended to authorize courts                   To the extent the two statutes do conflict,
  to inquire into the child's best interest when            applicable rules of construction require us to
  determining whether to render judgment on                 hold that section 153.0071 prevails. First,
  validly executed MSAs, as it did in section               section 153.0071(e) mandates entry of
  153.0071(b) with respect to judgments on                  judgment "notwithstanding Rule 11, Texas

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  Rules of Civil Procedure, or another rule of               mandate in section 153.0071 has severe
  law." Tex. Fam.Code§ 153.0071(e). The use of               consequences that will inevitably harm
  the word "notwithstanding" indicates that the              children. The decisions below ignore clearly
  Legislature intended section 153.0071 to be                expressed legislative intent, undermining the
  controlling. Molinet, 356 S.W.3d at 413-14                 Legislature's goal of protecting children by
  (holding that a "notwithstanding any other                 eroding parents'        incentive to work
  law" provision evidenced clear legislative                 collaboratively for their children's welfare.
  intent to resolve any interpretation conflicts             This frustrates the policies underlying
  in favor of the statute containing the                     alternative dispute resolution in the custody
  provision); see also Tex. Lottery Comm'n v.                context, which are firmly grounded in the
  First State Bank of DeQueen, 325 S.W.3d                    protection of children.ill
  628, 639 (Tex.2010) (holding that a statute
  "manifest[ing] clear legislative intent that                    IV. A Trial Court's Duty to Take
  conflicting statutes are ineffective" controlled                       Protective Action
  over such conflicting statutes)_!.\
                                                                 The dissent is concerned that the statute,
                                                             as written, would require trial courts to ignore
                                                             evidence     that    the    parents'      agreed
       Further, the specific statutory language of           arrangement would endanger a child by
  section 153.0071(e) trumps section 153.002's               subjecting the child to neglect or abuse. This
  more general mandate. Tex. Gov't Code §                    case, however, does not present that issue.
  311.026(b); see also Jackson v. State Office of            The trial court in this case refused to enter
  Admin. Hearings, 351 S.W.3d 290, 297                       judgment on the parents' MSA because the
  (Tex.2011) (reiterating the rule that specific             court believed the agreed arrangement was
  statutory provisions prevail over general                  not in the child's best interest, not because
  mandates). Finally, the MSA provision was                  the court believed the arrangement would
  added long after the general "best interest"               subject the child to neglect or abuse or would
  provision and therefore prevails as "the                   otherwise endanger the child. Thus, we need
  statute latest in date of enactment." Tex. Gov't           not, and should not, decide in this case the
  Code § 311.025(a); Jackson, 351 S.W.3d at                  contours of a trial court's duties and
  297. Thus, it is clear that the MSA statute was            discretion when faced with an MSA that
  enacted with the intent that, when parents                 would endanger a child, as that issue is not
  have agreed that a particular arrangement is               before us and any such opinion would be
  in their child's best interest and have reduced            advisory.
  that agreement to a writing complying with
  section 153.0071, courts must defer to them                     Nevertheless, because endangerment
  and their agreement.                                       appears to lie at the heart of the dissent's
                                                             concern, we are compelled to note that
       For these reasons, we hold that section               section 153.0071 does not require a trial court
  153.0071(e) encourages parents to peaceably                to blindly leave a child whose welfare
  resolve their child-related disputes through
  mediation by foreclosing a broad best interest
  inquiry with respect to entry of judgment on
  properly executed MSAs,!l ensuring that the                is at risk in harm's way. To the contrary,
  time and money spent on mediation will not                 courts can never stand idly by while children
  have been wasted and that the benefits of                  are placed in situations that threaten their
  successful mediation will be realized.                     health and safety. However, this does not
  Allowing courts to conduct such an inquiry in              mean courts can refuse to abide by section
  contravention of the unambiguous statutory                 153.0071(e) by denying a motion to enter
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  judgment on a properly executed MSA on best                 welfare of a child by issuing protective orders,
  interest grounds. 11 Trial courts have other                by issuing temporary orders during an appeal,
  statutorily endorsed methods by which to                    by ruling on motions to
  protect children from harm without
  eviscerating section 153.0071(e)'s mandatory                    [411 S.W.3d 457]
  language or reading language into the statute
  under the guise of "interpreting" it.                       modify,   or     through   habeas    corpus
                                                              proceedings, again upon proper motion.la
        The Family Code provides trial courts
  with numerous mechanisms for protecting a                        While instigating any of the protective
  child's physical and emotional welfare, both                measures described above or elsewhere in the
  during and after the pendency of a suit                     Family Code does not allow a trial court to
  affecting the parent-child relationship                     conduct a broad best interest inquiry in ruling
  (SAPCR). For example, a trial court may find                on a motion to enter judgment on an MSA
  it necessa1y to involve a government agency                 under section 153.0071, it may warrant the
  like the Department of Family and Protective                trial court's exercise of discretion to continue
  Services (DFPS), the agency charged with the                the MSA hearing for a reasonable time. This
  duty to investigate and protect endangered                  allows the trial court, upon proper motion, to
  children, before rendering final judgment.                  render any temporary orders that might be
  Specifically, a court "having cause to believe              necessary and to determine whether further
  that a child's physical or mental health or                 protective action should be taken. In the
  welfare has been adversely affected by abuse                event the trial court involves DFPS, a
  or neglect ... shall immediately " notify DFPS              continuance will provide the court with the
  or another appropriate agency. Tex.                         benefit of the resulting investigation.
  Fam.Code § 261.101 (emphasis added); see
  also id. § 261.103. Under these and related                      Finally, we note that the Legislature's
  statutes, when a person has cause to believe                choice to defer to the pa1ties' best interest
  that a child is being or may be harmed by                   determination in the specific context of
  abuse or neglect, a DFPS investigation will be              mediation recognizes that there are
  triggered, regardless of whether a SAPCR is                 safeguards inherent in that particular form of
  pending. Id. § 261.101; id. § 261.301(a) ("The              dispute resolution compared to various other
  investigation shall be conducted without                    methods of amicably settling disputes. is
  regard to any pending suit affecting the                    Under Texas law, "[m]ediation is a forum in
  parent -child relationship."); see also id. §               which an impartial person, the mediator,
  153.0071(g) (stating that the applicability of              facilitates communication between parties to
  the prov1s1ons for confidentiality of                       promote reconciliation, settlement, or
  alternative dispute resolution procedures                   understanding among them." Tex. Civ. Prac.
  "does not affect the duty of a person to report             & Rem.Code § 154.023(a). To qualify for
  abuse or neglect under Section 261.101"). .1.:1 In          appointment by the court as an impartial
  these and similar types of situations, a trial              third party when a case is referred to an
  court may enter temporary orders, temporary                 alternative dispute resolution procedure like
  restraining orders, and temporary injunctions               mediation, a person must meet certain
  to protect a child's safety and welfare, all                requirements for training in alternative
  upon proper motion, before rendering the                    dispute resolution techniques. Id. §
  final order.!3 The trial court may also appoint             154.052(a). To qualify for appointment "in a
  a representative for the child, such as an                  dispute relating to the parent-child




  -
   amicus attorney or an attorney ad ]item. See               relationship," the person must complete
   id. § 107.021. Even after issuing a final order,           additional training "in the fields of family
   a trial court may act to protect the safety and            dynamics, child development, and family
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  law." Id. § 154.052(b). Significantly, all                 whereabouts during her visits with the child,
  participants in the proceeding, "including the             and allowing Benjamin to monitor
  impartial third party," are subject to the                 compliance with the provision.1.1 Compliance
  mandatory DFPS reporting requirements                      with the MSA, then, means the child will have
  discussed above. Id. § 154.053(d). Thus, the               no contact with Scott.
  process itself is geared toward protecting
  children. m                                                      As is relevant to section 153.0071, the
                                                             MSA is signed by the parties and their
     In sum, we hold today that a trial court                lawyers,JJ! and it displays in boldfaced,
  may not deny a motion to enter judgment                    capitalized, and underlined letters that it is
                                                             irrevocable; thus, it meets the statutory
      [411 S.W.3d 458]                                       requirements described in that statute to
                                                             make the agreement binding on Stephanie
  on a properly executed MSA under section                   and Benjamin. SeeTex. Fam.Code §
  153.0071 based on a broad best interest                    153.0071(d). Additionally, the parties admit
  inqui ry. But we certainly do not hold that a              that Benjamin was not a victim of family
  child's welfare may be ignored. Rather, we                 violence, and thus the exception in subsection
  recognize that section 261.101's mandatory                 (e-1) does not apply. The trial court
  duty to report abuse or neglect, the numerous              nevertheless denied the motion to enter
  other statutes authorizing protective action by            judgment on the MSA and set the matter for
  the trial court, and the safeguards inherent in            trial based on the court's conclusion that the
  the mediation process fulfill the need to                  MSA was not in the child's best interest.19
  ensure that children are protected. And they               Because section 153.0071
  do so without subjecting MSAs to an
  impermissible level of scrutiny that threatens                 [411 S.W.3d 459]
  to undermine the benefits of mediation. The
  trial court's authority to continue an MSA                 did not permit the court to do so, the court's
  hearing and to take protective action under                actions were an abuse of discretion.
  the various statutes discussed above is
  triggered not by a determination that an MSA               VI. Additional Response to the Dissent
  is not in a child's best interest, but by
  evidence that a child's welfare is in jeopardy.                 The dissent claims that the Court's
  Thus, the mediation process and its benefits               holding compels trial courts to disregard the
  are preserved, and, most importantly,                      fundamental public policies of protecting
  children are protected.                                    children from harm and acting in their best
                                                             interests. 411 S.W.3d at 486. Nothing could be
           V. The MSA in This Case                           further from the truth. Rather, we are
                                                             respecting the Legislature's well-supported
        The MSA in this case contains a broad                policy determination, reflected in the plain
  range      of       provisions      governing              language of the MSA statute, that courts
  conservatorship of the child, responsibility for           should defer to the parties' determinations
  health insurance and medical expenses for                  regarding the best interest of their children
  the child, child suppo1t, possession of and                when those decisions are made in the context
  access to the child, and allocation of other               of a statutorily compliant MSA. As discussed
  parental rights and duties. Included among                 above, the harmful effects of litigation in
  these is the protective provision enjoining                family disputes are well-documented, leading
  Scott from being within five miles of the child            the Legislature to vigorously promote the
  at all times, requiring Stephanie to provide               avoidance of such litigation. This is
  Benjamin with information on Scott's                       particularly so when the parties reach
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  agreement pursuant to the mediation process,               The dissent's insistence that "nothing in the
  which is itself designed to ensure that                    statute expressly limits a trial comt's
  children are protected. The dissent engages in             authority to decline to enter judgment on a
  a tortured reading of the MSA statute, flouts              properly executed, binding MSA to the family
  well-settled     principles    of    statutory             violence context addressed in section
  interpretation, and ignores the ramifications              153.0071(e-1)" raises the question: why
  of discouraging mediation. And it does so                  include the exception at all? See411 S.W.3d at
  unnecessarily, as our children's welfare can,              477.
  and indeed must, be protected at the same
  time that the mediation process and its                         The dissent dismisses our concern that
  benefits are preserved.                                    allowing statutorily compliant MSAs to be set
                                                             aside on best interest grounds will interfere
       We agree with the dissent that "[s]urely              with the state policy favoring peaceable
  the Legislature did not commit a useless act               resolution of family disputes and will
  in enacting each of more than one hundred                  discourage parties from engaging in
  statutory provisions to assist courts in                   mediation. Id. at 472. We disagree, as
  determining how and when to consider a                     (apparently) did the Legislature in failing to
  child's best interest." 411 S.W.3d at 476.                 include a best interest determination as a
  direction to courts to make best interest                  prerequisite for or barrier to entry of
  determinations in so many other provisions                 judgment on an MSA. Why would parties
  reinforces our interpretation of section                   spend considerable time, effort, and money to
  153.0071, rather than the dissent's, and                   mediate their dispute in accordance with the
  highlights       the      particular     policy            statutory requirements when the trial court
  considerations, discussed at length above,                 could very well decide to hold a full trial on
  underlying enforcement of statutorily                      the merits anyway? The dissent's claim that
  compliant MSAs. The dissent erroneously                    this will happen only in rare cases simply is
  concludes that those provisions support                    not supportable.
  grafting similar language onto section
  153.0071, even though the Legislature chose                     To that end, a trial court's determination
  not to include it. For example, the dissent                that an MSA is not in a child's best interest is
  reads subsection (e-1), the family violence                not dependent upon, or equivalent to, a
  exception, "to allow a trial court to consider             finding that the child has been harmed by
  the terms of a modification when the                       abuse or neglect or is in danger of such harm.
  presumption that MSA parties act in the best               Rather, "best interest" is a term of art
  interest of the child has been negated." Id. at            encompassing a much broader, facts-and­
  473.� But the exception is not nearly as broad             circumstances based evaluation that is
  as the dissent suggests. Instead, the                      accorded significant discretion. See Holley v.
  Legislature carefully identified the specific              Adams, 544 S.W.2d 367, 371-72 (Tex.1976)
  circumstance in which a trial court may                    (identifying nine factors that may be
  override     the     parties'   best   interest            considered in determining best interest).ll
  determinations and decline to enter judgment               Under the dissent's interpretation, the trial
  on an MSA: when a party to the MSA is a                    court would thus have significant leeway, in
  victim of family violence, and the family                  contravention of the statute's intent, to decide
  violence impaired the party's ability to make              when entry of judgment on a statutorily
  decisions.;uTex. Fam.Code§ 153.0071(e-1).                  compliant MSA is or is not appropriate. The
                                                             possibility that this would lead to an increase
                                                             in child-related litigation is very real, as
                                                             parents would be encouraged to contest on
                                                             best interest grounds the very agreements
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  that they freely entered into through                            In this mandamus proceeding, the Court
  mediation. n Even more concerning, parents                  must construe section 153.0071 of the Texas
                                                              Family Code to determine whether the trial
                                                              court abused its discretion by refusing to
                                                              enter judgment on a properly executed
  would be discouraged from using the                         mediated settlement agreement (MSA) and
  mediation process to begin with, out of                     instead setting the matter for trial. Despite
  concern that their agreements could be                      discord on other issues, the opinions make
  ignored and their efforts wasted.                           several matters apparent. First, the Court
                                                              holds that section 153.0071 of the Family
      Ultimately, the dissent's suggestion that               Code prohibits a trial court from conducting a
  enforcing section 153.0071 as written leads to              broad best-interest inquiry at a hearing for
  an absurd result falls flat. If it were indeed the          the purpose of entering judgment on a
  case that our interpretation would leave trial              properly executed MSA.i Second, a different
  courts with no ability to protect a child from              majority of the Court would hold that a trial
  an MSA that put a child's welfare at risk, we               court does not abuse its discretion by refusing
  would agree with that suggestion. But as                    to enter judgment on an MSA that could
  discussed at length above, that simply is not               endanger the safety and welfare of a child-an
  the case, as trial courts have numerous tools               issue on which the remaining four justices
  at their disposal to protect children that                  express no opinion.2 Third,
  operate in conjunction with, rather than in
  opposition to, the mandate in section
  153.0071. ;:,i
                                                              no Justice disputes that trial courts possess a
                   VII. Conclusion                            number of mechanisms to protect children
                                                              from endangerment, such as issuing
       Because the MSA in this case meets the                 temporary orders and contacting the Texas
  Family Code's requirements for a binding                    Department of Family and Protective
  agreement, and because neither party was a                  Services. Finally, a majority of the Court
  victim of family violence, we hold that the                 agrees that if there is evidence of
  trial court abused its discretion by denying                endangerment, an additional mechanism the
  the motion to enter judgment on the MSA.                    trial court possesses to protect the child is to
  Accordingly,     we     conditionally     grant             refuse to enter judgment on the MSA.
  mandamus relief. We order the trial court to
  withdraw its orders denying entry of                             I write separately because although I
  judgment on the MSA and setting the matter                  agree with Court that section 153.0071
  for trial. We are confident that the court will             precludes a broad best-interest inquiry, I also
  comply, and the writ will issue only if it does             believe that it does not preclude an
  not.                                                        endangerment inquiry. The Court fails to
                                                              address the endangerment inquiry, but I
  Justice GUZMAN filed a concurring                           believe the issue is critical because the facts of
  opinion.                                                    this case potentially implicate the inquiry­
  Justice GREEN filed a dissenting                            discussion of which provides much-needed
  opinion, in which Chief Justice                             guidance to trial courts. I agree with the Court
  JEFFERSON, Justice HECHT, and                               that mandamus is appropriate because there
  Justice DEVINE joined.                                      is    legally    insufficient     evidence      of
                                                              endangerment to support the trial court's
  Justice GUZMAN, concurring.                                 decisions to set aside the MSA and place the
                                                              matter on its trial docket. The trial court


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  sustained a hearsay objection to the only
  statement at the hearing that could have
  demonstrated the mother might not comply                 judge that Stephanie allowed her husband-a
  with the MSA (a statement from the father                convicted sex offender-to sleep naked with
  that the mother informed him after signing               Redus's daughter in the bed, tellingly, he did
  the MSA that she did not have to inform him              not repeat this allegation to the trial court.
  of her and her husband's whereabouts). Thus,             And importantly, this record does not
  this record is sparse and does not establish             establish that the trial court considered
  the threshold I believe must be met before a             Redus's prior testimony.
  trial court may disregard legislative policy
  concerning the deference to which MSAs are                   In refusing to enter judgment on the
  entitled. Accordingly, I believe the trial court         MSA, the trial court held, without further
  abused its discretion and therefore join the             explanation, that the MSA was "not in the
  Court's decision to conditionally grant                  best interest of the child [ ]." In addition to
  mandamus relief as well as all but Parts IV              entering an order refusing to enter judgment
  and VI of the Court's opinion. If on remand              on the MSA, the trial court set the entire
  the trial court considers evidence and finds             matter for trial.
  that entry of judgment on the MSA could
  endanger the child, I am certain the trial                                 II. Discussion
  court will take appropriate action.
                                                                  The question in this mandamus
                 I. Background                               proceeding is whether the trial court's orders
                                                             denying the MSA and setting the matter for
       The parties in this case entered into a               trial constitute an abuse of discretion.
  settlement agreement after a lengthy                       Mandamus relief will lie if the relator
  mediation in which they were both                          establishes a clear abuse of discretion for
  represented by counsel. The MSA was                        which there is no adequate appellate remedy.
  memorialized in accordance with section                    In re AutoNation, Inc., 228 S.W.3d 663, 667
  153.0071(d) of the Family Code, which                      (Tex.2007) (orig. proceeding). A trial court
  requires trial courts to enter judgment on a               clearly abuses its discretion if it reaches a
  properly executed MSA notwithstanding any                  decision so arbitrary and unreasonable as to
  other rule of law (unless the MSA was                      constitute a clear and prejudicial error of law.
  procured due to family violence). Tex.                     Walker v. Packer, 827 S.W.2d 833, 839
  Fam.Code§§ 153.0071(d)-(e-1). But, as often                (Tex.1992) (orig. proceeding). Regarding
  happens in family law cases, the agreement                 factual issues, a trial court abuses its
  began to unravel after the parties left the                discretion if it reasonably could only have
  mediation. In fact, this particular agreement              reached one decision. Id. at 84o;see GTE
  began to fall apart during the "prove-up" in               Commc'ns Sys. Corp. v. Tanner, 856 S.W.2d
  front of an associate judge.3                              725, 729 (Tex.1993) (orig. proceeding)
                                                             (granting mandamus relief when no evidence
       The matter was subsequently presented                 supported trial court determination). But a
  to the district court judge, who conducted a               trial court has no discretion in determining
  de novo hearing and expressly indicated she                what the law is or in applying the law to the
  did not have the record from the hearing                   facts, even when an area of the law is
  before the associate judge.<1 The trial court              unsettled. Walker, 827 S.W.2d at 84o;Huie v.
  heard limited evidence and argument from                   DeShazo, 922 S.W.2d 920, 927-28
  the child's mother, Stephanie Lee, and father,             (Tex.1996) (orig. proceeding).
  Benjamin Redus. Although Redus had alleged
  before the associate
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       Here, Stephanie argues that the court's             best-interest inquiry, the Court does not
  refusing to enter judgment on the MSA and                expressly state whether the Family Code
  setting the matter for trial were abuses of              allows a narrow endangerment inquiry.N But
  discretion because section 153.0071 of the               allowing the inquiry places the statute in
  Family Code forecloses a broad best-interest             accord with the Family Code's many
  inquiry. Redus contends that the trial court's           mechanisms to protect the safety and welfare
  actions were proper because the Family Code              of children u and preserves the right of the
  always allows a trial court to examine the best          State, as parens patriae, to intervene when
  interests of the child.                                  parents' decisions could endanger the safety
                                                           and welfare of their children. u
       Our courts of appeals have wrestled with
  precisely what inquiry, if any, section                      Here, however, even assuming the trial
  153.0071 allows.s I agree with the Court that            court's inquiry was a narrow inquiry into
  section 153.0071 in fact forecloses a broad              whether entering judgment on the MSA could
  best-interest inquiry. In doing so, the statute          endanger the child, the dissent and I diverge
  furthers the time-honored "presumption that              as to whether there was legally sufficient
  fit parents act in the best interests of their           evidence of endangerment.
  children" fi and comports with the public
  policy and purpose of mediation by letting the                            III. Application
  parties settle their affairs "as they see fit" -
  keeping those matters out of the courtroom.z                  Applying the above framework, it was an
                                                            abuse of discretion for the trial court to refuse
      But I disagree that this principle alone              the MSA and set the matter for trial because
  resolves this proceeding. I agree with the                no    legally     sufficient     evidence      of
  dissent to the extent it believes that a                  endangerment was admitted at the de

                                                                 [411 S. W.3d 465]

  contextual reading of the Family Code allows             nova hearing. Initially, it is important to note
  a narrow inquiry into whether entering                   the MSA contains an injunction requiring
  judgment on an MSA could endanger the                    Scott Lee, a registered sex offender, to not be
  safety and welfare of a child.llSee Tex. Dep't of        within five miles of the daughter when
  Transp. v. City of Sunset Valley, 146 S.W.3d             Stephanie has possession of her and to inform
  637, 642 (Tex.2004) ("We must read the                   Redus through Stephanie of Scott's
  statute as a whole and not just isolated                 whereabouts during Stephanie's possession.
  portions."). The dissent convincingly argues             As the Court properly observes, "[c]ompliance
  that requiring the trial court to enter a                with the MSA, then, means the child will have
  judgment that could endanger the child                   no contact with Scott." 411 S.W.3d 445, 458.
  would be an absurd result. 411 S.W.3d 445,               Thus, entering judgment on the MSA could
  486 (Green, J., dissenting). It is, in my view,          only endanger the daughter if Stephanie
  not only absurd but also plainly nonsensical             violated the MSA by allowing Scott to violate
  and against public policy to read section                the injunction.
  153.0071 to require a trial court to enter
  judgment on an MSA when presented with                         There was no legally sufficient evidence
  evidence that doing so could endanger the                 admitted at the hearing before the trial court
  child.9See Combs v. Health Care Servs. Corp.,             that Stephanie would violate the MSA by
  401 S.W.3d 623, 630 (Tex.2013); Molinet v.                allowing Scott to violate the injunction. Redus
  Kimbrell, 356 S.W.3d 407, 411 (Tex.2011). In              testified at the hearing that approximately
  holding that the statute forecloses the broad             one week after signing the MSA, Stephanie




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  informed him that "I don't have to tell you               including potential incarceration, for a
  everywhere we go." But the trial court                    violation. And notably, even this testimony
  sustained opposing counsel's hearsay                      itself is not as unequivocal as the dissent
  objection to the statement. Redus did not                 suggests. When specifically asked about
  challenge that ruling on appeal, and neither              Scott's probation violation, Stephanie stated
  side asked Stephanie if she intended to                   that it "was that he was-I had unsupervised
  comply with the MSA. Because on its face the              visitation contact with my daughter," an
  MSA does not endanger the child, and the                  ambiguous statement at best. Later, upon
  trial court heard no legally sufficient evidence
  that entering judgment on the MSA could                         [411 S.W.3d 466]
  endanger the child because Stephanie would
  violate the MSA, mandamus relief is                       direct inquiry as to whether she allowed
  warranted for this particular situation. See              unsupervised visits to occur, Stephanie
   Walker, 827 S.W.2d at 840_13                             responded "[n]o, she has not." Though the
                                                            hearing involved no further inquiry as to this
       The dissent mischaracterizes the record              issue, the dissent interprets this testimony to
  in an attempt to buttress its conclusion that             mean unsupervised contact did occur
  the trial court did not abuse its discretion.             between Stephanie's husband and her
  Specifically, the dissent concludes that "[n]ot           daughter-which is still irrelevant to the MSA.
  only did this mother admit on the record that             411 S.W.3d at 467 & n. 2 (Green, J.,
  she allowed her daughter to have                          dissenting).
  unsupervised visitation with a registered sex
  offender, but her testimony informed the trial                   Finally, it is not uncommon for family
  court that she had helped her husband to                    courts to find themselves at a crossroads
  violate the terms of an existing court order by             between divining the legislature's intent on a
  allowing such contact." 411 S.W.3d at 467                   particular statute and making expedient
  (Green, J., dissenting). The law and the                    decisions regarding the safety and welfare of
  record, however, belie this bold assertion. As              the children entrusted to their judgment.
  to the law, courts must presume pa1ties will                Often, they must interpret statutory language
  comply with their orders, just as we presume                without the benefit of guidance from the court
  that fit parents act in the best interest of their          of last resort. This difficulty is greatly
  children (including when entering into                      heightened by the significant effect family law
  MSAs). .l!!Section 153.0071 enforces these                  decisions have on the daily lives of parties. I
  presumptions unless there is rebutting                      have no doubt that the experienced trial judge
  evidence that entering judgment on the MSA                  in this case-now having the benefit of this
  could endanger the safety and welfare of the                Court's interpretation-v.rill protect the safety
  child. As to the record, Stephanie never                    and welfare of the child within the parameters
  testified whether she would comply with the                 established by the Family Code and
  MSA. The dissent relies upon testimony by                   consistent with legislative policy choices
  Stephanie that it believes indicates she knew               embodied in section 153.0071.
  Scott had violated his probation. 411 S.W.3d
  at 467 & n. 2 (Green, J., dissenting). But this                            IV. Conclusion
  is not evidence that Stephanie would violate
                                                                   In sum, I believe section 153.0071 of the
  the potential court order at issue.
                                                              Family Code precludes a broad best-interest
  Importantly, unlike the probation order­
                                                              inquiry. A trial court may, however, when
  which would not subject Stephanie to
                                                              presented with evidence that entering




   -
   punishment for violations-a judgment on
                                                              judgment on an MSA could endanger the
  this MSA would bind Stephanie to comply
   and subject her to contempt of court,                      safety and welfare of a child, refuse to enter
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  judgment on the MSA. But because the record                 intended otherwise is, I believe, absurd. I
  before us today reveals no legally sufficient               respectfully dissent.
  evidence that entering judgment on the MSA
  could endanger the safety and welfare of the                  I. Facts and Procedural Background
  child, I join all but Parts IV and VI of the
  Court's opinion, as well as its decision that                    Stephanie Lee, mother of a young girl,
  conditional mandamus relief is warranted.                   knew when she started dating Scott Lee that
  See Walker, 827 S.W.2d at 840.                              he was a convicted sex offender. She later
                                                              married the sex offender. Despite knowing
  Justice GREEN,joined by Chief Justice                       the     conditions    of    Scott's    deferred
  JEFFERSON, Justice HECHT, and                               adjudication, which apparently prohibited
  Justice DEVINE, dissenting.                                 him from being around children, she allowed
                                                              her daughter to be in his presence. She
       The Court holds that a trial court cannot              allowed Scott to live with her and her
  deny a motion to enter judgment on a binding                daughter, knowing that it violated the terms
  mediated settlement agreement (MSA) to                      of his probation. She allowed her daughter to
  modify child custody, possession, or access                 have unsupervised contact with Scott,
  based on a broad inquiry into the child's best              knowing that it violated his probation.�
  interest. 411 S.W.3d at 482. Although the                   Moreover, Benjamin Redus, the child's father,
  Court tries to distinguish between this case­               testified before the associate judge that
  in which the trial court stated on the record               Stephanie had allowed her daughter to sleep
  that it was not in the best interest of the child           in the bed between her and Scott, who was
  to approve the MSA-and a case in which                      naked. 3 Not only did this mother admit on the
  modification pursuant to an MSA could                       record that she allowed her daughter to have
  endanger a child, here it is a distinction                  unsupervised visitation with a registered sex
  without a difference. Whether the trial court               offender, but her testimony informed the trial
  calls its grounds "best interest" or                        court that she had helped her husband to
  "endangerment," the bottom line is the                      violate the terms of an existing court order by
  same-the trial court, having heard testimony                allowing such contact.
  of the parties, refused to adopt the parents'
  agreed modification that it believed would                       After additional probation conditions
  subject the child to exposure to a registered               were imposed on Scott following his
  sex offender. The Legislature has made the                  probation violations, the child went to live
  policy of this state clear: "The best interest of           with her father. Benjamin later filed a petition
  the child shall always be the primary                       to modify the parent-child relationship,
  consideration of the court in determining the               alleging that circumstances had materially
  issues of conservatorship and possession of                 and substantially changed because Stephanie
  and access to the child." Tex. Fam.Code §                   had voluntarily relinquished the primary care
  153.002 (emphasis added). I would hold that                 and possession of the child to him for more
  under Texas Family Code section 153.0071,                   than six months. SeeTex. Fam.Code §§
  and the Family Code as a whole, a trial court               156.101, ,401. Benjamin asserted that
  has discretion to refuse to enter judgment on               Stephanie's "poor parenting decisions ... have
  a modification pursuant to an MSA that could                placed our daughter in danger" and that
  endanger the child's safety and welfare and is,             Stephanie had "a history or pattern of child
  therefore, not in the child's best interest. 1 To           neglect directed against [the child]." He
  suggest that the Legislature                                requested that the court limit Stephanie's
                                                              possession and access and grant her only
                                                              supervised visitation, and he sought to enjoin



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   Stephanie from allowing Scott to be within              Benjamin, determined that the MSA was not
   twenty miles of the child.                              in the best interest of the child and denied
                                                           Stephanie's motion to enter judgment on the
      Benjamin and Stephanie ultimately                    MSA. The court then set the case for a full
  entered into an MSA reflecting their agreed              evidentiary trial.
  modification of the initial order that
  established custody and possession. The MSA                 II. Section 153.0071 and the Family
  gave Benjamin the exclusive right to                                        Code
  designate the primary residence of the child­
  a right previously afforded Stephanie-and                     This case presents a single issue of first
  allowed Stephanie periodic, unsupervised                 impression: Does section 153.0071 of the
  possession of the child. Additionally, the MSA           Texas Family Code allow a trial court any
  contained a provision directed at Scott, who             discretion to refuse to enter judgment on an
  did not attend the mediation and was not a               MSA that seeks to modify an existing court
  party to the suit or the MSA:                            order pertaining to possession, access, or
                                                           conservatorship of a child when the MSA
       At all times[,] Scott Lee is enjoined from          complies with the statutory prerequisites but
  being within 5 miles of [the daughter]. During           the court determines that the MSA endangers
  the mother's periods of possession with [the             the child's safety and welfare and, thus, is not
  daughter], Scott Lee shall notify [Benjamin]             in the child's best interest? I believe it does.
  through Stephanie Lee by e-mail or other
  mail where he shall be staying ... [a]nd the                        A. Statutory Provisions
  make and model of the vehicle he will be
  driving. This shall be done at least 5 days                   Since at least 1935, Texas statutes have
  prior to any visits. [Benjamin] shall have the           reflected the policy of this state to ensure that
  right to have an agent or himself monitor                trial courts protect minor children's best
  [Scott] Lee's location by                                interests. See Act of May 15, 1935, 44th Leg.,
                                                           R.S., ch. 39, § 1, 1935 Tex. Gen. Laws 111, 112
       [411 S.W.3d 468]                                    (providing that the trial court "shall make
                                                           such orders regarding the custody and
  either calling or driving by the location at             support of each such [minor] child or
  reasonable times.                                        children, as is for the best interest of same");
                                                           Act of May 25, 1973, 63d Leg., R.S., ch. 543, §
       Although both Benjamin and Stephanie                1, sec. 14.07(a), 1973 Tex. Gen. Laws 1411,
  maintained that the MSA was in the child's               1425 ("The best interest of the child shall
  best interest when the MSA was presented to              always be the primary consideration of the
  the associate judge for entry of judgment, the           court...."). Section 153.002 of the Texas
  associate judge refused to accept the MSA.               Family Code describes this overarching
  Benjamin later requested to withdraw his                 policy: "The best interest of the child shall
  consent to the MSA, stating that he believed it          always be the primary consideration of the
  was not in the best interest of his daughter.            court in determining the issues of
  He testified before the district court that he           conservatorship and possession of and access
  no longer believed the agreement was in his              to the child." Tex. Fam.Code § 153.002
  daughter's best interest and that when he                (emphasis added). In suits affecting the
  signed the MSA, he was under the impression              parent-child relationship, it is the public
  that Scott was still under probation guidelines          policy of the State of Texas to:
  and was going to move, which had not
  happened. The district court, which heard                   (1) assure that children will have frequent
  only brief testimony from Stephanie and                  and continuing contact with parents who




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  have shown the ability to act in the best                      (c) On the written agreement of the
  interest of the child;                                    parties or on the court's own motion, the
                                                            court may refer a suit affecting the parent­
      (2) provide a safe, stable, and nonviolent            child relationship to mediation.
  environment for the child; and
                                                                (d) A mediated settlement agreement is
      (3) encourage parents to share in the                 binding on the parties if the agreement:
  rights and duties of raising their child after
  the parents have separated or dissolved their                     (1) provides, in a prominently displayed
  marriage.                                                    statement that is in boldfaced type or capital
                                                               letters or underlined, that the agreement is
  Id. § 153.001(a) (emphasis added).                           not subject to revocation;

                                                                   (2) is signed by each party to the
                                                               agreement; and
       Texas statutes also reflect the state's
  general public policy "to encourage the                           (3) is signed by the party's attorney, if
  peaceable resolution of disputes, with special               any, who is present at the time the agreement
  consideration given to disputes involving the                is signed.
  parent-child relationship, including the
  mediation        of      issues      involving                    (e) If a mediated settlement agreement
  conservatorship, possession, and support of                  meets the requirements of Subsection (d), a
  children, and the early settlement of pending                party is entitled to judgment on the mediated
  litigation through voluntary settlement                      settlement agreement notwithstanding Rule
  procedures." Tex. Civ. Prac. & Rem.Code §                    11, Texas Rules of Civil Procedure, or another
  154.002. Advancing that policy, the                          rule of law.
  Legislature enacted Texas Family Code
  section 153.0071 to address the resolution of                    (e-1) Notwithstanding Subsections (d)
  suits affecting the parent-child relationship,               and (e), a court may decline to enter a
  providing in pertinent part:                                 judgment on a mediated settlement
                                                               agreement if the court finds that:
       [411 S.W.3d 469]
                                                                   (1) a party to the agreement was a victim
        (a) On written agreement of the parties,               of family violence, and that circumstance
   the court may refer a suit affecting the parent­            impaired the party's ability to make decisions;
   child relationship to arbitration. The                      and
   agreement must state whether the arbitration
   is binding or non-binding.                                      (2) the agreement is not in the child's
                                                               best interest.
        (b) If the parties agree to binding
   arbitration, the court shall render an order                Tex. Fam.Code § 153.0071. <1 When first
   reflecting the arbitrator's award unless the                enacted in 1995, section 153.0071 addressed
   court determines at a non-jury hearing that                 resolution of both dissolution-of-marriage
   the award is not in the best interest of the                cases and suits affecting the parent-child
   child. The burden of proof at a hearing under               relationship, but in 1997 the Legislature
   this subsection is on the party seeking to                  enacted Family Code section 6.602 to address
   avoid rendition of an order based on the                    alternative dispute resolution in divorce cases
   arbitrator's award.                                         and limited section 153.0071 to suits affecting
                                                               the parent-child relationship. See Act of May

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  26, 1995, 74th Leg., R.S., ch. 751, § 27, sec.            fundamental best interest consideration
  153.0071, 1995 Tex. Gen. Laws 3888, 3899;                 required by section 153.002 and the
  Act of April 7, 1997, 75th Leg., R.S., ch. 7, § 1,        overarching public policies set forth in section
  sec. 6.602, 1997 Tex. Gen. Laws 8, 31-32; Act             153.001 to ensure the safety and welfare of
  of April 7, 1997, 75th Leg., R.S., ch. 937, § 3,          children. SeeTex. Fam.Code §§ 153.001, .002,
  sec. 153.0071(f), 1997 Tex. Gen. Laws 2941,               .0071.
  2941. In 2005, the Legislature added the
  family violence provision in 153.0071(e-1),                 1. "Entitled to Judgment" Should Not
  expressly recognizing a trial court's role in                        Be Read As Absolute
  considering the best interest of a child when
  presented with an MSA. Act of June 18, 2005,                   I agree that section 153.0071 does not
  79th Leg., R.S., ch. 916, § 7, sec. 153.0071(e-           require a trial court to determine that an MSA
  1), 2005 Tex. Gen. Laws 3148, 3150.                       is in a child's best interest before entering
                                                            judgment on an MSA. This makes sense
                                                            because trial courts will generally delegate to
       B. Analysis of Section 153.0071                      parties entering an MSA the role of ensuring
                                                            that the child's best interest is protected. See
       Stephanie contends that she is "entitled             id. § 151.001(a)(2) ("A parent of a child has
  to judgment" on the MSA because the                       the following rights and duties ... the duty of
                                                            care, control, protection, and reasonable
                                                            discipline of the child...."). As we explained in
                                                            Miller ex rel. Miller v. HCA, Inc.:
  MSA        meets      section      153.0071(d)'s
  prerequisites and the family violence                           The law's concept of the family rests on a
  provision set forth in section 153.0071(e-1)              presumption that parents possess what a
  does not apply. SeeTex. Fam.Code §                        child lacks in maturity, experience, and
  153.0071(d), (e), (e-1). I do not disagree that           capacity for judgment required for making
  this MSA is binding on the parties or that the            life's difficult decisions. More important,
  family violence provision does not apply in               historically it has recognized that natural
  this case, but the Court's statutory analysis             bonds of affection lead parents to act in the
  must not end there. We construe statutes as a             best interests of their children.
  whole, not as isolated provisions. See, e.g.,
  Tex. Dep't ofTransp. v. City of Sunset Valley,                The Texas Legislature has likewise
  146 S.W.3d 637, 642 (Tex.2004). We take                   recognized that parents are presumed to be
  into consideration the statutory context.                 appropriate decision-makers ....
  Molinet v. Kimbrell, 356 S.W.3d 407, 411
  (Tex.2011) ("The plain meaning of the text is             118 S.W.3d 758, 766 (Tex.2003) (internal
  the best expression of legislative intent unless          citations omitted); see In re Derzapf, 219
  a different meaning is apparent from the                  S.W.3d 327, 333 (Tex.2007) (recognizing that
  context or the plain meaning leads to absurd              the Legislature amended the grandparent
  or nonsensical results."); Tex. Lottery                   access statute following the United States
  Comm'n v. First State Bank of DeQueen, 325                Supreme Court's plurality opinion in Troxel v.
  S.W.3d 628, 635 (Tex.2010) ("We rely on the               Granville, 530 U.S. 57, 68, 120 S.Ct. 2054,
  plain meaning of the text as expressing                   147 L.Ed.2d 49 (2000), to provide that "a trial
  legislative intent unless a different meaning is          court must presume that a fit parent acts in
  supplied by legislative definition or is                  his or her child's best interest"). Trial courts,
  apparent from the context ...."). When                    therefore, should refrain from performing a
  analyzing the plain language of section                   broad best interest inquiry or conducting a
  153.0071, the Court cannot ignore the                     full evidentiary hearing on every MSA




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  presented. The question here is what happens              are particularly vulnerable, and Texas family
  when the trial court believes, based on                   law, as a whole, seeks to address the needs
  evidence, that the parties have entered into an           and interests of those children, who generally
  MSA without safeguarding the child's best                 do not have a voice in the legal system and
  interest. Can the presumption that parties act            often cannot fully exercise their legal rights
  in the child's best interest, and protect the             and advocate for their interests. See, e.g.,
  child's safety and welfare, be rebutted or                Miller, 118 S.W.3d at 766 ("The State's role as
  negated? And does the Family Code, in that                parens patriae permits it to intercede in
  situation, allow the trial court to ensure that           parental decision-making under certain
  the child's safety and welfare are protected by           circumstances .... The Texas Legislature has
  refusing to enter judgment on an MSA that                 acknowledged the limitations on parental
  places the child in danger? I believe the                 decision-making."); In re A. V., 113 S.W.3d
  answer to both questions is yes.                          355, 361 (Tex.2003) (recognizing that courts
                                                            cannot ignore section 153.001's remedial
                                                            purpose of protecting abused and neglected
                                                            children, even in parental rights termination
       Section 153.0071(e) states that if an MSA            proceedings). The Family Code's many best
  satisfies the prerequisites of 153.0071(d), "a            interest provisions reflect this state's policy
  party is entitled to judgment                             that children's interests are to be paramount
                                                            in legal proceedings, and that judges have the
       [411 S.W.3d 471]                                     power      to   safeguard     children from
                                                            endangerment. See, e.g., In re E.R., 385
  on the [MSA] notwithstanding Rule 11, Texas               S.W.3d 552, 555 (Tex.2012) (referring to the
  Rules of Civil Procedure, or another rule of              "State's responsibility to promote the child's
  law." Tex. Fam.Code§ 153.0071(e). The Court               best interest" and recognizing that although
  implies that "entitled to judgment" is                    "a parent must remain vigilant with respect to
  absolute, making the presumption that                     her child's welfare, ... courts must always
  parties act in a child's best interest                    consider the child's best interest" (emphasis
  irrebuttable and disallowing a trial court                added));
  discretion to reject an MSA that jeopardizes a
  child's safety and welfare.s But when read in
  context and in harmony with other statutory
  provisions, I cannot conclude that the                    Miller, 118 S.W.3d at 766 ("Of course, this
  Legislature intended such an absurd result.               broad grant of parental decision-making
  See Molinet, 356 S.W.3d at 411 (recognizing               authority is not without limits."). Although
  that a statute's plain language is the best               "the emotional and physical danger to the
  indicator of the Legislature's intent, "unless a          child now and in the future" is but one factor
  different meaning is apparent from the                    we listed as pertinent to a best interest
  context or the plain meaning leads to absurd              determination, see Holley v. Adams, 544
  or nonsensical results").                                 S.W.2d 367, 371-72 (Tex.1976), surely a
                                                            custody, possession, or access arrangement
        Woven throughout the Family Code is the             that endangers a child's safety and welfare is
   clearly defined policy of this state that courts         not in the child's best interest and, thus,
   must ensure protection of a child's best                 should not be adopted as the court's
   interest. SeeTex. Fam.Code §§ 153.001-.002.              judgment.
   More than one hundred sections of the
   Family Code contain specific provisions to                   The Family Code provision governing
   protect children's best interests.fl Indeed,             modification of orders for custody,
   children who are the subject of custody cases            possession, access, and determination of
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  residence reflects this state policy favoring              family disputes through alternative dispute
  judicial authority to protect children's best              resolution (ADR) procedures, seeTex. Civ.
  interests. Section 156.101 provides, m                     Prac. & Rem.Code § 154.002, allows a trial
  pertinent part:                                            court to enter judgment on an MSA for
                                                             modification without a best interest
       The court may modify an order that                    determination. But the statute does not
  provides for the appointment of a conservator              require trial courts to always enter judgment
  of a child, that provides the terms and                    on binding MSAs without considering a
  conditions of conservatorship, or that                     child's best interest, as the Court's opinion
  provides for the possession of or access to a              suggests. In fact, the statute expressly
  child if modification would be in the best                 authorizes consideration of a child's best
  interest of the child and:                                 interest in some MSA cases. SeeTex.
                                                             Fam.Code       §     153.0071(e-1).    Section
      (1) the circumstances of the child, a                  153.0071(e-1), enacted a decade after the
  conservator, or other party affected by the                other MSA provisions, allows a trial court to
  order have materially and substantially                    consider a child's best interest when a party
  changed since ...                                          to an MSA was a victim of family violence,
                                                             which impaired that party's decision-making
      (A) the date of the rendition of the order;            ability. See id. "Family violence," as used in
                                                             the Family Code, includes a threat that
                                                             reasonably places the party or a household
      ... or                                                 member "in fear of imminent physical harm,
                                                             bodily injury, assault, or sexual assault." Id.
      (3) the conservator who has the exclusive
                                                             §§ 71.004(1), 101.0125. The family violence
  right to designate the primary residence of
                                                             provision in section 153.0071(e-1) makes
  the child has voluntarily relinquished the
                                                             sense only when read to mean that (1) a
  primary care and possession of the child to
                                                             party's impaired judgment resulting from
  another person for at least six months.
                                                             physical violence or the threat of violence
                                                             negates the presumption that the parties
  Tex. Fam.Code § 156.101 (emphasis added).
                                                             acted in the child's best interest in entering
  Nothing in section 156.101 addresses the
                                                             the MSA, and (2) the trial court can therefore
  processes through which modification terms
  can be reached, but regardless of whether                  look beyond the face of the MSA and consider
  those terms reflect a party agreement as                   whether the terms and
  expressed in a Rule 11 agreement, agreed
                                                                 [411 S.W.3d 473]
  parenting plan, or MSA, or are the product of
  binding arbitration or a full evidentiary                  provisions of the agreement are, in fact, in the
  hearing, the result is the same-the trial court            best interest of the child. If the trial court
  modifies the terms of an earlier order that                determines that, despite family violence and
  provided for conservatorship, possession,                  impaired judgment, the MSA is in the child's
  access, or determination of residence. Section             best interest, the court must enter judgment
  156.101 requires that a trial court modify such            on the MSA. But if the agreement is not in the
  an order only when it would be in the child's
                                                             child's best interest, the trial court can reject
  best interest.                                             the agreement. Had the Legislature used "or"
                                                             instead of "and" between the two parts of that
                                                             family violence provision, a trial court would
                                                             be able to reject an MSA simply because a
       Section 153.0071, which reflects the state
                                                             parent was induced by family violence to
  policy favoring the peaceable resolution of
                                                             enter into an MSA. But by using "and," the
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  Legislature affirmed that the court's                          (d) The court may not allow a parent to
  paramount concern, even in the case of MSAs               have access to a child for whom it is shown by
  obtained through family violence, is the                  a preponderance of the evidence that there is
  child's best interest.z Although there is no              a history or pattern of committing family
  indication that the family violence provision             violence during the two years preceding the
  in section 153.0071(e-1) applies here, I                  date of the filing of the suit or during the
  believe that this last-enacted part of section            pendency of the suit, unless the court:
  153.0071 indicates the will of the Legislature
  to allow a trial court to consider the terms of a                 finds that awarding the parent access
                                                                  (1)
  modification when the presumption that MSA                to the child would not endanger the child's
  parties act in the best interest of the child has         physical health or emotional welfare and
  been negated. I further believe that section              would be in the best interest of the child; and
  153.0071, in the context of the Family Code as
  a whole, affords a trial court discretion to                  (2) renders a possession order that is
  decline to enter judgment on a modification               designed to protect the safety and well-being
  pursuant to an MSA when the court                         of the child and any other person who has
  determines that it threatens a child's safety             been a victim of family violence committed by
  and welfare and is therefore not in the child's           the parent and that may include a
  best interest. SeeTex. Gov't Code § 311.025               requirement that:
  (instructing that when statutes or statutory
  amendments are irreconcilable, those statutes                   (A) the periods of access be continuously
  or amendments enacted latest prevail).                     supervised by an entity or person chosen by
                                                             the court; ....
       Allowing trial court discretion to consider
  the terms of an MSA in rare cases such as this                 (e) It is a rebuttable presumption that it
  comports with section 153.004 of the Family               is not in the best interest of a child for a
  Code, which allows a trial court to protect a             parent to have unsupervised visitation with
  child's safety and welfare in family violence             the child if credible evidence is presented of a
  cases by hearing evidence to ensure that a                history or pattern or past or present child
  parent is granted access to a child only when             neglect or physical or sexual abuse by that
  it would not endanger the child and would be              parent directed against the other parent, a
  in the child's best interest. Section 153.004             spouse, or a child.
  states, in relevant part:
                                                             Tex. Fam.Code § 153.004 (emphasis added).
       (b) The court may not appoint joint                   Although some of the language of section
   managing conservators if credible evidence is             153.004 is directed at the acts of a parent,
   presented of a history or pattern of past or              "family violence" is defined more broadly in
   present child neglect, or physical or sexual              the Family Code, to include:
   abuse by one parent directed against the
   other parent, a spouse, or a child....

       (c) The court shall consider the                          (1) an act by a member of a family or
   commission of family violence in determining              household against another member of the
   whether to deny, restrict, or limit the                   family or household that is intended to result
   possession of a child by a parent who is                  in physical harm, bodily injury, assault, or
   appointed as a possesso1-y conservator.                   sexual assault or that is a threat that
                                                             reasonably places the member in fear of
       [411 S.W.3d 474]                                      imminent physical harm, bodily injury,
                                                             assault, or sexual assault ... [or]
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       (2) abuse, as that term is defined by               Id. (emphasis added). Under the CLA, the
  Sections 261.001(1)(C), (E), and (G), by a               collaborative family law process concludes by
  member of a family or household toward a                 "resolution of a ... signed record," presumably
  child of the family or household.                        meaning a signed settlement agreement. See
                                                           id. § 15.102(c)(1). However, a collaborative
  Id. §§ 71.004(1) (emphasis added), 101.0125.             process does not conclude "if, with the
  The definition of "abuse" in section                     consent of the parties to a signed record
  261.001(1)(C) includes "physical injury that             resolving all or part of the collaborative
  results in substantial harm to the child, or the         matter, a party requests a tribunal to approve
  genuine threat of substantial harm from                  a resolution of the collaborative family matter
  physical mJury to the child." Id. §                      or any part of that matter as evidenced by a
  261.001(1)(C) (emphasis added). Taken                    signed record." Id. § 15.102(h). So when
  together, it is nonsensical and absurd to read           parties present a signed settlement agreement
  section 153.0071 as requiring a trial court to           to a trial court judge for approval or entry of
  enter a judgment that section 153.004                    judgment, the court has authority to issue an
  prohibits a trial court from entering,                   emergency order to protect the safety or
  especially in light of the specific directive that       welfare of the children. The CLA thus
  "[t]he best interest of the child shall always be        confirms the Legislature's intent that trial
  the primary consideration of the court in                courts are to protect children from harm and
  determining the issues of conservatorship and            protect their best interests, even when
  possession of and access to the child." Id. §            children are placed at risk of harm by an
  153.002; see alsoJose Carreras, M.D., P.A. v.            agreement reached by the parties through a
  Marroquin, 339 S.W.3d 68, 73 (Tex.2011)                  collaborative process.
  (recognizing that this Court "interpret [s]
  statutes to avoid an absurd result").

                                                                 I read section 153.0071, in the broader
                                                            context of the family violence provision and
       In the recently-enacted Collaborative                the Family Code as a whole, as allowing a trial
  Law Act (CLA), which contains a provision                 court discretion in rare cases such as this to
  very similar to section 153.0071(e) but is not            consider the terms of an MSA before issuing a
  implicated in this case, the Legislature                 modification order, when evidence negates
  expressly authorized trial courts to issue                the presumption that the parties acted in the
  emergency orders to protect children's                   child's best interest when negotiating or
  welfare, despite the fact that the parties are            agreeing to an MSA. This reading gives effect
  engaging in a collaborative process to avoid              to the state policy favoring amicable, efficient
  litigation. SeeTex. Fam.Code § 15.104. Section           resolution of disputes through ADR, while
  15.104 of the Family Code provides:                       also giving effect to the state policy ensuring
                                                            protection of children's best interests in
       During a collaborative family law                    custody, possession, and access cases. SeeTex.
  process, a tribunal may issue an emergency                Fam.Code§§ 153.001-.002, 156.101; Tex. Civ.
  order to protect the health, safety, welfare, or          Prac. & Rem.Code § 154.002; see also
  interest of a party or a family, as defined by            Gillespie v. Gillespie, 644 S.W.2d 449, 451
  Section 71.003. If the emergency order is                 (Tex.1982) ('The trial court is given wide
  granted without the agreement of all parties,             latitude in determining the best interests of a
  the granting of the order terminates the                  minor child."); Leonard v. Lane, 821 S.W.2d
  collaborative process.                                    275, 277 (Tex.App.-Houston [1st Dist.] 1991,
                                                            writ denied) ("The court has the right to act in
      [411 S.W.3d 475]                                      the best interest of the child, notwithstanding
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   any agreements of the parties."). Moreover,            interest" outside the expression of the state's
   this construction of the statute harmonizes            policy in sections 153.001 and 153.002 is
   provisions of the Family Code to streamline            surplusage; rather, I read the "best interest"
   resolution of disputes in most suits affecting         provisions in section 153.0071(e-1) and
   the parent-child relationship, while allowing          elsewhere in the Family Code as guidance to
   trial courts to safeguard children's welfare in        courts implementing the overarching policy
   rare cases where parents or caregivers cannot          directive expressed in sections 153.001 and
   be trusted to do so. In this case, Stephanie,          153.002. Surely the Legislature did not
   who would be given unsupervised possession             commit a useless act in enacting each of more
   under the MSA, testified that she dated and            than one hundred statutory provisions to
   then married a man she knew to be a                    assist courts in determining how and when to
   convicted sex offender, and testified that she         consider a child's best interest.BSee Tex.
   allowed him to live with her and her young             Lottery Comm'n, 325 S.W.3d at 637 ("Courts
   daughter and allowed him unsupervised                  'do not lightly presume that the Legislature
   contact with the child, both in violation of his       may have done a useless act.' " (quoting
   probation restrictions. Although the MSA               Liberty Mut. Ins.         Co.   v. Garrison
   contains provisions requiring Scott to stay            Contractors, Inc., 966 S.W.2d 482, 485
   away from the child during Stephanie's                 (Tex.1998))). No, the Legislature continues to
   periods of possession, I question the                  enact provisions using "best interest" to
   enforceability of those provisions against             further the clearly defined policy of the state
   either Stephanie, whose agreement purports             that best interest always be the court's
   to bind a non-party, or Scott, who did not             primary consideration, and that trial courts
   agree to those provisions and is not a party to        are to protect the safety and welfare of
   the lawsuit. I cannot join the Court in                children.
   concluding that the trial court here abused its
   discretion by refusing to enter judgment on                  As further support for its construction,
   the MSA and ordering a full evidentiary                 the Court points to the arbitration provision
   hearing. Nor can I agree with the concurrence           in section 153.0071(b), which allows a trial
   that the trial court abused it discretion               court to consider the best interest of the child
   because the evidence of endangerment was                before entering judgment on an arbitrator's
   insufficient. See411 S.W.3d at 464-65.                  award, as indicating that the Legislature knew
                                                           how to authorize courts to refuse to enter
        The Court takes the position that                 judgment on best interest grounds but chose
   recognizing a trial court's discretion to               not to do so for MSAs. See411 S.W.3d at 473. I
   consider an MSA's terms in some MSA cases               read the Legislature's language in section
   renders the family violence provision in                153.0071(b) as wholly consistent with the
   section 153.0071(e-1), as well as other                 Family Code's overarching policy that comts
   statutory provisions mentioning children's              have discretion to protect the best interests of
   best interests, mere surplusage. See id. at             children, and not inconsistent with section
   453;Jn re Caballero, 272 S.W.3d 595, 599                153.0071(e), under which courts generally
   (Tex.2008) (instructing that "we 'give effect           presume that MSA parties have ensured that
   to all [a statute's] words and, if possible, do         an MSA is in the child's best interest. In the
   not treat any statutory language as                     rare instance that the evidence before the trial
                                                           court negates that presumption, however, I
                                                           believe the Family Code gives the court
                                                           discretion to consider whether a proposed
   mere surplusage'       (quoting State v.                modification could place a child's safety or
   Shumake, 199 S.W.3d 279, 287 (Tex.2006))).              welfare at risk and thus not be in the child's
   I do not accept that use of the term "best              best interest, just as the comt has discretion
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  to consider whether an arbitration award is in           best interest of the child shall always be" a
  a child's best interest. Under the MSA                   court's "primary consideration"           when
  between Stephanie and Benjamin, any                      "determining the issues of conservatorship
  disputes     regarding     interpretation    or          and possession of and access to the child,"
  performance of the agreement or its                      and (2) in section 153.001-the state's public
  provisions are to be decided by binding                  policy to "provide a safe, stable, and
  arbitration conducted by the mediator, 9                 nonviolent environment for the child." See411
  which the trial court could then review on               S.W.3d at 468. But nothing in the statute
  best interest grounds pursuant to section                expressly overrides either the Family Code's
  153.0071(b). It seems nonsensical to                     fundamental requirement that the court act in
  conclude, as the Court does, that the trial              a manner consistent with the child's best
  court cannot consider the child's best interest          interest or the express best interest provision
  at the MSA stage but could consider the                  for modifications in section 156.101. In
  child's best interest only after an arbitration          addition, nothing in the statute expressly
  award deciding issues relating the entry,                limits a trial court's authority to decline to
  interpretation, or performance of the MSA.lll            enter judgment on a properly executed,
                                                           binding MSA to the family violence context
      To be clear, I would not hold that a trial           addressed in section 153.0071(e-1).
  court can refuse to enter judgment on an MSA
  based on any one of the factors we listed in                  Although the Court cites our recent
  Holley v. Adams as pertinent to a                        opinion in Molinet v. Kimbrell, 356 S.W.3d
                                                           407 (Tex.2011), as support for its
                                                           construction, we have never construed the
                                                           precise language in section 153.0071(e).
  best interest determination. See544 S.W.2d at            See411 S.W.3d at 450-51. In Molinet, we
  371-72. That issue is not before us in this              considered a limitations statute that applied
  case,11 as here we must decide only whether a            "[n]otwithstanding any other law," where a
  trial court has discretion to reject an MSA              separate conflict-of-laws provision stated that
  that the trial court determines, based on                in the event of a conflict, the chapter
  evidence, places a child's safety and welfare in         containing the limitations statute prevails.
  danger and, consequently, cannot possibly be             See356 S.W.3d at 411-15. We held that the
  in the child's best interest. I would hold that,         limitations statute conflicted with a separate
  under the unusual facts of this case, the trial          statute regarding joining persons designated
  court did not abuse its discretion by declining          as responsible third parties, and that the
  to enter judgment on the MSA that provides               Legislature resolved the conflict in favor of
  Stephanie unsupervised visitation and                    the limitations statute. See
  contains protective provisions directed only at
  Scott, who is not a party to the agreement or                 [411 S. W.3d 478)
  the lawsuit.
                                                           id. at 413. That analysis offers little guidance
   2. "Notwithstanding ... Another Rule of                 here, where the statutory language differs
       Law" Should Be Read Narrowly                        significantly and there is no conflict-of-laws
                                                           provision to help resolve any conflict.
      The Court reads "notwithstanding
  another rule of law" in section 153.0071(e)                  The       Court   equates     Molinet     's
  broadly, as evidencing legislative intent that           "[n]otwithstanding any other law ...,"
  cases involving binding MSAs be excepted                 language with the language at issue in this
  from the overarching public policy interests             case: "... notwithstanding Rule 11, Texas Rules
  embodied (1) in section 153.002-that "[t]he              of Civil Procedure, or another rule of law."




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  See411 S.W.3d at 454. But we cannot presume              before the trial court and independently
  that the Legislature used the different terms            resolve other matters in a pending lawsuit
  interchangeably. See Spradlin v. Jim Walter              through      properly     executed     written
  Homes, Inc., 34 S.W.3d 578, 580 (Tex.2000)               agreements. Tex.R. Civ. P. 11 ("Unless
  ("[W]e ... must presume that the Legislature             otherwise provided in these rules, no
  chose its words carefully...." (citing City of           agreement between attorneys or parties
  Beaumont v. Bouillion, 896 S.W.2d 143, 148               touching any suit pending will be enforced
  (Tex.1995))). In fact, we "presume the                   unless it be in writing, signed and filed with
  Legislature selected language in a statute with          the papers as part of the record, or unless it
  care and that every word or phrase was used              be made in open court and entered of
  with a purpose in mind." Tex. Lottery                    record."); see also Fortis Benefits v. Cantu,
  Comm'n, 325 S.W.3d at 635. Although                      234 S.W.3d 642, 651 (Tex.2007); Padilla v.
  "another" can mean simply "an additional," it            Lafrance, 907 S.W.2d 454, 459-61
  seems more likely in the context of section              (Tex.1995). If a party to a settlement
  153.0071(e) that the Legislature used                    agreement-typically a Rule 11 agreement­
  "another" to mean "one more person or thing              withdrew consent before the trial court
  of the same type as before." See Another                 entered judgment, the other party could
  De.finition,MacmillanDictionary.com, http://             enforce the agreement only as any other
  www.       macmillan       dictionary.    com/           contract, by filing a separate breach-of­
  dictionary/ british/ another (last visited               contract suit. See Calderon, 96 S.W.3d at 718.
  Sept. 18, 2013); Another Definition,                     With the enactment of section 153.0071 and
  OxfordDictionaries.com,       http://    oxford          the later enactment of section 6.602 for
  dictionaries.          com/           american           resolution of divorce disputes, the Legislature
  english/another?q=another (last visited Sept.            created a procedural shortcut to eliminate the
  18, 2013) (defining "another" as "used to refer          requirement of a separate suit for
  to an additional person or thing of the same             enforcement of MSAs when a party
  type as one already mentioned or known                   repudiates the agreement, instead allowing
  about; one more; a further"); see also In re             the opposing party to easily seek enforcement
   Hall, 286 S.W.3d 925, 929 (Tex.2009)                    of, and judgment on, an MSA that meets the
  (explaining that "if a different, more limited,          statutory prerequisites, without a separate
  or precise definition is apparent from the               breach-of-contract suit. See id. ("[W]e hold
  term's use in the context of the statute, we             that the phrase 'notwithstanding
  apply that meaning," and applying the second
  dictionary definition of "detention"). I would
  construe "another rule of law" with reference
  to section 153.0071(e)'s preceding clause,              Rule 11, Texas Rules of Procedure or another
  "Rule 11 of the Texas Rules of Civil                     rule of law' in section 153.0071(e) means that
  Procedure."                                              Rule 11, Chapter 154 of the Texas Civil
                                                          Practice and Remedies Code, and general
       Prior to the enactment of ADR provisions            contract law, insofar as they apply to the
   in section 153.0071, parties settled family             enforcement of settlement agreements, do not
   disputes by entering into agreements                    apply to the enforcement of a mediated
   pursuant to Texas Rule of Civil Procedure 11,           settlement agreement in a [suit affecting the
   Chapter 154 of the Civil Practice and                   parent-child relationship (SAPCR) ] if the
   Remedies Code, and general principles of                agreement meets the requirements of
   contract law. See In re Calderon, 96 S.W.3d             153.0071(d)."); Boyd v. Boyd, 67 S.W.3d 398,
   711, 717-18 (Tex.App.-Tyler 2003, orig.                 403 (Tex.App.-Fort Worth 2002, no pet.)
   proceeding). Rule 11 provides a mechanism               (holding that "notwithstanding Rule 11 ... or
   for parties or attorneys to narrow the issues           another rule of law" means "the requirements
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  of [R]ule 11 and the common law that                     the Legislature's words in their statutory
  ordinarily apply to the enforcement of                   context. See, e.g., U.S. Fid. & Guar. Co. v.
  settlement agreements do not apply to                    Goudeau, 272 S.W.3d 603, 606 (Tex.2008)
  mediated settlements ... if the agreements               ("Under the traditional canon of construction
  meet the three requirements listed"); Cayan              noscitur a sociis ('a word is known by the
  v. Cayan, 38 S.W.3d 161, 164-66 (Tex.App.­               company it keeps'), each of the words used ...
  Houston [14th Dist.] 2000, pet. denied)                  must be construed in context."); Fiess v. State
  (holding that the "notwithstanding Rule 11 ...           Fann Lloyds, 202 S.W.3d 744, 750
  or another rule of law" language reflects the            (Tex.2006) ("In construing the [statutory]
  Legislature's intent to eliminate the                    term, we are governed by the traditional
  requirement of enforcement by a separate suit            canon of construction noscitur a sociis-'that
  and that "another rule of law" refers to the             a word is known by the company it keeps.'");
  rules of law that require a separate suit for            City of San Antonio v. CitzJ of Boerne, 111
  enforcement). Because section 153.0071(e)                S.W.3d 22, 29 (Tex.2003) ("[T]he meaning of
  specifically refers to Rule 11 agreements-the            particular words in a statute may be
  primary       mechanism       for   settlement           ascertained by reference to other words
  agreements prior to enactment of section                 associated with them in the same statute.'').
  153.0071-I interpret the general phrase                  The purpose of this rule of statutory
  "another rule of law" in this instance to mean           construction is "to avoid ascribing to one
  that, regardless of any provisions under which           word a meaning so broad that it is
  similar types of agreements to resolve family            inconsistent with its accompanying words.''
  disputes may be repudiated or withdrawn                  Fiess, 202 S.W.3d at 750 n. 29 (quoting
  prior to entry of judgment, a party's                    Gustafson v. Alloyd Co., 513 U.S. 561, 575, 115
  withdrawal of consent to a binding MSA shall             S.Ct. 1061, 131 L.Ed.2d 1 (1995)). Because
  not interfere with the entry of judgment on or           "another rule of law" appears in the context of
  enforcement of a properly executed, binding              "Rule 11, Texas Rules of Civil Procedure," I
  MSA. This Court agreed with this view when               would construe the phrase narrowly.
  it considered section 6.602, which provides
  for MSAs in divorce cases and contains the                    [411 S.W.3d 480]
  same language at issue in section 153.0071.
  See Milner v. Milner, 361 S.W.3d 615, 618                     The Court suggests that allowing a trial
  (Tex.2012) ("[O]nce signed, an MSA cannot                court to consider the specific terms of an MSA
  be     revoked      like   other     settlement          before entering judgment, even in a very rare
  agreements.").                                           case such as this, would undermine the state's
                                                           strong public policy in favor of ADR. See411
       By giving the phrase "notwithstanding ...           S.W.3d at 460. But the overarching best
  another rule of law" such an expansive                   interest policy expressed in section 153.002 of
  meaning, the Court renders meaningless the               the Family Code and the ADR public policy in
  Legislature's specific reference to Rule 11. If          section 154.002 of the Civil Practice and
  the Legislature intended "another rule of law"           Remedies Code are not incompatible or
  to mean all rules of law without restriction,            mutually exclusive. CompareTex. Fam.Code §
  then the Legislature would not have needed               153.002, withTex. Civ. Prac. & Rem.Code §
  to reference Rule 11. See Leordeanu v. Am.               154.002. I would harmonize those provisions
  Prat. Ins. Co., 330 S.W.3d 239, 248 n. 35                to promote the state's strong interest in both,
  (Tex.2010) ("We construe statutes to give                by encouraging parties to rely upon ADR
  effect to every provision and ensure that no             procedures to amicably and peaceably resolve
  provision is rendered meaningless or                     disputes but also by providing courts the
  superfluous."). Under the canon of                       judicial oversight to effectuate the state's
  construction noscitur a sociis, we interpret             fundamental and longstanding public policy



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  of acting 111 the child's best interest­                 construe the statute's words according to
  especially, in those rare cases, when parents            their plain and common meaning ... unless
  may not. I am not convinced, as Stephanie                such a construction leads to absurd results.");
  argues and the Court seems to believe, that              Leonard, 821 S.W.2d at 278 ("Parties cannot
  recognizing the trial court's authority to               by contract deprive the court of its power to
  protect children from custody and possession             guard the best interest of the child.").
  modifications that threaten their safety and
  welfare, and are therefore not in their best                 III. The Trial Court's Discretion to
  interests, would unravel the entire structure                          Reject This MSA
  and efficacy of ADR procedures in child
  custody disputes. Nor am I convinced that                    The trial court clearly determined, based
  parties in suits affecting the parent-child              on Stephanie's own admissions, that
  relationship would cease to rely upon the                Stephanie has little regard for court orders
  mechanisms of peaceable resolution through
  mediation or another form of ADR. Rather, I
  believe that sensible parties would continue
  to rely upon the most effective and efficient            to protect children from her sex-offender
  procedures available to resolve their                    husband, and that she has repeatedly made
  disputes..12                                             decisions against her daughter's best interest,
                                                           putting her daughter at substantial risk. Thus,
       We must presume that the Legislature                this is a rare case where a party's testimony
  enacted section 153.0071 with the intent that            negated the presumption that the parties
  it not conflict with existing statutory                  acted in the child's best interest when
  provisions such as sections 153.001 and                  entering into the MSA. Under these
  153.002, that it further the public interest,            circumstances, I would hold that it was not an
  and that it lead to a just and reasonable                abuse of discretion for the court to consider
  result. SeeTex. Gov't Code § 311.021. "[I]t is           the terms of the MSA and whether the
  settled that every word in a statute is                  modification, which would allow Stephanie
  presumed to have been used for a purpose;                unsupervised periods of possession, posed a
  and a cardinal rule of statutory construction            threat to the child's safety and welfare.
  is that each sentence, clause and word is to be
  given effect if reasonable and possible."                    Although the MSA contains provisions to
  Perkins v. State, 367 S.W.2d 140, 146                    keep Scott away from the child during
  (Tex.1963). Guided by the Legislature's                  Stephanie's periods of possession and appears
  specific reference to Rule 11 agreements and             at first glance to offer the child more
  use of the word "another," I do not read                 protection than the 2007 order adjudicating
  "notwithstanding ... another rule of law" so             parentage,l.'.l those protective provisions are
  broadly as to mean any and all other statutory           directed only at Scott, who is not a party to
  provisions. In fact, I believe such a broad              the MSA or the lawsuit. The MSA provides:
  construction leads to an absurd result, as it
                                                               At all times[,] Scott Lee is enjoined from
  potentially allows parties to circumvent
                                                           being within 5 miles of [the daughter]. During
  statutory provisions enacted to protect
                                                           the mother's periods of possession with [the
  children, as well as the clear policy of the state
                                                           daughter], Scott Lee shall notify [Benjamin]
  to ensure protection of children's best
                                                           through Stephanie Lee by e-mail or other
  interests. See Jose Can·eras, M.D., pA. v.
                                                           mail where he shall be staying ... [a]nd the
  Marroquin, 339 S.W.3d 68, 73 (Tex.2011) (
                                                           make and model of the vehicle he will be
  "We ... interpret statutes to avoid an absurd
                                                           driving. This shall be done at least 5 days
  result."); City of Rockwall v. Hughes, 246
                                                           prior to any visits. [Benjamin] shall have the
  S.W.3d 621, 625-26 (Tex.2008) ("[W]e
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  right to have an agent or himself monitor              legal duty to control the conduct of
  [Scott] Lee's location by either calling or            another...."). The Court, which agrees that the
  driving by the location at reasonable times.M          MSA could have been more "artfully worded,"
                                                         see411 S.W.3d at 458 n. 17, rationalizes that
  Under this provision, Stephanie could have             only a violation of the agreement could
  only one duty with regard to protecting her            subject the child to harm. But the Court
  child from exposure to the registered sex              misses the point-a possession and access
  offender who lives with her: She must pass             modification that (1) does not require
  along to Benjamin information that Scott               Stephanie to keep the child away from Scott,
  provides. But Stephanie can perform only if            (2) contains no supervision requirements,
  Scott provides the notification in the first           and (3) relies on Scott to act voluntarily in
  place. If Scott offers no information, the MSA         accordance with an MSA that he did not agree
  requires nothing of Stephanie. If Scott does           to does, on its face, subject the child to harm.
  not stay the required distance from the child,
  the MSA requires nothing of Stephanie. If                   The Court suggests that the trial court
  Scott appears at the house while the child is          can cure the MSA's inartful wording by
  there, the MSA requires nothing of Stephanie.          altering the agreement to clarify its terms. See
  Scott could provide no location or vehicle             id. That proposition was not briefed or
  information, could appear at the house during          argued, and I am not convinced that the trial
  Stephanie's period of possession, and could            court can take such action. The Court relies
  climb naked into bed with the child, and               on Haynes v. Haynes, 180 S.W.3d 927, 930
  Stephanie would have complied with the                 (Tex.App.-Dallas 2006, no pet.), a case
  MSA. The effectiveness of the MSA's                    involving a property division settlement in a
  provisions designed to safeguard the child's           divorce and not an MSA to modify child
  welfare depend almost entirely on the                  custody, access, or possession. See id. at 928-
  voluntary actions of Scott, a non-party.               29. Haynes relied on McLendon v.
                                                         McLendon, 847 S.W.2d 601, 606 (Tex.App.­
                                                         Dallas 1992, writ denied), an earlier case from
                                                         the same court that also involved a property
                                                         division settlement in a divorce and
                                                         addressed a Rule 11 agreement, not an MSA
       The parties have not briefed or argued            under the Family Code. See id. at 604-
  the enforceability of those protective                 06;Haynes, 180 S.W.3d at 930. Although this
  provisions aimed at Scott, and that question           Court has not, until today, addressed trial
  is not squarely before us in this proceeding.          court authority to modify the terms of an
  Nevertheless, I question the enforceability of         MSA under section 153.0071,12 we have
  MSA provisions that purport to bind a non­             previously
  party and require little if anything of the
  parties themselves to protect the child from
  harm, as well as the availability of a remedy
  for failure to comply.1SSeeTex. Fam.Code §             held that "a final judgment which is founded
  153.0071(d)     ("A     mediated    settlement         upon a settlement agreement reached by the
  agreement is binding on the parties if the             parties must be in strict or literal compliance
  agreement           [satisfies       particular        with that agreement." Vickrey v. Am. Youth
  requirements]." (emphasis added)); cf Graff            Camps, Inc., 532 S.W.2d 292, 292 (Tex.1976).
  v. Beard, 858 S.W.2d 918, 920 (Tex.1993)               Just over a year ago, this Court held that
  ("Under Texas law, in the absence of a                 when an MSA contained a process for
  relationship between the parties giving rise to        resolution of disputes regarding ambiguities
  the right of control, one person is under no           in the MSA's terms, the mediator was the



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  appropriate authority under the MSA to                   hearing on a motion for entry of judgment on
  resolve a factual dispute regarding the parties'         the MSA, but neither party put on any
  intent, not the trial court. See Milner, 361             additional evidence.12 In this
  S.W.3d at 622. The MSA in this case contains
  just such a provision, under which disputes
  regarding "the interpretation, omitted issues,
  and/or performance" of the MSA shall be                  instance, where the MSA does not require
  resolved by phone conference with the                    Stephanie's periods of possession to be
  mediator or, if unsuccessful, by binding                 supervised, as Benjamin had requested in his
  arbitration with the mediator serving as                 motion to modify the 2007 order, and where
  arbitrator. I cannot understand why this                 the child's welfare depends upon the acts of a
  Court would hold that the parties in Milner              non-party to the MSA who, testimony
  must, pursuant to their agreement, have the              indicates, has previously disregarded a court
  mediator resolve issues regarding the parties'           order that apparently prohibited him from
  intent, and hold that the trial court can                being around children, I would hold that it
  modify the parties' agreement in this case to            was not an abuse of discretion for the trial
  reflect the parties' "clear intent." See411              court to decline to enter judgment on the
  S.W.3d at 458 n. 17. Even if a trial court can,          MSA and instead set the case for trial at
  as the Court says, modify an MSA to                      which the parties can put on evidence of
  effectuate and implement the parties' intent, I          whether      unsupervised    visitation     with
  find no support in this case for the Court's             Stephanie is in the child's best interest. .IB.See
  conclusion that the parties clearly intended to          Holley, 544 S.W.2d at 371-72 (describing
  require Stephanie to keep the child at least             factors pertinent to the best interest
  five miles away from Scott at all times. See id.         determination, including the emotional and
  The MSA provides only that Stephanie must                physical dangers to the child now and in the
  pass on information provided to her by Scott.            future).
  Nowhere does the record indicate that
  Stephanie intended herself to be bound by                Believing that a trial court can protect
  and face contempt charges for violation of the      children subject to harmful MSAs by
  provision requiring Scott to stay five miles        continuing hearings seeking entry of
  from the child. Just as we cannot assume that       judgment, the plurality attempts to resolve
  every MSA parents agree to is in their child's      the absurdity of the Court's holding by telling
  best interest, we cannot assume that every          trial courts to stall. See411 S.W.3d at 459. But
  provision in an MSA was intended to protect         we cannot have it both ways-either the
  the child to the maximum extent possible. I         Family Code requires a trial court to enter
  would hold, as this Court did in Milner, that       judgment on a statutorily compliant MSA
  any question regarding the parties' intent          when it is presented, or the Family Code
  with regard to the protective provisions in         allows the trial court discretion not to enter
  this MSA must be resolved by the mediator           judgment when the MSA's modification terms
  according to the MSA, and not by the trial          jeopardize the child's safety and welfare.
  court. And even if there were no question or        Under the plurality's analysis, it is unlikely
  ambiguity about the parties' intent, the issue      that a trial court would ever discover that a
  of whether a trial court can modify the terms       modification pursuant to an MSA would
  of the MSA to "clarify" that intent is best left    jeopardize a child's safety and welfare. Even if
  for another day and not decided in a footnote,      the trial court did somehow reach that
  without briefing or argument.                       conclusion, the plurality concludes that the
                                                      trial court can do nothing about that except
       The trial court heard only brief testimony     delay  the inevitable entry of judgment. See id.
   from Stephanie and Benjamin in a short             at 473.  To allow the court to do otherwise-to
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  reject an MSA it determines could subject the            example, although the Family Code
  child to harm-would, in the plurality's view,            authorizes a trial comt to make temporary
  mean that a trial court can conduct a broad              orders for the safety and welfare of the child,
  best interest inquiry. But a court armed with            such orders are available while a SAPCR is
  enough information to determine that a child             pending and "before final order," making the
  is in danger under an MSA need not analyze               availability in cases of statutorily-compliant
  the Holley factors to conclude that                      MSAs questionable. SeeTex. Fam.Code §
  modification pursuant to the MSA is not in               105.001; Ex pa,.te Brown, 382 S.W.2d 97, 99
  the child's best interest. Any MSA that places           (Tex.1964) (explaining that once a trial court
  a child's safety and welfare in danger­                  has rendered judgment awarding custody of a
  through unenforceable provisions that could              child, a temporary custody order is no longer
  leave a child exposed to a convicted sex                 in effect). Even if temporary orders could be
  offender, or otherwise-simply cannot                     issued in this MSA context, it seems a
                                                           perversion of the Family Code to suggest that
      [411 S.W.3d 485]                                     trial courts should delay entry of judgment
                                                           Jo,- the pu,-pose of entering temporary orders.
  be in a child's best interest. To say that a trial       Similarly, although the Family Code
  court can do nothing except delay entry of               authorizes a trial court to issue a protective
  judgment and call the Department of Family               order, several things must happen before the
  and Protective Services runs counter to public           court can do so: an adult must file an
  policy and leaves children whose parents act             application to protect a child from family
  against their best interest without a voice­             violence, the respondent accused of family
  without protection-in the legal system. I                violence must have notice and an opportunity
  believe that the Legislature intended for trial          to answer, the trial court must conduct a
  court authority to extend beyond simply                  hearing, and the court must find that family
  placing an MSA in legal limbo and to include             violence occurred and is likely to occur in the
  the discretion to refuse entry of judgment on            future. SeeTex. Fam.Code§§ 81.001, 82.001-
  dangerous MSAs. Moreover, I believe that the             .005, .021, .041-.043, 84.001, 85.001, .021. If
  plurality's continuance procedure, which                 the Family Code contains a provision under
  seemingly allows trial courts to put off entry           which this trial court could have entered
  of judgment that the Court implies is non­               orders to ensure protection of this child
  discretionary, invites parties to file                   despite the MSA, nobody has told us where to
  mandamus actions seeking to force trial                  find it. Even if, as the plurality assumes, trial
  courts to stop delaying the inevitable entry of          courts can mitigate the effects of harmful
  judgment on MSAs that satisfy the statutory              MSAs by issuing some sort of orders to
  prerequisites.                                           protect children, what might those orders
                                                           look like? Could the trial court in this case
       Further, the plurality advises that a trial         order that Stephanie's periods of possession
  court faced with a potentially harmful MSA               be supervised? Could the trial court order that
  should issue some sort of temporary orders or            Stephanie keep the child out of the Scott's
  protective orders in conjunction with entry of           presence? Although such orders would
  judgment. Id. at 456. If the Family Code                 certainly do more to protect the child, they
  allowed trial courts to issue whatever orders            would also alter the parties' agreement, a
  are necessary to protect children, there might           result that the Court believes the Legislature
  be no disagreement in this case. But the                 intended to avoid. In the end, although I
  Family Code limits the availability of                   agree with the sentiment that trial courts
  protective actions, and trial courts often must          must protect children from harm, the
  rely on parties protecting children's best               plurality's purported solution to the problem
  interests to request such orders.19 For                  posed by its interpretation of section



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  153.0071-which is not much of a solution at                 actually enter judgment; a party is "entitled to
  all when the Court prohibits trial courts from              judgment," and cannot be denied judgment,
  rejecting dangerous MSAs-relies on a                        but may not actually get the judgment to
  "tortured                                                   which she is entitled. Why would the Court
                                                              issue such a perplexing ruling?
      [411 S.W.3d 486]
                                                                  Perhaps it is all a matter of semantics.
  reading" of the Family Code's protective                    One could argue that the Court's opinion
  action provisions. See411 S.W.3d at 459                     impliedly requires the trial court to enter
  (referring to the dissent's interpretation of the           judgment on the MSA. But as a court of last
  MSA statute as a "tortured reading").                       resort, we are not usually in the business of
                                                              implying rulings.
       Compelling the trial court to disregard
  the fundamental public policies set forth in                     Perhaps the Court hopes the trial court
  sections 153.001 and 153.002, including the                 will not have to sign a judgment on this MSA
  policy to "provide a safe, stable, and                      because it will instead delay so that it can
  nonviolent environment for the child," simply               enter temporary orders, and then DFPS will
  because the parents executed an irrevocable                 seek to have Stephanie's parental rights
  MSA would not only render these policies                    terminated or take some action that will moot
  meaningless, but yield an absurd result. Tex.               the MSA issue. But we are not usually in the
  Fam.Code§ 153.001(a)(2); see Jose Carreras,                 business of banking on unpredictable
  M.D., PA., 339 S.W.3d at 73. I can easily                   contingencies either.
  imagine scenarios more outlandish than this,
  where parents execute an MSA that puts a                         Surely the Court's conspicuous lack of an
  child in even more danger. It would be absurd               order directing the trial court to enter
  and nonsensical for a trial court to have no                judgment on the MSA must mean something.
  ability to protect a child from such an MSA,                After all, Stephanie's petition for writ of
  and to compel the court to enter judgment on                mandamus specifically requested that the
  an MSA that it concludes could be harmful to                Court grant a writ requiring the trial court to
  the child. The Court's overwrought opinion                  enter judgment based upon the MSA. I think
  purports to protect the interests of children               the absence of any requirement that the trial
  by championing the mediated settlement                      court enter judgment on the MSA can be
  agreement process, but when a child is placed               explained only as follows: (1) a majority of
  in danger by the actual terms of an                         this Court believes that the Family Code
  agreement, as opposed to the process by                     allows a trial court discretion to refuse to sign
  which a dispute is resolved, the Court's                    a judgment pursuant to an MSA that places a
  holding falls short.                                        child's safety and welfare in danger, and (2) a
                                                              majority of this Court does not believe that
             IV. Mandamus Relief                              the Family Code requires the trial court, on
                                                              this record, to enter judgment on this MSA.
       In granting mandamus relief, the Court                 Of course, the Court does not say that either.
  orders the trial court to do two things: (1)                But if a majority of the Court believed
  vacate its order denying Stephanie's motion                 "entitled to judgment ... notwithstanding ...
  to enter judgment on the MSA, and (2) vacate                another rule of law" created a non­
  its order setting the case for trial. Nowhere               discretionary, ministerial duty to enter
  does the Court say that the trial court must                judgment, surely it would say so. Instead, the
  enter judgment on the MSA. It is a curious                  Court goes out of its way to avoid saying just
  result-a trial court cannot deny a motion to                that, and in the process provides no guidance
  enter judgment, but a trial court need not
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  about what a trial court is to do with an MSA            to enter judgment on the MSA. Here, the
  that endangers a child, or what this trial               mother admitted on the record that she (1)
                                                           allowed her husband, a registered sex
                                                           offender, unsupervised contact with her
                                                           daughter, (2) resided with the sex offender in
  court is to do with this MSA. The only clear             her home, despite knowing that it was a
  holding today appears to be that a trial court           violation of his conditions of probation, and
  cannot refuse to enter judgment on an MSA                (3) allowed her husband to violate the terms
  using the words "best interest."                         of his probation through contact with her
                                                           daughter. I would deny Stephanie's petition
       If the trial court here believes, based on          for writ of mandamus.
  the evidence presented, that the child's safety
  and welfare will be endangered under a
  modification pursuant to the MSA, then it
  appears the court can comply with this
  Court's ruling by withdrawing its order                  Notes:
  rejecting the MSA on best interest grounds
  and issuing a new order rejecting the MSA on                  1.  Stephanie was represented by
  endangerment grounds. Or maybe, as the                   substitute counsel at the hearing, but neither
  concurrence implies, the court could hear                Stephanie nor her attorney who signed the
  additional evidence to inquire further into the          MSA was present and therefore could not
  child's safety and welfare under the MSA and,            respond to any allegations made by Benjamin
  if appropriate, issue a new order rejecting the          at the hearing. Benjamin appeared personally
  MSA on endangerment grounds. See411                      and, although his attorney who signed the
  S.W.3d at 483-84. Only then will the Court               MSA did not appear with him, he was
  explain today's curious ruling and give trial            accompanied by alternate counsel. Finally,
  courts and the family law bar guidance on                the Attorney General was represented by
  whether and when a trial court has discretion            counsel at the hearing, although the Attorney
  to refuse to enter judgment on an MSA that               General was not a party to either the MSA or
  places a child's safety and welfare in danger.           the                                mediation.

      For the reasons explained, I believe a trial
  court faced with such an MSA is entitled to                     In her brief, Stephanie admits that
                                                                g_,
  use the best tool available-rejection of the             Scott received a deferred adjudication for a
  dangerous MSA-to protect the child.                      sex offense years earlier in 2001.
                  V. Conclusion
                                                               3...See, e.g., Sarah H. Ramsey, Rep.,
       I would hold that, in a rare case in which
                                                           Conference Report and Action Plan, High­
  the presumption that MSA parties acted in a
                                                           Conflict Custody Cases: Reforming the
  child's best interest has been negated by
                                                           System for Children, 34 FAM. L.Q. 589, 589
  evidence, the trial court does not abuse its
                                                           (2001) (discussing "recommendations for
  discretion by considering the terms of an
                                                           changes in the legal and mental health
  MSA's custody, possession, or access
                                                           systems to reduce the impact of high-conflict
  modification. If those terms jeopardize a
                                                           custody         cases    on       children").
  child's safety and welfare, so that the
  modification could not possibly be in the
  child's best interest, I would hold that the trial
  court does not abuse its discretion by refusing




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      iLSee Ramsey, supra note 3, at 589-90                Forgiveness in "Renegotiated Families," 16
  (detailing the damaging impact high-conflict             Va. J. Soc. Pol'y & L. 443, 444-45 (2009)
  custody litigation can have on the children              ("Anger causes too many divorcing parents to
  involved); see also Robert F. Cochran, Jr.,              behave badly-to disparage the other parent
  Legal Ethics and Collaborative Practice                  or interfere with access to the child, to
  Ethics, 38 Hofstra L.Rev. 537, 539 (2009)                withhold child suppo1t, to contest custody out
  (noting the "growing recognition that                    of spite, and, in rare cases, to make false
  children are collateral damage in many                   accusations of abuse. Legal scholars have
  divorces, especially high conflict divorces");           recognized that interparental anger is
  Linda D. Elrod, Reforming the System to                  harmful to both parents and children and
  Protect Children in High-Conflict Custody                have advocated for reforms, such as no fault
  Cases, 28 Wm. Mitchell L.Rev. 495, 501-04                divorce, mediation, and parenting education,
  (2001) (criticizing the adversarial system as            in an effort to alleviate parties' anger during
  unnecessarily harmful to children); Clare                and after the divorce." (footnotes omitted));
  Huntington, Repairing Family Law, 57 Duke                see alsoCarla B. Garrity & Mitchell A. Baris,
  L.J. 1245, 1284-85 (2008) ("Family law                   Caught in the Middle: Protecting the Children
  disputes carry terrible potential for a high             of High-Conflict Divorce E E E 83 (1994)
  level of emotional harm.... High-conflict                (noting that "for families and children caught
  divorces hold even greater potential of harm             in the stress of parental alienation, litigation
  for the parties and children." (footnotes                is likely to exacerbate the polarization").
  omitted)); Jessica J. Sauer, Mediating Child
  Custody Disputes for High Conflict Couples:
  Structuring Mediation to Accommodate the                      !!, While this is an issue of first impression

  Needs and Desires of Litigious Parents, 7                in this Court, several courts of appeals have
  Pepp. Disp. Resol. L.J. J. 501, 509-14 (2007)            analyzed the statute governing entry of
  (discussing the health benefits of mediation             judgment on MSAs. See In re SA.D.S., No. 2-
  for     children     in     custody     cases).          09-302-CV, 413 S.W.3d 434, 438-39, 2010
                                                           WL 3193520, at *4 (Tex.App.-Fort Worth
                                                           Aug. 12, 2010, no pet.) ("The express
      5,.See Huntington, supra note 4, at 1283             provision        on      mediated         settlement
  ("Whatever breach the members of the family              agreements, however, contains no express
  have suffered, subjecting that breach to the             exceptions giving the trial cou1t discretion not
  pressures of the adversarial system is likely to         to enforce the mediated settlement
  heighten the emotions surrounding the                    agreement."); Barina v. Barina, No. 03-08-
  breach."); Jana B. Singer, Dispute Resolution            00341-CV, 2008 WL 4951224, at *4
  and the Postdivorce Family: Implications of              (Tex.App.-Austin Nov. 21, 2008, no pet.)
  a Paradigm Shift, 47 Fam. Ct. Rev. 363, 363              (mem. op.) ("Unless there is an allegation of
  (2009) (commenting on the move away from                 family violence, a section 153.0071 agreement
  the adversary paradigm in family law because             may be ruled on without a determination by
  "social science suggests that children's                 the trial court that the terms of the agreement
  adjustment to divorce and separation                     are in the best interest of the child."); Beyers
  depends significantly on their parents'                  v. Roberts, 199 S.W.3d 354, 360 (Tex.App.­
  behavior during and after the separation                 Houston [1st Dist.] 2006, pet. denied) (noting
  process: the higher the levels of parental               that a trial court may hold a best interest
  conflict to which children are exposed, the              hearing in an MSA case if presented with
  more negative the effects of family                      proper facts); Zimmerman v. Zimmerman,
  dissolution"); Solange! Maldonado, Taking                No. 04-04-00347-CV, 2005 WL 1812613, at
  Account of Children's Emotions: Anger and                *1 (Tex.App.-San Antonio Aug. 3, 2005, pet.


   Ill
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  denied) (mem. op.) (holding that the trial                   8.. The dissent would hold that the
  court was required to enter judgment on the             reference to Rule 11 narrows the mandate
  agreement); Garcia-Udall v. Udall, 141                  such that subsection (e) controls only over
  S.W.3d 323, 331-32 (Tex.App.-Dallas 2004,               other "provisions under which similar types
  no pet.) (holding that the trial court had no           of agreements to resolve family disputes may
  authority to enter a judgment that varied               be repudiated or withdrawn prior to entry of
  from the terms of the MSA, but that the court           judgment." 411 S.W.3d at 479. This is
  did have authority not to enforce illegal               undercut by subsection (e-1), which allows
  provisions in the MSA); In ,·e Circone, 122             the trial court to decline to enter judgment on
  S.W.3d 403, 406 (Tex.App.-Texarkana 2003,               an MSA if the family violence exception is met
  no pet.) ("The Family Code contains no                  and the MSA is not in the child's best interest,
  language allowing the trial court to review the         "[n]otwithstanding Subsections (d) and (e)."
  mediation and explicitly requires the court to          Tex. Fam.Code § 153.0071(e-1) (emphasis
  enter judgment based on the mediation                   added). There would have been no need to
  agreement."); In re J.A. W.-N., 94 S.W.3d               include such "notwithstanding" language in
  119, 121 (Tex.App.-Corpus Christi 2002, no              subsection (e-1) if subsection (e) were
  pet.) (concluding that if the requirements for          intended to control only in the narrow set of
  a binding MSA are met, the parties are                  circumstances specified by the dissent.
  entitled to have the MSA enforced); Alvarez
  v. Reiser, 958 S.W.2d 232, 233 (Tex.App.­
  Eastland 1997, pet. denied) (holding that even               Again, the court may decline to enter
                                                               9.
  if one party withdraws its consent to the MSA,          judgment when the family violence exception
  the trial court is required to enter judgment           IS                                     met.
  on                the              agreement).

                                                                 Several lower courts have addressed
                                                               li1.
       z. Mandamus relief is available to remedy          the issue of whether section 153.0071
  a trial court's erroneous refusal to enter              mandates entry of judgment on a statutorily
  judgment on an MSA. See Mantas v. Fifth                 compliant MSA under any and all
  Court of Appeals, 925 S.W.2d 656, 659                   circumstances, even where, for example, the
  (Tex.1996) (orig. proceeding) (holding that             agreement " 'was illegal or ... was procured by
  the relator lacked an adequate remedy by                fraud, duress, coercion, or other dishonest
  appeal with respect to the court of appeals'            means.'" See, e.g., In re Calderon, 96 S.W.3d
  refusal to abate the appeal pending resolution          711, 718 (Tex.App. -Tyler 2003, orig.
  of a separate action to enforce a settlement            proceeding) (quoting Boyd v. Boyd, 67
  agreement, noting that "[i]f the agreement is           S.W.3d 398, 403 (Tex.App.-Fort Worth
  ultimately upheld, [relator] will have lost             2002, no pet.) (analyzing comparable Family
  much of the settlement's benefit if he has              Code provision governing MSAs in suits
  been required to expend time and resources              involving marital property)). That issue is not
  in prosecuting the appeal"). In a child-related         presented        or        decided        here.
  dispute, the inadequacy of the appellate
  remedy in the context of refusal to enforce a
  settlement agreement is even more                            u, As discussed further below, a best
  pronounced because the significant benefits             interest inquiry is much broader than an
  to the family in peaceably resolving the                evaluation of whether the child's physical or
  dispute through mediation are lost.                     emotional     welfare   is    in   jeopardy.




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         As noted above, in this manner, section
      12..                                                 welfare of the child during the pendency of
  153.0071 effectively places parents involved in          the appeal"); id. § 156.101(a)(1) (allowing
  a SAPCR who enter into valid MSAs in the                 modification of an order if it would be in the
  same position as parents in intact families­             child's best interest and the circumstances of
  they are presumed to act in their child's best           the child have materially and substantially
  interest in reaching an agreement, subject to            changed since the date of the signing of the
  a DFPS investigation if a report of suspected            MSA); id. § 157.374 (providing that in habeas
  abuse       or      neglect      is      made.           corpus proceedings, "the court may render an
                                                           appropriate temporary order if there is a
                                                           serious immediate question concerning the
        usee, e.g.,Tex. Fam.Code § 105.001(a)              welfare          of         the        child").
  ("In a suit, the court may make a temporary
  order, including the modification of a prior
  temporary order, for the safety and welfare of                .1.5. The dissent cites the inapplicable

  the child...."); id. § 105.001(b) ("[T]emporary          Collaborative Law Act, which allows a
  restraining orders and temporary injunctions             tribunal to "issue an emergency order [during
  ... shall be granted without the necessity of an         the process] to protect the health, safety,
  affidavit or verified pleading.... "); id. §             welfare, or interest of a party or a family."
  105.001(c) (providing that a temporary order             Tex. Fam.Code § 15.104. We note that
  may not be rendered taking the child into the            engagement in the collaborative law process
  possession of the court or of a designated               under this Act "operates as a stay of the
  person, or excluding a parent from possession            proceeding," id. § 15.103(a), and that section
  of or access to the child, except on a verified          15.104 provides limited authority for the court
  pleading or affidavit); see also id. §                   to act notwithstanding the stay, id. § 15.104.
  156.006(b) (providing that while a
  modification suit is pending, the court may
  not render a temporary order that alters                     & The mediator in the underlying case
  which person has the exclusive right to                  was Judge Leta Parks. Judge Parks was an
  designate the child's primary residence under            associate judge in Harris County for eighteen
  a final order unless the temporary order is              years and is board-certified in family law. She
  necessary to protect "the child's physical               is a former President of Gulf Coast Family
  health or emotional development" and is in               Law Specialists and a former President of the
  the      best     interest   of    the   child).         Association of Family and Conciliation
                                                           Courts,            Texas               Chapter.

       !A.See, e.g.,Tex. Fam.Code § 81.001
  (requiring a court to render a protective order               rz. The dissent expresses concern that the
  if it finds that family violence has occurred            injunction provision is directed more at Scott,
  and is likely to occur in the future); id. §             a nonparty, than at Stephanie. See 411 S.W.3d
  82.002(a) (allowing an adult family member               at 483. We agree that the provision could
  to seek a protective order "to protect the               have been more artfully worded, but the
  applicant or any other member of the                     intent is clear: Stephanie may not allow the
  applicant's family"); id. § 85.001 (providing            child to come within five miles of Scott.
  for issuance of protective orders when court             Further, in entering judgment on an MSA,
  finds that family violence has occurred and is           trial courts may include "[t]erms necessary to
  likely to occur in the future); id. § 109.001(a)         effectuate and implement the parties'
  (allowing trial courts to issue temporary                agreement" so long as they do not
  orders "to preserve and protect the safety and           substantively alter it. Haynes v. Haynes, 180




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  S.W.3d 927, 930 (Tex.App.-Dallas 2006, no              simply disagree about whether the statute
  pet.). Thus, to the extent there is no dispute         requires courts to defer to parents' decisions
  about the parties' intent, the trial court has         about such matters within the context of
  discretion to provide clarification of this or         properly           executed            MSAs.
  any other provision. In the unlikely event the
  parties disagree on the intent of this
  provision, that dispute may be resolved in                  .:J.. The dissent aptly notes that "[h]ad the
  accordance with the terms of the MSA. Milner           Legislature used 'or' instead of 'and' between
  v. Milner, 361 S.W.3d 615, 622 (Tex.2012).             the two parts of that family violence
                                                         provision, a trial court would be able to reject
                                                         an MSA simply because a parent was induced
      .1.8.. Benjamin's argument that the MSA            by family violence to enter into an MSA." 411
  does not meet the statutory requirements               S.W.3d at 473. By the same token, had the
  because it is not signed by the Office of the          Legislature used "or" instead of "and"
  Attorney General of Texas (the Office)                 between the two parts of the provision, a trial
  misunderstands the signature requirement.              court would be able to reject an MSA solely
  He argues that the statute requires the                because the court concluded it was not in a
  signature of the Office because the Office is "a       child's best interest. But the Legislature did
  party to this litigation." However, the statute        use the word "and," and the trial court cannot
  only requires the signature of "each party to          reject an MSA without making affirmative
  the       agreement."    Tex.   Fam.Code       §       findings          as     to       both      parts.
  153.0071(d)(2) (emphasis added). Because
  the Office is not a party to the agreement, its
  signature is not required for the MSA to be                 � Those factors are: (1) the desires of the
  binding.                                               child; (2) the emotional and physical needs of
                                                         the child now and in the future; (3) the
                                                         emotional and physical danger to the child
       J.9. The dissent characterizes the trial          now and in the future; (4) the parental
  court's rejection of the MSA as being based on         abilities of the individuals seeking custody;
  the trial court's "clear[ ] determin[ation],           (5) the programs available to assist these
  based on Stephanie's own admissions, that              individuals to promote the best interest of the
  Stephanie has little regard for court orders to        child; (6) the plans for the child by these
  protect children from her sex-offender                 individuals or by the agency seeking custody;
  husband, and that she has repeatedly made              (7) the stability of the home or proposed
  decisions against her daughter's best interest,        placement; (8) the acts or omissions of the
  which put her daughter at substantial risk."           parent which may indicate that the existing
  411 S.W.3d at 480-81. But the trial court              parent-child relationship is not a proper one;
  made no such findings. As noted above, the             and (9) any excuse for the acts or omissions of
  trial court stated only that the MSA "is not in        the parent. Holley, 544 S.W.2d at 372.
  the best interest of the child[ ]."

                                                              n, The dissent insists that it is not
          We recognize the serious policy
      ;ill,.                                             reading section 153.0071 to allow a trial court
  reasons underlying the Family Code's                   to "refuse to enter judgment on an MSA based
  numerous references to a child's best interest         on any one of the [Holley ] factors" and that
  and agree that a child's best interest should          the issue presented here is "whether a trial
  always be the paramount concern when                   court has discretion to reject an MSA that the
  adjudicating custody and access issues. We             trial court determines, based on evidence,


  'Ill
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  places a child's safety and welfare in danger            preclude an endangerment inquiry. 411
  and, consequently, cannot possibly be in the             S.W.3d 445, 466 & n. 1 (Green, J.,
  child's best interest." 411 S.W.3d at 477. But           dissenting); infra Part II. Though the Court
  again, the trial court made no endangerment              expressly avoids the issue, 411 S.W.3d at 486,
  findings, stating only that the MSA "is not in           the dissent observes that the Court's decision
  the best interest of the child[ ]." More                 to not require the trial court here to enter
  importantly, there is simply no principled               judgment on the MSA must mean the Court
  basis for the line the dissent draws between             recognizes that a trial court may refuse to
  those MSAs on which a trial court must enter             enter judgment on an MSA that could
  judgment and those they may disregard. The               endanger a child's safety and welfare. 411
  dissent thus ignores the clear mandate in                S.W.3d at 486-87 (Green, J., dissenting).
  section 153.0071 and trivializes the numerous
  other means by which trial comts can and                     :i.. Associate judges in family law cases are

  must protect children. In the end, the dissent           appointed pursuant to Chapter 201 of the
  envisions a trial on whether the disputed                Family Code.
  MSA provision is in the child's best interest
  under Holley, id. at 484, which is exactly                     ,i. The trial court acknowledged "there is

  what the Legislature intended to foreclose                no written report" from the hearing before the
  under              section            153.0071.           associate judge "save and except what's on
                                                            this docket sheet" and accordingly conducted
                                                            a de nova hearing. Under section 201.015(a)
       �. The dissent's assertion that "we cannot           of the Family Code, "[a] party may request a
  have it both ways" misses the point-that                  de novo hearing before the referring court...."
  protecting children involves shielding them               Tex. Fam.Code § 201.015(a). In addition, the
  from high-conflict custody disputes as well as            referring court " may also consider the record
  from abuse and neglect. Continuing the case               from the hearing before the associate judge."
  until an investigation is complete-so that the            Id.§ 201.015(c) (emphasis added).
  trial court has sufficient information upon
  which to make a proper determination about                     s..See, e.g., Philipp v. Tex. Dep't of Family
  whether protective orders should be entered               & Protective Servs., No. 03-11-00418-CV,
  contemporaneously with the MSA-makes                      2012 WL 1149291, at *10 (Tex.App.-Austin
                                                            Apr. 4, 2012, no pet.) (mem. op.) ("although a
  complete sense and furthers this critical
  policy.                                                   trial court may do so if presented with proper
                                                            facts, nothing in section 153.0071 requires
                                                            best-interest hearings in every case involving
                                                            a mediated settlement agreement"); Barina v.
        1.Justice Johnson, Justice Willett, myself,
                                                            Barina, No. 03-08-00341-CV, 2008 WL
  Justice Lehrmann, and Justice Boyd conclude
                                                            4951224, at *5 (Tex.App.-Austin Nov. 21,
  that section 153.0071 precludes a broad best­
                                                            2008, no pet.) (mem. op.) (holding that
  interest inquiry on a properly executed MSA.
                                                            section 153.0071 does not allow a trial court
  411 S.W.3d 445, 447. Parts IV and VI of
                                                            to refuse to enter judgment on an MSA when
  Justice Lehrmann's opinion are a plurality,
                                                            one party believes the agreement is different
  but for ease of reference, this writing will
                                                            than what the plain language of the MSA
  refer to that opinion and the Justices who join
                                                            reflects); Beyers v. Roberts, 199 S.W.3d 354,
  it as the Court.
                                                            359 (Tex.App.-Houston [1st Dist.] 2006, pet.
       i.Chief Justice Jefferson, Justice Hecht,            denied) ("Nothing in [section 153.0071]
  Justice Green, myself, and Justice Devine                 requires that a trial court conduct a best
  believe that section 153.0071 does not                    interest hearing before entering an order




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  pursuant to        a    mediated       settlement         orders, motions to modify, habeas corpus
  agreement.").                                             proceedings, continuing the MSA hearing,
                                                            and contacting the Texas Department of
      6..Troxel v. Granville, 530 U.S. 57, 68, 120          Family and Protective Services as options
  S.Ct. 2054, 147 L.Ed.2d 49 (2000).                        under the Family Code to protect the safety
                                                            and welfare of the child).
      z.Barina, 2008 WL 4951224, at *4.
                                                                u.see, e.g., Santosky v. Kramer, 455 U.S.
       B.. Emotional and physical danger to the             745, 766, 102 S.Ct. 1388, 71 L.Ed.2d 599
  child is one of the nine factors in determining           (1982) (recognizing the state retains "a
  the best interest of the child. Holley v.                 parens patriae interest in preserving and
  Adams, 544 S.W.2d 367, 371-72 (Tex.1976).                 promoting the welfare of the child"); Miller v.
                                                            HCA, Inc., 118 S.W.3d 758, 766 (Tex.2003)
      9..The contractual defense of illegality              ("The State's role as parens patriae permits it
  may also allow a trial court to refuse to enter           to intercede in parental decision-making
  judgment on an MSA that could endanger the                under certain circumstances.").
  safety and welfare of a child. It is illegal to
  contract to harm a child. Further, it is well                  u. In deciding to refuse the MSA and set
  established that courts may refuse to enforce             the matter for trial, the trial court also
  contracts that are either expressly or                    disregarded portions of the MSA wholly
  impliedly prohibited by statute or by public              unrelated to any allegations of endangerment,
  policy. Woolsey v. Panhandle Ref Co., 131                 such as provisions setting child support
  Tex. 449, 116 S.W.2d 675, 678 (1938). Though              amounts, determining which parent would
  we have yet to decide the issue, our courts of            cover the child's health insurance, and which
  appeals have observed that MSAs are                       parent would claim the child as a dependent
  contracts and courts may not enforce them if              for federal income ta,'< purposes.
  they are illegal. See, e.g., Garcia-Udall v.
  Udall, 141 S.W.3d 323, 331-32 (Tex.App.­                       1'LSee Troxel, 530 U.S. at 68, 120 S.Ct.
  Dallas 2004, no pet.) ("A trial court has                 2054 ("there is a presumption that fit parents
  authority not to enforce illegal provisions in            act in the best interests of their children").
  mediated settlement agreements."). Thus, an
  MSA containing provisions that would result                    L The concurrence agrees with this
  in abuse is void. See, e.g., United States v.             conclusion. 411 S.W.3d at 461. Therefore, a
  King, 840 F.2d 1276, 1283 (6th Cir.1988)                  majority this Court would hold that a trial
  ("[A] parent's contract allowing a third person           court does not abuse its discretion by refusing
  to burn, assault, or torture his child is void.").        to enter judgment on an MSA that places a
                                                            child's safety and welfare at risk.
       .12. As the dissent observes, the Court's

  decision to not mandamus the trial court to                    2.. In a hearing before the trial court,

  enter judgment on the MSA must mean the                   Stephanie was asked about an April 6, 2009,
  Court believes "that the Family Code allows a             violation of Scott's deferred adjudication.
  trial court discretion to refuse to sign a                When the trial court asked about the nature
  judgment pursuant to an MSA that places a                 of the violation, Stephanie responded: "It was
  child's safety and welfare in danger." 411                that he was-I had unsupervised visitation
  S.W.3d at 486 (Green, J., dissenting).                    contact with my daughter." Later, when asked
                                                            if Scott "has taken care of [the child] without
      u-411 S.W.3d at 456 (discussing                       your supervision," Stephanie answered, "No,
  temporary orders, temporary restraining                   she has not." Although the record is not
  orders, tempora1y injunctions, protective                 entirely clear, I interpret Stephanie's




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  testimony to mean that her sex-offender                  153.191; 153.193; 153.252(2); 153.254(a);
  husband was allowed to be alone with the                 153.256(1); 153.257; 153.312(a); 153.317(a);
  child, in violation of his probation.                    153.373(2); 153.374(b); 153-433(a), (b);
                                                           153.501(b);       153.551(c);     153.601(4);
         Benjamin did not repeat this allegation
      :i..                                                 153.605(b);      153.6051(b);    153.6082(e);
  during the hearing before the district court             153.703(a), (c); 153.704(d); 153.705(a), (c);
  judge.                                                   153.709(b); 154.122(a); 154.123(a), (b);
                                                           154.124(b), (d); 154.131(c); 154.182(b);
      <L The Collaborative Family Law Act,                 156.006(b);        156.101(a);    156.102(b);
  enacted in 2011, contains a similar provision:           156.103(a), (b); 156-402(a), (b); 156-409(a-
                                                           2); 160.608(b); 161.001(2); 161.003(a);
      (a) A settlement agreement under                     161.004(a); 161.005(a); 161.007(3); 161.101;
  [chapter 15, the Collaborative Family Law                161.103(b); 161.2011(a); 161.204; 161.205(2);
  Act] is enforceable in the same manner as a              162.0025;        162.009(b);      162.010(c);
  written settlement agreement under Section               162.014(b); 162.015(a); 162.016(a), (b);
  154.071, Civil Practice and Remedies Code.               162.020; 162.102; 162.2061(a); 162.302(e);
                                                           162.308(a);       231.101(d);     261.004(b);
       (b) Notwithstanding Rule 11, Texas Rules            262.1015(b);       262.114(c);    263.102(c);
  of Civil Procedure, or another rule of law, a            262.201(e); 262.205(e); 263.007(b); 263.302;
  party is entitled to judgment on a                       263.3026(b);         263.306(a);     263.307;
  collaborative family law settlement agreement            263-401(b);       263-403(a);     263-404(a);
  if the agreement:                                        263.502(c), (d); 263.503(a), (b); 264.108(a);
                                                           264- 403(b); 264.601(2); 264.754; 264.903(c);
       (1) provides, in a prominently displayed
                                                           266.004(b), (e), (g); 266.0041(b), (c), (e);
  statement that is in boldfaced type,
                                                           266.010(g), (i).
  capitalized, or underlined, that the agreement
  is not subject to revocation; and                               At oral argument, Benjamin's counsel
                                                                7.,

                                                          stated that he believed the Legislature
      (2) is signed by each party to the
                                                          inadvertently used "and" instead of "or" in the
  agreement and the collaborative lawyer of
                                                          family violence proVIsJOn, despite its
  each party.
                                                          intention to allow trial courts to consider the
                                                          child's best interest before entering judgment
       Tex. Fam.Code§ 15.105.
                                                          on an MSA. SeeTex. Fam.Code § 153.0071(e-
       s., Yet, curiously, the Court has not              1); Bd. of Ins. Comm 'rs of Tex. v. Guardian
   ordered the trial court to enter judgment on           Life Ins. Co. of Tex., 142 Tex. 630, 180 S.W.2d
   the MSA.                                               906, 908 (Tex.1944) (explaining that "and" is
                                                          sometimes construed as "or," but only when
       fJ.See, e.g.,Tex. Fam.Code§§ 2.103(a), (t);        "the context favors the conversion; as where it
  31.002(a); 31.005; 33.003(i); 33.008(a);                must be done in order to effectuate the
  45.004(a); 51.n(b); 54.04(i); 54.05(m);                 manifest intention of the user; and where not
  54.n(k); 60.010; 85.001(b); 85.005(c);                  to do so would render the meaning
  105.004(2); 105.009(a); 107.001(1), (5);                ambiguous, or result in an absurdity; or
  107.002(a), (e); 107.004(e); 107.005(a), (c);           would be tantamount to a refusal to correct a
  107.008(b), (c); 107.on(a), (b); 107.021(a),            mistake"). I am not convinced that the
  Cb); 153.001(a); 153.002; 153.004(b), (d), (e);         Legislature erred in this instance, as it is
  153.006(c); 153.007(b), (d); 153.0071(b), (e-           plausible that the Legislature, in the interest
  1);      153.009(c);     153.015(b);  153.072;          of avoiding the hardship of prolonged custody
  153.131(a), (b); 153.133(a); 153.134(a);                litigation on children in family violence
                                                          situations, would want a court to invalidate
                                                      -40-


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  an MSA that was the result of family violence              Belgium, N. V. v. Marchand, 83 S.W.3d 789,
  only if the court finds that the MSA is not in             795 (Tex.2002))); Worford v. Stamper, 801
  the child's best interest. I do not disagree with          S.W.2d 108, 109 (Tex.1990) (per curiam)
  Benjamin, however, that the Legislature                    (holding that findings of fact should be
  might effectuate the overarching policy for                implied in favor of an order modifying child
  courts to act in the child's best interest, as             support (citing Lemons v. EMW Mfg. Co., 747
  codified in section 153.002 and expressed                  S.W.2d 372, 373 (Tex.1988) (per curiam))). In
  throughout the Family Code, by allowing trial              the hearing before the trial court, there was
  courts to reject MSAs when either the family               no discussion of the specific Holley factors,
  violence requirement is met or the court finds             but there was testimony about Scott, his
  it is not in the best interest of the child. I             contact with the child, and resulting
  leave Benjamin's suggested revision of the                 probation violations. I believe I have
  statute to the Legislature to enact an                     accurately stated the issue and that in this
  amendment as it deems necessary.                           case, as with any case in which an MSA
                                                             endangers a child, these grounds for rejecting
       a.see supra at 11. 6.                                 an MSA-that it jeopardizes a child's safety
                                                             and that it is not in the child's best interest­
      'l. Under the MSA, the parties agreed to               are simply two sides of the same coin.
  have their attorneys first attempt to resolve              Whether the trial court abused its discretion
  disputes through phone conference with the                 in rejecting an MSA that puts a child's safety
  mediator, and if the disputes cannot be                    and welfare in danger should not come down
  resolved by phone conference, then they are                to whether the trial court used the word
  to be decided by arbitration, with the                     "endangerment" or tracked the language of
  mediator serving as arbitrator.                            the statute and instead used the phrase "not
                                                             in the best interest of the child."
       m Under this construction, Benjamin is
  powerless to challenge the MSA when a                           u.. If parents know what is best for their
  motion for entry of judgment is being                      children, as the Court believes, and if children
  considered. Instead, he must wait until the                suffer needlessly from traditional custody
  trial court enters judgment on the MSA and                 litigation, a fact the Court says is well­
  then challenge its enforcement through                     documented, and if successful mediation
  arbitration and, ultimately, again in court.               largely avoids those harmful effects, as the
  Surely this inefficient process is not what the            Court asserts, then why would parents opt not
  Legislature intended.                                      to use mediation to settle their disputes?
                                                             See411 S.W.3d at 459.
        u. The Court suggests I misstate the issue
   because the trial court rejected the MSA on                    u The record contains no indication that
   best interest grounds and did not make                    the trial court has issued temporary orders or
   specific findings that the MSA places the                 otherwise altered the custody, possession,
   child's safety and welfare in danger. 411                 and access provisions of the 2007 order.
   S.W.3d at 460 n. 23. But findings necessary to
   support a trial court judgment will be implied                  14, Because the MSA uses the word

   when they are supported by evidence. See,                  "enjoined," the Court and the concurrence
   e.g., Sixth RMA Partners, L.P. v. Sibley, 111              refer to the protective provision as an
   S.W.3d 46, 52 (Tex.2003) ("When neither                    injunction. 411 S.W.3d at 458 n. 17. The
   party requests findings of fact and                        parties have presented no arguments about
   conclusions of law, it is implied that the trial           whether an agreed MSA provision could be
   court made all fact findings necessary to                  construed as or enforced as a true injunction.
   support its judgment." (citing BMC Software                SeeTex. Fam.Code § 105.001 (providing for



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  trial court issuance of temporary injunctions           & Pmtective Servs., No. 03-11-00418-CV,
  in family law matters); see, e.g., Peck v. Peck,        2012 WL 1149291, at *4 n. 3, 2012 Tex.App.
  172 S.W.3d 26, 35 (Tex.App.-Dallas 2005,                LEXIS 2760, at *12 & n. 3 (Tex.App.-Austin
  pet. denied) (noting that although the Family           Apr. 4, 2012, no pet.) (mem. op.) ("The trial
  Code does not speak to permanent                        court has no authority to enter a judgment
  injunctions, many Texas cases address final             that varies from the terms of the mediated
  orders in family law matters that incorporate           settlement agreement," and even if the family
  permanent injunctions). Nor have the parties            violence provision were implicated, "the trial
  presented arguments about whether an MSA                court would be permitted only to decline to
  provision, if it indeed can be an injunction,           enter a judgment on the MSA, not to modify
  could be binding on a person who is not a               its terms."); Garcia-Udall v. Udall, 141
  party to the MSA or the lawsuit. SeeTex.R.              S.W.3d 323, 332 (Tex.App.-Dallas 2004, no
  Civ. P. 683 (stating that an order granting an          pet.) ("[T]he trial court has no authority to
  injunction "is binding only upon the parties to         enter a judgment that varies from the terms
  the action, their officers, agents, servants,           of the mediated settlement agreement."). But
  employees, and attorneys, and upon those                see, e.g., Wallace v. McFarlane, No. 01-10-
  persons in active concert or participation with         00368-CV, 2013 WL 4507843, at *8, 2013
  them who receive actual notice of the order by          Tex.App. LEXIS 10587, at *22 (Tex.App.­
  personal service or otherwise"). I leave those          Houston [1st Dist.] Aug. 22, 2013, no pet. h.)
  questions for another day, but I do not                 ("A trial court may modify the terms of an
  assume that simply because Stephanie and                MSA, however, so long as those modifications
  Benjamin chose to "enjoin" a nonparty, it is in         do not add terms, significantly alter the
  fact an injunction that can be enforced                 original terms, or undermine the parties'
  against Scott.                                          intent.").

       liWe have held that third parties can be                 .IL The concurrence concludes that the

  bound by arbitration agreements they did not            record does not support a finding that entry
  sign under certain circumstances, but those             of judgment on the MSA could endanger the
  cases are inapplicable here. See, e.g., In re           child. 411 S.W.3d at 464-65. We give trial
  Kellogg Bmwn & Root, Inc., 166 S.W.3d 732,              courts wide latitude in determining matters
  738-39 (Tex.2005) (explaining that, under               relating to a child's best interest, however. See
  federal substantive law, non-signatories have            Gillespie v. Gillespie, 644 S.W.2d 449, 451
  been bound by arbitration agreements under               (Tex.1982). "With the opportunity to observe
  contract and agency law principles of (1)               the appearance and demeanor of the
  incorporation by reference, (2) assumption,             witnesses, to weigh their testimony, and
  (3) agency, (4) alter ego, (5) equitable                evaluate the virtues of parties, no one is in a
  estoppel, and (6) third-party beneficiary).             position to do this better than the trial court."
                                                           Taylor v. Meek, 154 Tex. 305, 276 S.W.2d
        & The issue is far from settled in the             787, 790 (Tex.1955) (quoting Valentine v.
   courts of appeals. See, e.g., Byrd v. Byrd, No.         Valentine,      203     S.W.2d       693,    696
   04-11-00700-CV, 2012 WL 6013424, at *3,                 (Tex.Civ.App.-Amarillo 1947, no writ)). We
   2012 Tex.App. LEXIS 9840, at *10                       must not second-guess the trial court simply
   (Tex.App.-San Antonio Nov. 30, 2012, no                 because we read short, awkwardly-phrased
   pet.) (mem. op.) ("While a trial court in these         testimony differently. See E.J. du Pont de
   circumstances has authority not to enforce             Nemours & Co. v. Robinson, 923 S.W.2d 549,
   the mediated settlement agreement, it has no            558 (Tex.1995) ("The test for abuse of




   -
   authority to sign a judgment that varies from          discretion is whether the trial court acted
   the terms of the mediated settlement                    without reference to any guiding rules or
   agreement."); Philipp v. Tex. Dep't of Family           principles[,] ... not whether, 'in the opinion of
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  the reviewing court, the facts present an                 non-parties to comply with provisions of the
  appropriate case for the trial court's action.' "         MSA.
  (internal citations omitted)); Walker v.
  Packe,·, 827 S.W.2d 833, 839-40 (Tex.1992)                     .l!l.. The Court again misses the critical

  ("[T]he reviewing court may not substitute its            question in cases such as this-what can a
  judgment for that of the trial court.... Even if          trial court do when parents are not acting in
  the reviewing court would have decided the                the child's best interest?
  issue differently, it cannot disturb the trial
  court's decision unless it is shown to be
  arbitrary and unreasonable."); Bell v.
  Campbell, 328 S.W.3d 618, 620 (Tex.App.-El
  Paso 2010, no pet.) ("We recognize that the
  trial court is best situated to observe the
  demeanor and personalities of the witnesses
  and can 'feel' the forces, powers, and
  influences that cannot be discerned by merely
  reading the record."). I agree with the
  concurrence that a finding of endangerment
  and rejection of an MSA on that basis should
  not occur without evidentiary support, but I
  disagree with the conclusions the concurrence
  draws on this record. Under our mandamus
  standard of review, any evidence of
  endangerment-even arguably ambiguous
  statements, and even when there is
  conflicting evidence-is some evidence; when
  then there is some evidence to support the
  trial court's decision, no abuse of discretion
  exists. See Gen. Tire, Inc. v. Kepple, 970
  S.W.2d 520, 526 (Tex.1998) ("An abuse of
  discretion does not exist where the trial court
  bases its decisions on conflicting evidence."
  (quoting Davis v. Huey, 571 S.W.2d 859, 862
  (Tex.1978))); Beaumont Bank, NA. v. Buller,
  806 S.W.2d 223, 226 (Tex.1991) ("Although
  the court of appeals reversed the trial court
  on the ground that there was 'no evidence' to
  support the issuance of the turnover order,
  the court of appeals should have reviewed the
  trial court's judgment under an abuse of
  discretion standard." (internal citations
  omitted)).

      lll. I disagree with the concurrence's
  implication that a trial court with concerns
  about a child's safety under an MSA must, at
  the prove-up stage, conduct a full evidentiary
  hearing regarding the potential effects of the
  modification and the intent of parties and



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Andrew Goodman

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        Please find the full text of the document below:




                                                       443 S.W.3d 373

                                           Charles Keener SCRUGGS, Appellant
                                                           v.
                                             Heather Maude LINN, Appellee.

                                                    No. 14-12-01168-CV.

                                     Court of Appeals of Texas, Houston (14th Dist.).

                                                           Aug. 19, 2014.

        [443 S.W.3d 375]

        Gerson D. Bloom, George William Vie, Ill, Galveston, for Appellant.

        David J. Wukoson, Houston, for Appellee.

        Panel consists of Chief Justice FROST and Justices JAMISON and WISE.

        OPINION

        MARTHA HILL JAMISON, Justice.

        This case involves a dispute between an oral surgeon and a neurologist over retroactive child support for
        their now adult daughters. In four issues, appellant Charles Keener Scruggs complains of the trial court's
        judgment against him for attorney's fees, costs, and retroactive child support in favor of appellee Heather

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Maude Linn in this suit seeking modification of a final order rendered in a suit affecting the parent-child
relationship.1 We reverse and remand the trial court's judgment against Scruggs for amicus attorney fees for
a determination of whether the award is in compliance with the parties' mediated settlement agreement
(MSA). We affirm the trial court's judgment in all other respects.

[443 S.W.3d 376]

Background

Scruggs and Linn divorced in 2002. They had two daughters during their marriage. In the final divorce
decree, Scruggs and Linn were appointed as joint managing conservators of their daughters, and Scruggs
was ordered to pay child support in the amount of $1,250 per month. Scruggs filed his petition to modify the
parent-child relationship in 2008, alleging the circumstances of the children had materially and substantially
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changed since the date of the rendition of the" divorce decree, as the children then were living with Scruggs
most of the time. Scruggs sought to be appointed the joint managing conservator of the children with the
right, among other things, to designate their primary residence. Scruggs also sought to terminate his child
support obligation on the basis that Linn had "voluntarily relinquished actual care, control, and possession of
the children for at least six months."

Linn filed a counter-petition seeking the right to determine the domicile of the children, retroactive child
support, and an increase in Scruggs's child support obligation. Scruggs amended his petition to seek child
support from Linn and to allege that he was "the conservator with the exclusive right to determine the
children's residence" and no longer alleged that Linn had "voluntarily relinquished actual care, control, and
possession of the children for at least six months" or sought to terminate his child support obligation. The
amicus attorney who represented the children filed an original answer seeking her fees and expenses as
costs.

Scruggs and Linn subsequently entered into the MSA2, including, in relevant part, the following terms:

        • Scruggs had the right to receive child support from Linn;

        • Linn was required to pay $1,160.60 per month in child support beginning June 1, 201o;�
        • Retroactive child support, if any, would be determined by the trial court;

        • Scruggs would reimburse Linn for his portion of any counseling fees paid by Linn on his
        behalf and would pay any balance owed by him to the psychologist;! and
        • Scruggs and Linn would pay any balance owed to the amicus attorney before trial and
        would divide evenly any amicus fees incurred "for trial."

The issues of retroactive child support and attorney's fees were tried to the bench. The trial court thereafter
entered a letter "ruling" as follows in relevant part:

        • The amicus attorney's fees were "to be paid according to the MSA within 7 days of the final
        order." The amicus attorney was awarded $4,156.38.
        • Scruggs would reimburse Linn for his portion of counseling fees, totaling $5,600, and the
        remaining counseling fees would be divided evenly between Scruggs and Linn.
        • Scruggs and Linn would each pay their own attorney's fees.

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        • Scruggs owed Linn $28,750 in retroactive child support, offset by $17,409.90 owed to
        Scruggs by Linn, leaving a total owed by Scruggs to Linn of $11,341.
        • Other costs and fees would be paid by the parties who incurred them.


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Linn filed two motions for reconsideration, arguing that the trial court was required to order Scruggs to pay
her attorney's fees and all court costs under section 157 .167 of the Texas Family Code.� The trial court
denied the first motion but granted the second and subsequently issued another letter "ruling" that, in
addition to the first ruling, required Scruggs to pay $15,000 of Linn's attorney's fees and costs of court.

The trial court thereafter signed a document entitled "Order in Suit to Modify Parent-Child Relationships"
(Order), in which it rendered judgment against Scruggs for the retroactive child support offset of $11,341,
attorney's fees, and costs. The costs, totaling $18,175, included court-appointed psychologist's fees of
$5,230, a high conflict parenting coordinator fee of $925, and amicus attorney fees of $4,604.69.

Scruggs filed a motion for new trial, a request for findings of fact and conclusions of law, and a notice of
appeal. The trial court initially did not file findings of fact and conclusions of law. We abated the appeal, and
after the trial court filed findings of fact and conclusions of law, the appeal was reinstated.

Discussion

In four issues, Scruggs argues the trial court abused its discretion because (1) imposing the costs
enumerated in the Order on Scruggs was contrary to the MSA and the award of attorney's fees was not
provided for in the MSA; (2) the award of attorney's fees was not required under the Family Code; and (3)
the trial court should have terminated Scruggs's child support obligation as of the date he filed the
modification suit.

To prevail in a modification suit, a party seeking relief must show that the circumstances of the children or a
person affected by the order have materially and substantially changed since the date of the divorce decree.
See Tex. Fam.Code§ 156.401(a)(1) ; In re D.S., 76 S.W.3d 512, 520 (Tex.App.-Houston [14th Dist.] 2002,
no pet.). In determining whether child support should be modified, the trial court is obliged to examine the
circumstances of the children and parents at the time of the divorce decree and the circumstances existing
at the time of trial in the modification suit. See In re D.S., 76 S.W.3d at 520. Upon a showing of the requisite
changed circumstances, the trial court may alter the child support obligations. See id.

Trial courts have broad discretion to determine and modify the amount of child support that a parent must
pay. See id. We review the trial court's modification ruling under the abuse-of-discretion standard. See id.
The test for abuse of discretion is whether the trial court acted arbitrarily or unreasonably, or whether it acted
without reference to any guiding rules or principles. Worford v. Stamper, 801 S.W.2d 108, 109 (Tex.1990).
An abuse of discretion does not occur when the record contains some evidence of a substantial

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and probative character to support the trial court's ruling. In re T.J.L., 97 S.W.3d 257, 266 (Tex.App.Houston
[14th Dist.] 2002, no pet.).

I. What is covered by the MSA?

In his second and third issues, Scruggs argues the trial court's rendition of judgment against him for costs
and attorney's fees is contrary to the terms of the parties' negotiated MSA. "If a mediated settlement
agreement meets [statutory requirements11 ], a party is entitled to judgment on the mediated settlement
agreement notwithstanding ... another rule of law." Tex. Fam.Code§ 153.0071(e) ; see In re Lee, 411
S.W.3d 445, 447 (Tex.2013). A trial court generally does not have discretion to decline to enter judgment on
or deviate from an MSA.z See Tex. Fam.Code§ 153.0071 (e) ; see also Lee, 411 S.W.3d at 452-53.

A. Attorney's fees award is not contrary to the MSA.

In his second issue, Scruggs argues that the MSA reserved only the issue of retroactive child support for trial
and thus the trial court abused its discretion in ordering him to pay some of Linn's attorney's fees.11 The MSA
does not address attorney's fees. However, it is labeled as a "partial" MSA and addresses retroactive child

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support, as follows: "Issue of whether one parent, or both, owe the other parent retro-active or past due child
support, shall be determined by the Court." Contrary to Scruggs' assertion, the MSA does not reserve "only"
this issue. Linn argues that the judgment for attorney's fees against Scruggs was mandated by the Family
Code. See Tex. Fam.Code§ 157.167 (discussed in detail below). Section 157.167 mandates an award of
attorney's fees against the party who failed to make child support payments, except under certain specific
circumstances, discussed below. See id. Because the MSA, according to its own title-"Binding Mediated
Settlement Agreement-Partial SAPCR"-and terms, is merely a partial settlement and does not address
attorney's fees, and because the fees issue is related to retroactive child support-the issue expressly
reserved for trial in the MSA-we conclude the trial court's award of attorney's fees to Linn was not contrary
to the MSA.

B. Costs award is contrary to the MSA only to the extent that the amicus attorney's fees incurred
prior to trial were not paid by the party who owed them and the amicus attorney's fees incurred for
trial were not divided equally.

In his third issue, Scruggs contends the trial court abused its discretion in awarding costs to Linn that
purportedly varied from the terms of the MSA. In the MSA, the parties agreed (1) each party was responsible
for 50% of the counseling fees, Scruggs would reimburse Linn for any portion of the counseling fees that she
paid

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on his behalf, and Scruggs would pay the counselor directly for any remaining fees he owed; and (2) the
parties would pay the amicus attorney "100% of any balance owed to her by either mother or father prior to
trial" and each party would pay half of the remaining balance of the time billed for trial within seven days
after the completion of trial.

The trial court, in its findings of fact and conclusions of law, found that Linn had "paid in full her court ordered
share of the expenses and charges of the Court appointed Amicus, the Court appointed psychologist. and
the Court appointed high conflict parenting coordinator" and that Scruggs had failed to pay his share of the
same. The court broke down the costs awarded to Linn as follows:

        • "fees paid to the Court appointed high conflict parenting coordinator ... in the amount of
        $925;"
        •"fees paid to the Amicus in the amount of $12,000.00; and"
        •"fees ... paid to the Court appointed psychologist ... which were to be paid by [Scruggs] in
        the amount of $5,230.00.   11




In the judgment, the court further awarded the amicus attorney $4,604.69 to be paid by Scruggs.

Counseling fees. As set forth above, the parties agreed in the MSA that each party was responsible for
50% of the counseling fees, Scruggs would reimburse Linn for any portion of the counseling fees that she
paid on his behalf, and Scruggs would pay the counselor directly for any remaining fees he owed her. At
trial, Linn testified that Scruggs owed her $5,600 that she paid to the court appointed psychologist on
Scruggs's behalf. It is not clear why the court awarded Linn only $5,230 as costs, but Linn's testimony is
evidence of a substantial and probative character that Scruggs owed her $5,600 under the MSA.
Accordingly, the trial court's award of $5,230 to Linn for counseling fees was not contrary to the MSA, and
the trial court did not abuse its discretion in rendering judgment against Scruggs for this amount.

Amicus attorney fees. Scruggs argues that the parties agreed in the MSA to divide the amicus attorney
fees "fifty-fifty" and thus the trial court abused its discretion in ordering him to reimburse Linn $12,000 in fees
she paid to the amicus attorney and to pay the amicus attorney $4,604.69 in additional fees. The MSA is not
as clear as Scruggs represents. It reads, "Parents shall pay the Amicus 100% of any balance owed to her by
either mother or father prior to trial with the remaining time billed for trial to be pa[id] 50/50 by each parent
within seven days of trial's completion." The MSA neither indicates what fees were owed to the amicus

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attorney by Scruggs or by Linn before trial nor states that the balance owed "prior to trial" was to be divided
equally between Scruggs and Linn.

The party seeking to recover attorney's fees carries the burden of proof. Stewart Title Guar. Co. v. Sterling.
822 S.W.2d 1, 10 (Tex.1991); In re A.LS., 338 S.W.3d 59, 69-70 (Tex.App.-Houston [14th Dist.] 2011, pet.
denied). At trial, Linn argued that Scruggs was required under the statute to pay the amicus attorney fees.
See Tex. Fam.Code§ 157.167(a). Accordingly, Linn had the burden to show she was entitled to the $12,000
reimbursement from Scruggs and to show Scruggs was responsible for the remaining fees owed to the
amicus attorney.

Linn testified that she had paid the amicus attorney $12,000. The amicus attorney testified, "[M]y firm has
been paid [$] 13,000 by each party. Both have paid equally up to this point. The last invoice

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that was submitted, our firm was owed [$]2,656.38. As of this week up until I calculated, ... that would bring
my invoice as of today to $4,156.38." However, there is no evidence in the record of the balance, if any,
"owed to [the amicus attorney] by either mother or father prior to trial" or "the remaining time billed for trial
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  under the MSA.9 Linn did not meet her burden to show Scruggs was required to pay the amicus attorney
fees because the trial court was required to comply with the terms of the MSA, which required Linn and
Scruggs to "pay the Amicus 100% of any balance owed to her by either mother or father prior to trial with the
remaining time billed for trial to be pa[id] 50/50 by each parent within seven days of trial's completion."112
Thus, Linn was required to show what amount, if any, of amicus attorney's fees Scruggs owed her and the
amicus attorney under the MSA. The record does not include the breakdown of (1) what amount was owed
before trial and by whom and (2) what amount was billed for trial, which under the MSA was to be split
equally between Scruggs and Linn.u

As set forth above, the trial court was required to comply with the terms of the MSA. See Tex. Fam.Code§
153.0071(e); Lee, 411 S.W.3d at 447. We conclude that under the MSA, the trial court was required to
award the amicus attorney her fees owed before trial against the party who owed those fees and divide
those amicus attorney's fees incurred for trial equally between Scruggs and Linn. We reverse that portion of
the trial court's judgment ordering Scruggs to reimburse Linn $12,000 she paid in amicus attorney's fees and
to pay the amicus attorney $4,604.69. We remand this issue (1) for proceedings to determine what amount,
if any, was owed to the amicus attorney before trial and by whom and what amount was billed for trial; and
(2) subsequently to order each party to pay the amicus attorney the amount each owes under the terms of
the MSA.

High conflict parenting coordinator fees. Scruggs also complains that the judgment against him for this
fee of $925 is contrary to the MSA. The trial court appointed a high conflict parenting coordinator at Linn and
the amicus attorney's request. The MSA does not address this fee. Although it states that the issue of
retroactive child support "shall be determined by the [trial] Court," it does not limit the court from considering
other issues not expressly covered by the MSA. We conclude the trial court's judgment against Scruggs for
this fee is not contrary to the MSA. The trial court did not abuse its discretion in rendering judgment against
Scruggs for this amount based on his claim that it is contrary to the MSA.

Conclusion. The trial court's judgment against Scruggs for Linn's attorney's fees, counseling fees, and high
conflict parenting coordinator fees is not contrary to the MSA, as Scruggs contends. Accordingly, the trial
court did not render a judgment contrary to the MSA or abuse its discretion

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in rendering judgment against Scruggs as to these fees. We overrule Scruggs's second issue pertaining to
his argument that Linn's attorney's fee award was contrary to the MSA. We cannot determine from the
record whether the judgment for amicus attorney's fees is contrary to the MSA. We reverse and remand this
issue as discussed above. We overrule Scruggs's third issue in all other respects.


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II. Was the attorney's fee award against Scruggs allowed under or mandated by the Family Code?

Scruggs also argues in his second issue that the trial court erroneously concluded it was required to render
judgment for Linn's attorney's fees against Scruggs, and in so doing, abused its discretion. In its findings of
fact and conclusions of law, the trial court concluded Linn was entitled to her attorney's fees "pursuant to
Sections 106.002 and 157.167(a) " and "no good cause exists under Sections [sic] 157.167(c) ... to waive
the requirement that ... Scruggs pay [Linn's] reasonable attorney fees and court costs."

Section 106.002, entitled "Attorney's Fees and Expenses," allows the trial court to render judgment for
reasonable attorney's fees and expenses to be paid directly to the attorney. Tex. Fam.Code§ 106.002(a).
Section 157.167 states, in relevant part: "If the court finds that the respondent has failed to make child
support payments, the court shall order the respondent to pay the movant's reasonable attorney's fees and
all court costs in addition to the arrearages."ld.§ 157.167(a). Under subsection (c), "for good cause shown,
the court may waive the requirement that the respondent pay attorney's fees and costs if the court states the
reasons supporting that finding." Id.§ 157.167(c). The trial court has broad discretion in awarding attorney's
fees, particularly in child support cases. In re WR.B., No. 05-12-00776-CV, 2014 WL 1008222, at *7
(Tex.App.-Dallas Feb. 20, 2014, pet. filed) (mem. op.)

Scruggs argues that because the trial court determined that he and Linn had both failed to make child
support payments, "it could have ordered either party to pay the other's attorney's fees." Construing this
argument liberally to be an argument that Scruggs showed good cause for the trial court to waive the
attorney's fees requirement, we conclude that Scruggs did not make that showing.12

At trial, Scruggs admitted that he made only one or two child support payments after he filed the modification
suit. His only explanation was that he thought he did not have to pay child support after filing suit based on
advice from counsel: "I got advi[c]e from my attorney who told me I didn't have to pay anymore." On cross
examination, Linn's counsel asked,

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"[Y]ou're saying (your attorney], a board certified family law lawyer, told you not to pay child support? That's
what you want us to believe?" Linn's counsel also asked Scruggs why, if he thought he no longer had to
make payments, he still made one or two payments after filing the modification suit. At first Scruggs
responded that his assistant inadvertently made a payment, but then he admitted that he "maybe'' signed the
check for that payment and wrote unfair' on it. The trial court, as the factfinder, was the sole judge of
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Scruggs's credibility and could disbelieve Scruggs's testimony that his attorney told him he did not have to
pay child support. See City of Keller v. Wilson, 168 S.W.3d 802, 819 (Tex.2005).

Linn, moreover, testified that she was seeking attorney's fees because of Scruggs's behavior in prolonging
the modification suit. The trial court could take this evidence into consideration in its good cause
determination. See T.J.L., 97 S.W.3d at 266 (noting no abuse of discretion occurs when record contains
some evidence of a substantial and probative character to support the trial court's ruling).

Considering the above evidence, we conclude the trial court did not abuse its discretion in concluding that
Scruggs did not show good cause for his failure to pay child support and in rendering judgment against him
for Linn's attorney's fees..u We overrule this issue.

Ill. Did Scruggs have a live claim at trial for termination of his child support obligation?

In two issues, Scruggs argues the trial court abused its discretion in awarding retroactive child support to
Linn because Scruggs originally pleaded for termination of his child support obligation and he had primary
custody of the children. In his original petition, Scruggs sought to terminate his child support obligation on
the basis that Linn had "voluntarily relinquished actual care, control, and possession of the children for at
least six months." However, he amended his petition to seek child support from Linn and, concededly, no
longer sought termination of his child support obligation. As the trial court found in its findings of fact and


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conclusions of law, Scruggs's amended petition was the live petition at trial, and it is the most recent one in
the appellate record.

An amended petition completely replaces and supersedes the previous pleading.See J.M. Huber Corp. v.
Santa Fe Energy Res., Inc., 871 S.W.2d 842, 844 (Tex.App.-Houston [14th Dist.] 1994, writ denied) ("An
amended petition ... supersedes all prior petitions and operates to dismiss ... causes of action to the extent
they are omitted from the amended pleading."). Scruggs argues, however, that the MSA gave Linn notice
that he was seeking termination of his child support obligation as of the date the modification suit was filed.
The MSA states, "Issue of whether one parent, or both, owe the other parent retroactive child support, shall
be determined by the Court." It neither indicates which parent had a claim for retroactive child support nor
specifies that Scruggs

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was seeking to terminate his child support obligation as of the date the modification suit was filed.1�

We conclude the trial court did not abuse its discretion in awarding Linn retroactive child support. We
overrule these issues.

Conclusion

Because we cannot determine from the record whether the judgment for amicus attorney's fees is contrary
to the MSA, we reverse and remand this issue to the trial court (1) for proceedings to determine what
amount, if any, was owed to the amicus attorney before trial and by whom and what amount was billed for
trial; and (2) subsequently to order each party to pay the amicus attorney the amount each owes under the
terms of the MSA. We affirm the judgment of the trial court in all other respects.



Notes:

1 Scruggs originally brought five issues. In the first issue, he complained that the trial court erred in failing to file findings of fact and conclusions of law.
We abated the appeal, and the trial court subsequently filed findings of fact and conclusions of law. We now address the other issues raised by
Scruggs.

2 The MSA was entitled "Binding Mediated Settlement Agreement-Partial SAPCR."

3 When the MSA was signed, the elder daughter was 18 years old and no longer subject to child support or possession orders. The younger daughter
was 16 years old at that time.

� The court appointed a psychologist for the children at the request of Linn and the amicus attorney. The counseling fees covered counseling sessions
for the children.

� All section references are to the Texas Family Code. Section 157.167, entitled "Respondent to Pay Attorney's Fees and Costs," states: "If the court
finds that the respondent has failed to make child support payments, the court shall order [him] to pay the movant's reasonable attorney's fees and all
court costs in addition to the arrearages." Tex. Fam.Code§ 157.167.

ll A mediated settlement agreement is binding on the parties if it is signed by each party and by the parties' attorneys who are present at the mediation
and states prominently and in emphasized type that it is not subject to revocation. Tex. Fam.Code§ 153.0071(d). The parties do not dispute that the
MSA is binding.

z A narrow exception, inapplicable here, allows a court to decline to enter judgment on a statutorily compliant mediated settlement agreement when a
party to the agreement was a victim of family violence, the violence impaired the party's ability to make decisions, and the agreement is not in the child's
best interest. See Tex. Fam.Code§ 153.0071(e-1) : see also Lee. 411 S.W.3d at 452-53.

ll Scruggs also argues the trial court abused its discretion in rendering judgment against him for Linn's attorney's fees under section 157.167. We
discuss that issue below.

i (Emphases added.)




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111 Generally, a party with the burden of proof who fails to produce evidence of attorney's fees waives her right to those fees, and an award of zero fees
is appropriate. A.LS., 338 S.W.3d at 70. However, here, evidence of the total amount of the amicus attorney fees was adduced at trial, but the proper
breakdown of those fees was not presented.

11 The amicus attorney's invoices were not part of the appellate record. It is not clear whether the trial court had access to the invoices. We note that
Scruggs preserved this issue for our review because he argued that the amount of amicus attorney fees the trial court ordered him to pay conflicted with
the terms of the MSA.

12 Even if he had, the trial court was not required under the statute to waive the fees requirement. Tex. Fam.Code§ 157.167(c) ( "(F]or good cause
shown, the court maywaive the requirement that the respondent pay attorney's fees and costs.'1 (emphasis added). Scruggs also argues that the trial
court was not required to render judgment against him under subsection (d). Under subsection (d):

           If the court finds that the respondent is in contempt of court for failure or refusal to pay child support and that the respondent owes
           $20,000 or more in child support arrearages, the court may not waive the requirement that the respondent pay attorney's fees and
           costs unless the court also finds that the respondent:
           (1) is involuntarily unemployed or is disabled; and
           (2) lacks the financial resources to pay the attorney's fees and costs.
           Id.§ 157.167(d). We need not address that argument. as the trial court expressly concluded that it awarded Linn's attorney fees
           under subsection (a).

� Pursuant to the MSA, Linn had agreed to pay child support of $1, 160.60 per month beginning June 1, 2010. Linn testified at trial that she was
required to make the payments to the Attorney General's State Disbursement Unit. She said that she sent the payments there and they were returned
because the custodial parent on the account had not been changed to Scruggs. Linn testified that she took the money she was ordered to pay and put it
into a bank account for the children. We need not decide whether Linn showed good cause not to pay child support because Scruggs does not argue on
appeal that the trial court should have ordered Linn to pay his attorney's fees.

1! Linn's counter-petition, however, included a claim for retroactive child support. The trial court concluded that both parents owed retroactive child
support but found in its findings of fact and conclusions of law that the amended petition sought only modification of conservatorship, possession, and
future child support, and attorney's fees and costs. The court further found that "at the time of trial[, Scruggs] had no active claims remaining from his
First Amended Petition ..., only a claim for attorney fees, which could not exist as a stand-alone cause of action, and had not filed a pleading seeking
retro-active child support.'' Scruggs's claims in the amended petition, other than for attorney's fees and costs, were resolved by the MSA.




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                            EXHIBIT "G"

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      1         A.      453.

      2         Q.      I'm sorry?

      3         A.      $453.

      4         Q.      So is it your testimony that your total income

      5   each month is approximately $1,453?

      6         A.      Yes.

      7         Q.      And once you and Mr. Willingham get divorced,

      8   you would agree with me that you cannot afford the

      9   mortgage on the Solvang property.            Correct?

    10          A.      That is correct.

    11          Q.      Okay.     And you would agree with me that your

    12    estate does not have enough cash money to be able to pay

    13    for Solvang -- the Solvang mortgage.              Correct?

    14                          MS. BURKETT:   Objection; leading.      There's

    15    a lot of leading -- I'm just -- I let it go.

    16                          MS. RAZAVI ZAND:    She's     she's not --

    17    she's adverse.

    18                          MS. BURKETT:   Okay.

    19                          MS. RAZAVI ZAND:   Yeah.

    20                          MS. BURKETT:   You can answer.

    21          Q.      (BY MS. RAZAVI ZAND)       You would agree with me

    22    that your estate does not have enough cash or money-to

    23    pay the mortgage on the Solvang property.               Correct?

    24          A.      I don't know.

    25          Q.      Do you know how much the mortgage is each month
                                                                             170
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     1    on Solvang?

      2         A.      Yes.

      3         Q.   How much?

     4          A.      It's $9,000.

      5         Q.      Okay.   And you would agree with me that you

      6   have no way of -- according to your income, it's not

      7   possible for you to be able to pay $9,000 per month just

      8   for the mortgage on Solvang.           Correct?

      9         A.   At the present time.

    10          Q.      Okay.   And so how exactly do you believe that

    11    you're going to be able to pay for the Solvang property

    12    if you don't sell it?

    13          A.      I do not know at this point.

    14          Q.      So why exactly would you want to keep that

    15    piece of property if you don't even know how you're

    16    going to pay for it?

    17          A.      I didn't say I didn't know how          how to pay

    18    for it.       I said I didn't know how I was          how I was

    19    going to pay for it.

    20          Q.      I don't understand the difference between your

    21    answer?

    22          A.      I'll -- I'll have to decide after the -- our

    23    property is -- assets are divided.

    24          Q.      Well, you understand that you probably have to

    25    make a decision on whether an asset should be sold or
                                                                            171
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      1   kept.        Correct?

      2           A.    When it comes to it, I will make that decision.

      3           Q.    And you understand that we have trial that's

      4   set approximately in the next 30 days.             Correct?

      5                          THE WITNESS:   Is that correct?

      6                          MS. BURKETT:   Answer the question.

      7           A.    Yeah.

      8           Q.     (BY MS. RAZAVI ZAND)      That's correct?

      9           A.    Uh-huh.

    10            Q.     Right?     You know the trial date.    Correct?

    11            A.     Uh-huh.     Yes, I do know.

     12           Q.     Okay.     And so how long have you been going

     13   through this divorce?

     14           A.     I was notified on October 4th by phone that the

     15   file         the divorce had been filed.

     16           Q.     Okay.     And that was in 2018, correct?

     17           A.     That is correct.

     18           Q.     So since 2018, have you thought about what you

     19   wanted to do with the Solvang residence?

    20            A.    Not in terms of financial breakdown and so on.

    21            Q.    So at what point are you going to decide what

    22    we're going to do with the Solvang residence?

    23            A.    When we have the -- when I know what we

    24    divorce is done, what my financial options are.

    25            Q.     Okay.     Well, what I'm -- what I'm trying to
                                                                            172
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      1   understand is that at some point we have to go to trial

      2   and at some point you're going to have to tell the court

      3   what you actually want from your community estate.               Do

      4   you understand that?

      5         A.      That is correct.

      6         Q.      So if we were in court today, which we're going

      7   to be in court in the next 30 days, what are you going

      8   to request from the judge with regard to the Solvang

      9   residence?       Are you going to ask that you keep it or are

    10    you going to ask that it be sold?

    11          A.      I'm going to ask that it -- we keep it -- I

    12    keep it.

    13          Q.      And do you understand that there is no possible

    14    way for you to actually pay $9,000 per month for the

    15    residence?       Correct?

    16          A.      Yes, I -- I cannot pay $9,000 a month.

    17          Q.      Okay.   And on top of the mortgage, there's also

    18    utilities on that residence as well.           Correct?

    19          A.      That is right.

    20          Q.   Approximately how much are the utilities on

    21    that residence?

    22          A.      I do not know.     I don't pay those bills.

    23          Q.      Okay.   And you understand that when you and

    24    Mr. Willingham are going to get divorced that

    25    Mr. Willingham doesn't have to actually pay for a
                                                                           173
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      1   property you're going to -­

      2         A.      Yes, I know that.

      3         Q.      Okay.     So it would be prudent if you actually

      4   agree that the residence be sold.           Correct?

      5         A.      No, I do not agree with that.

      6         Q.      Do you know approximately how much

      7   Mr. Willingham makes a month?

      8         A.      I -- at the present time he's not -- I do not

      9   believe he has a contract.          I don't know.

     10         Q.      Okay.     And you understand that Mr. Willingham

    11    can't afford the Solvang residence as well.              Correct?

    12          A.      I don't think that we as a -- as a couple at

     13   the present time we can afford the $9,000, yes.

    14          Q.      You can as a couple?

     15         A.      Uh-huh.

     16         Q.      Is that what you're saying?

    17          A.      Uh-huh.

    18          Q.      Okay.     And you understand that Mr. Willingham

     19   had to actually take a line of credit out to pay for the

    20    Solvang residence, correct?

    21          A.      I understand that he has done financing various
    22    kinds to

    23          Q.      To try to save the property.      Right?

    24          A.      That is correct.

    25          Q.      Okay.     And there's nothing that you've
                                                                           174
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      1   personally done to try to save that property.              Correct?

      2           A.    I'm sorry?

      3           Q.    You've -- you've done nothing financially to be

      4   able to help with that property.           Correct?

      5           A.    That is not correct.

      6           Q.    Have you       do you pay for any of the utilities

      7   on that property?

      8           A.    No.     But I have

      9           Q.    Okay.     Hold on.   Just listen to my questions.

    10    Okay?

    11                          You don't pay for any of the utilities.

    12    Correct?

    13            A.    No.

    14            Q.    Okay.    And you don't pay for any of the

    15    maintenance on the house.           Correct?

    16            A.    That is right.

    17            Q.    Okay.    And you don't pay for the mortgage.

    18    Correct?

    19            A.    That is correct.

    20            Q.   And you don't pay for the taxes.         Correct?

    21            A.    That is correct.

    22            Q.   And you don't pay for the insurance on the

    23    property.       Correct?

    24            A.    That's right.

    25            Q.    Okay.    And there's a winery located on the
                                                                            175
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     1    retirement account -- I'm sorry -- the money you receive

     2    from retirement and the money you receive from Social

     3    Security, you discussed that you deposit it into a Wells

      4   Fargo --

      5         A.      Wells Fargo mutual savings account.

      6         Q.      Okay.     So the -- so the Wells Fargo account is

      7   not a checking account, but it's a savings account?

      8         A.      That's correct.

      9         Q.      Correct?     Okay.

    10                          All right.    Now, with regard to the

    11    townhouse that's located here in Houston, what do you

    12    want to do with that townhouse?

    13          A.      If it's possible, I want Dick to have it.

    14          Q.      Okay.     And when you refer to Dick, you're

    15    you're referring to your husband as Charles Richard

    16    Willingham.       Correct?

    17          A.      That's correct.

    18          Q.      Okay.     Now, there is another piece of property

    19    that's located in San Bernardino County.            Correct?

    20          A.      That is right.

    21          Q.      Okay.     And that's the Ralston property.

    22    Correct?

    23          A.      That's correct.

    24          Q.   And your husband, Dick, received that through

    25    an inheritance.          Correct?
                                                                           177
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      1         A.      I believe that -- that there was a trust made

      2   by my father-in-law and I haven't seen a copy of the

      3   trust, so I cannot say whether it was just given to him

      4   or to both of us.

      5         Q.      Okay.    And so do you understand that we've

      6   provided a copy of that trust in our discovery

      7   responses?

      8         A.      No, I don't know that.

      9                         (Exhibit No. 5 marked.)

    10          Q.      (BY MS. RAZAVI ZAND)      I'm going to hand you

    11    what's been marked as Petitioner's Exhibit 5.             And do

    12    you understand that this Ralston property, this is a

    13    property that was owned by Mr. Willingham's father.

    14    Correct?

    15          A.      His father and mother, yes.

    16          Q.      Okay.    And so it didn't -- Mr. Willingham did

    17    not purchase this property himself during the marriage

    18    between you and him.         Correct?

    19          A.      That's correct.

    20          Q.      Okay.    And this piece of property was actually

    21    owned by his father and mother and it was their piece of

    22    property.       Correct?

    23          A.      That's correct.

    24          Q.      Okay.    And you understand that Mr. Willingham's

    25    father placed that property in a trust.            Correct?
                                                                           178
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      1           A.    That's right.

      2           Q.    Okay.    And that's the trust that you're talking

      3   about that you -- you state that you've never seen.

      4   Correct?

      5           A.    No.     I didn't say I didn't -- never seen.       I

      6   haven't seen it in the house where it was before.

      7           Q.    Okay.    So you've actually reviewed a copy of

      8   the trust?

      9           A.    Many years ago when it was done.

    10            Q.    And so --

     11           A.    I'm the one who took my father-in-law to get it

    12    done.

    13            Q.    Okay.    And so if you're the one who took your

    14    father-in-law to get it done, you understand that that

    15    property was a property that was owned by

    16    Mr. Willingham's father and mother.           Correct?

    17            A.    That's right.

    18            Q.    Okay.    And I have this      what's called

    19    Petitioner's Exhibit 5 in front of you.            Do you

    20    recognize this document?

    21            A.    It looks familiar.     I don't know offhand.

    22            Q.    Do you see where it says, "Declaration of

     23   trust"?

    24            A.    Yes.

    25            Q.    Okay.    When you say you took Mr. Willingham's
                                                                           179
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     1    father to get the trust, were you actually present at

     2    the attorney's office to get the trust?

     3            A.   That's correct.

     4            Q.   Okay.    So does this look like the trust

      5   document?

      6           A.    I -- I am not sure.       It looks like it.     I don't

      7   know.

      8           Q.   Now, as far as the property, when you say that

      9   you're not sure if Mr. Willingham's father left that

    10    property in trust -- well, explain to me, what do you

    11    mean that you're not really exactly sure how the

    12    property was left?

    13            A.    It was my belief that my father-in-law in the

    14    trust named both him -- Richard Willingham and myself as

    15    the beneficiary of the property with 25,000 allocated to

    16    his -- his daughter by a previous marriage.

    17            Q.   And when you say "his daughter," you mean

    18    Mr. Willingham's --

    19            A.    Stepsister.

    20            Q.    Stepsister.    Correct?    Not that -- not that

    21    Mr. Willingham, your husband, had a daughter.               Correct?

    22            A.    No.

    23            Q.    Okay.   So looking at the trust, if you can just

    24    turn the page.        And ask that you turn to page 3 of the

    25    trust.       Do you see Section D?
                                                                            180
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      1         A.      Uh-huh.

      2         Q.      Okay.   And it says, "On Charlie R. Willingham's

      3   death."       And Charlie R. Willingham would be Dick's

      4   father.       Correct?

      5         A.      That's correct.

      6         Q.      Okay.     "On Charlie R. Willingham's death, the

      7   trustee shall distribute the trust estate as follows:

      8   No. 1, to Charlie R. Willingham's daughter, Gloria Jones

      9   Straton, who is also known as Gloria Straton and who has

    10    formerly been known as Gloria Joan Mulligan and Gloria

    11    Joan Willingham of Dallas, Texas a sum of cash

    12    equivalent to 12 percent of the trust estate, but not to

    13    exceed 25,000 in cash."          Do you see that part?

    14          A.      Yes.

    15          Q.      Okay.     And that's what you were actually

    16    referring --

    17          A.      Yes.

    18          Q.      -- to earlier when you said that his father

    19    left $25,000 to his sister?

    20          A.      That's correct.

    21          Q.      Okay.     Or his stepsister, correct?

    22          A.      Stepsister.

    23          Q.      Okay.     And then No. 2 says, "To Charlie R.

    24    Willingham's son, Charles Richard Willingham of Santa

    25    Barbara, California."          And that is your husband.
                                                                           181
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      1   Correct?

      2         A.      That's correct.

      3         Q.      Okay.     11   The residue of the trust estate.    If

      4   Charles Richard Willingham predeceases Charlie R.

      5   Willingham, the residue of the trust estate shall be

      6   distributed to Deepa Willingham of Santa Barbara,

      7   California.          If both Charles Richard Willingham and

      8   Deepa Willingham predisease Charlie R. Willingham, the

      9   residue of the trust estate shall be distributed to the

    10    issue of Charlie R. Willingham's son, Charles Richard

    11    Willingham.     11
                                Do you see that part?

    12          A.      Yes.

    13          Q.      Okay.     So you would agree with me that Charles

    14    Richard Willingham did not predecease Charlie R.

    15    Willingham.          Correct?

    16          A.      No.

    17          Q.      Okay.     Because he's still here, right?

    18          A.      He's still here.

    19          Q.      Okay.    And -- and his -- and his father has
    20    deceased.       Correct?

    21          A.      That's correct.

    22          Q.      Okay.     So based off of this, it says here if
    23    Charles Richard Willingham predeceases Charlie R.

    24    Willingham, the residue of the trust estate shall be

    25    distributed to Deepa.              Correct?   So if we look here to
                                                                           182
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      1   Charlie R. Willingham•s son, he would get the residue of

      2   the estate?

      3         A.      Uh-huh.

      4         Q.      Okay.     So do you -­

      5         A.      Yes.

      6         Q.      Do you understand that by reading this -­

      7         A.      Yes.

      8         Q.         whatever was in the trust because his father

      9   died before your husband did that everything actually

    10    goes to Mr. Willingham?          Correct?

    11          A.      Okay.     I now understand, yes.

    12                          MS. BURKETT:     Objection; form.

    13          Q.      (BY MS. RAZAVI ZAND)        Okay.   Do you -- do you

    14    understand that?

    15          A.      Yes.

    16          Q.      Okay.     So you understand that the home -- that

    17    the Ralston property that's located in San Bernardino

    18    County was actually given in trust to your husband and

    19    not to you.          Correct?

    20          A.      That's what it looks like.

    21          Q.      Well, I'm asking you, you're           you're the

    22    person that took Mr. Willingham's father to the attorney

    23    to get this document done.             Correct?

    24          A.      That's right.

    25          Q.      Okay.     And so after reading this, you
                                                                            183
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      1   understand that anything that was left in trust after

      2   what was given to Mr. Willingham's stepsister was

      3   actually given to Mr. Willingham.             Correct?

      4                        MS. BURKETT:   Objection; form.

      5                        Answer the question.

      6                        THE WITNESS:   Answer?

      7                        MS. BURKETT:   Yes.

      8         A.      Yes.

      9         Q.      (BY MS. RAZAVI ZAND)     Okay.     And that if

    10    Mr. Willingham, meaning your husband, actually died

    11    before his father did, then the remaining portion of the

    12    trust would actually have gone to you.             Correct?

    13          A.      That's right.

    14          Q.      And, obviously, that didn't happen?

    15          A.      That's right.

    16          Q.      And so do you believe that you have any

    17    interest in this Ralston property in San Bernardino

    18    County?

    19                         MS. BURKETT:   Objection; form.

    20                         Answer the question.

    21          A.      Yes.

    22          Q.      (BY MS. RAZAVI ZAND)     What interest do you

    23    believe that you have in it?

    24                  Oh, sorry, I didn't

    25                  Do you believe that you have any interest in
                                                                         184
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     1    the Ralston property in San Bernardino County?

     2                          MS. BURKETT:   Objection; form.

     3                  (BY MS. RAZAVI ZAND)       You can answer.

     4                  No.

     5            Q.    What credit cards do you have in your name?

     6            A.    I couldn't tell you.       I have to look it up.

      7           Q.    Okay.

     8            A.    I have a platinum debit card from which -­

     9    attached to Wells Fargo 0741.

    10            Q.    Hold on a second.      It's Wells Fargo --

    11            A.    07

    12            Q.          platinum credit card?

    13            A.    0741.

    14            Q.    Okay.     Is that only in your name?

    15            A.    No.

    16            Q.    Whose other -- who else is a signatory on that

    17    card?

    18            A.    C. Richard Willingham, my husband.

    19            Q.    What else?     What other credit cards do you

    20    have?

    21            A.    I have a Visa credit card ending in 8894.

    22            Q.    Okay.

    23            A.    With no balance in it.        So I cannot use it.

    24            Q.    Any other credit cards?

    25            A.    Yeah.     Just a minute.    I have a Southwest Visa
                                                                            185
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      1   with 3218.          No credit in it available to me.     I have

      2   a -- another Southwest credit card with 4799 with no

      3   credit available to me.          I have a Citibank credit card

      4   with 1976 with no credit available to me.

      5         Q.      Now, when you say no credit available to you,

      6   do you mean that those credit cards are maxed out?

      7         A.      That's correct.

      8         Q.      Okay.     So do you know the balance on any of

      9   these credit cards?

    10          A.      No.

    11          Q.      Who pays the credit card each month?

     12         A.      My -- my husband.

    13          Q.      What expenses do you pay for each month?

    14          A.      I'm sorry?

    15          Q.      What expenses do you pay for each month?

    16          A.      For -- for each month?

    17          Q.      Yeah, what expenses do you pay for?

    18          A.      I pay for Jose's salary.

    19          Q.      Uh-huh.     What else?

    20          A.      And food.

    21          Q.      Now, Ms. Willingham, is there --

    22          A.      And -- and the supplies that are needed to

    23    maintain the ranch.

    24          Q.      When you say "supplies needed to maintain the

    25    ranch," what do you mean?
                                                                           186
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      1         A.      Gas, going to the -- going to the dump,

      2   those -- in maintaining the property.

      3         Q.      Is there any livestock on the ranch?

      4         A.      No.

      5         Q.      Now, do you understand that     --   how much do you

      6   believe that the ranch is worth in Solvang?

      7         A.      It was assessed at 1. 6.

      8         Q.      Okay.   And you understand that when it was

      9   assessed at 1. 6 million dollars, they didn't take into

    10    consideration the rental property that's located on the

    11    ranch.     Correct?

    12          A.      They did.   The assessor saw the rental

    13    property.

    14          Q.      Do you understand they didn't take into

    15    consideration the vineyard on the ranch?

    16          A.      I -- they saw the vineyard on the property.

    17          Q.      So if you want -- if you're asking the court

    18    that you keep the ranch, how exactly are you going to

    19    pay out Mr. Willingham's portion on the ranch?

    20          A.      I cannot answer it because we have to -- same

    21    way he'll pay out the -- the Houston portion of the

    22    townhouse.

    23          Q.      Well, the -- how much is the Houston townhouse

    24    valued at?

    25          A.      I do not know.
                                                                           187
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      1         Q.      Approximately?

      2         A.      I would say around 850,000 to 900,000.

      3         Q.      So if you believe that it's worth 850,000 to

      4   $900,000 and the ranch is worth how much?

      5         A.      It was assessed at 1.6 million.

      6         Q.      Okay, 1.6 million.     You would agree with me

      7   that the biggest asset that you have in your estate is

      8   the ranch in Solvang.          Correct?

      9         A.      That is right.

    10          Q.      Okay.   And as far as cash accounts, you and

    11    Mr. Willingham don't really have any cash accounts.

    12    Correct?

    13          A.      Yes, we have the -- the checking account that

    14    he

    15          Q.      How much is in your checking account?

    16          A.      I don't know.     Last month he transferred

    17    $89,000 into it from somewhere.

     18         Q.      You don't have -- you don't have any accounts

     19   with a million dollars in it, do you?

     20         A.      I'm sorry?

     21         Q.      You don't have any accounts with a million

     22   dollars in it, do you?

     23         A.      �-

     24         Q.      Okay.   So if the ranch is worth $1.6 million,

     25   what percentage do you believe you should have to pay to
                                                                           188
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      1   Mr. Willingham?

      2         A.      It depends on how we divide up the assets.

      3         Q.      How do you think the assets should be divided?

      4                        MS. BURKETT:   Objection; form.

      5         A.      50/50.

      6         Q.      (BY MS. RAZAVI ZAND)     Okay.   So if the ranch

      7   has to be split 50/50, what is that, $800,000 that

      8   you're going to have to pay to Mr. Willingham?

      9         A.      I cannot answer the question.

    10          Q.      So with regard to -- what -- what assets do you

    11    believe that your estate has other than -- you have a

    12    ranch that's worth $1.6 million.           Correct?

    13          A.      That's right.

    14          Q.      Okay.    And that was a ranch that was purchased

    15    during marriage.         Correct?

    16          A.      That is right.

    17          Q.      And you believe that to be community property.

    18    Correct?

    19                         MS. BURKETT:   Objection; form.

    20          A.      Yes.

    21          Q.      (BY MS. RAZAVI ZAND)     Okay.   Do you understand

    22    what community property means?

    23          A.      We own it equally.

    24          Q.      Okay.    Do you understand that it's something

    25    that's purchased during marriage with community funds?
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     1                          MS. BURKETT:   Objection; form.

     2          Q.      (BY MS. RAZAVI ZAND)     Do you -- do you

      3   understand any of that?          That's all I'm asking.

     4          A.      I don't know what you're asking.

     5          Q.      Okay.     With regard to the townhouse, the

      6   townhouse that Mr. Willingham lives in, that was

     7    purchased during marriage.           Correct?

      8         A.      That's right.

     9          Q.      Okay.     And there are no other pieces of real

    10    estate that's part of your community estate.              Correct?

    11          A.      That's right.

    12          Q.      Okay.     Because the Ralston property is

    13    something that Mr. Willingham inherited from his father.

    14    Correct?

    15          A.      That's right.

    16                          MS. BURKETT:   Objection; form.

    17          Q.      (BY MS. RAZAVI ZAND)      But there's no other

    18    pieces of real estate that you're aware of.              Correct?

    19          A.      That's right.

    20          Q.      Okay.     And you have a retirement.      Correct?

    21          A.      Yes.

    22          Q.      Okay.

    23          A.      453.

    24          Q.      I'm sorry?

    25          A.      $453.
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